  Case 21-1920, Document 79, 05/25/2022, 3321481, Page1 of 224




  21-1920-cr
      United States Court of Appeals
                              for the

                    Second Circuit

                  UNITED STATES OF AMERICA,

                                                                    Appellee,

                                  – v. –

                ARI TEMAN, AKA Sealed Defendant 1,

                                                        Defendant-Appellant.
                 ––––––––––––––––––––––––––––––
       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF NEW YORK


                     JOINT APPENDIX
             Volume 2 of 11 (Pages A-129 to A-240)


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Case 21-1920, Document 79, 05/25/2022, 3321481, Page2 of 224




                                                i
                             TABLE OF CONTENTS
                                                                                    Page
    District Court Docket Entries ....................................               A-1
    Complaint, filed June 20, 2019 ..................................              A-46.2
    Notice of Appearance, dated August 27, 2019...........                          A-47
    Indictment, filed September 26, 2019 ........................                   A-49
    Waiver of Appearance for Arraignment, dated
     October 14, 2019 ...................................................           A-53
    Transcript of Proceedings held before the
      Honorable Paul A. Engelmayer, dated
      October 21, 2019 ...................................................          A-55
    Supeseding Indictment, filed November 12, 2019 ....                            A-96.1
    Transcript of Proceedings held before the
      Honorable Paul A. Engelmayer, dated November
      21, 2019 .................................................................   A-96.7
    Opinion and Order of the Honorable Paul A.
      Engelmayer, dated December 20, 2019 .................                         A-97
    Second Superseding Indictment, filed
      January 3, 2020 ......................................................       A-121
    Defendant Teman’s Requested Voir Dire Questions,
      filed January 6, 2020 ..............................................         A-129
    Excerpts of Transcript of Conference Proceedings
      held before the Honorable Paul A. Engelmayer,
      dated January 10, 2020 .......................................... A-137.1
    Transcript of Conference Proceedings held before
      the Honorable Paul A. Engelmayer, dated
      January 10, 2020 .................................................... A-137.6
    Letter from Kedar S. Bhatia to the Honorable Paul
      A. Engelmayer, dated January 14, 2020 ................ A-137.96
Case 21-1920, Document 79, 05/25/2022, 3321481, Page3 of 224




                                             ii
                                                                               Page
    Transcript of Trial Proceedings held before the
      Honorable Paul A. Engelmayer, dated
      January 21, 2020 ....................................................   A-138
    Transcript of Trial Proceedings held before the
      Honorable Paul A. Engelmayer, dated
      January 22, 2020 ....................................................   A-265
    Transcript of Trial Proceedings held before the
      Honorable Paul A. Engelmayer, dated
      January 23, 2020 ....................................................   A-398
    Transcript of Trial Proceedings held before the
      Honorable Paul A. Engelmayer, dated
      January 24, 2020 ....................................................   A-672
    Transcript of Trial Proceedings held before the
      Honorable Paul A. Engelmayer, dated
      January 27, 2020 ....................................................   A-998
    Transcript of Trial Proceedings held before the
      Honorable Paul A. Engelmayer, dated
      January 28, 2020 .................................................... A-1187
    Transcript of Trial Proceedings held before the
      Honorable Paul A. Engelmayer, dated
      January 29, 2020 .................................................... A-1264
    Verdict Sheet, dated January 29, 2020 ....................... A-1298.1
    Order of the Honorable Paul A. Engelmayer, dated
      January 29, 2020 .................................................... A-1299
    Defendant’s Motion for Judgment of Acquittal or in
      the Alternative, Motion for New Trial, filed
      February 26, 2020 ................................................. A-1437
    Motion for New Trial Based on Undisclosed Brady
     and Jencks Act Evidence, filed April 9, 2020 ....... A-1473
Case 21-1920, Document 79, 05/25/2022, 3321481, Page4 of 224




                                           iii
                                                                                 Page
      Exhibit A to Motion -
      Excerpts of Transcript of Proceedings, dated
      August 9, 2018 ....................................................... A-1498
      Exhibit B to Motion -
      Report of Violations of New York City’s Housing
      Maintenance Code ................................................. A-1512
      Exhibit C to Motion -
      Report of Violations of New York City’s Housing
      Maintenance Code ................................................. A-1513
      Exhibit D to Motion -
      HPD’s Housing Maintenance Code Violations
      User Guide ............................................................. A-1514
      Exhibit E to Motion -
      Report re: New York Civil Litigation – Joseph
      Soleimani ............................................................... A-1548
      Exhibit F to Motion -
      Report re: New York Civil Litigation – Elie
      Gabay ..................................................................... A-1549
      Exhibit G to Motion -
      Glossary of Terms for Litigation Status Report
      from HPD............................................................... A-1550
    Letter from Joseph A. DiRuzzo, III to the Honorable
      Paul A. Engelmayer, dated April 9, 2020............... A-1552
    Letter from Kedar S. Bhatia, Assistant United States
      Attorney to the Honorable Paul A. Engelmayer,
      dated May 1, 2020 re: Trial Exhibits ..................... A-1554
    Government’s Exhibits:
      GX 101-
      GateGuard Account Opening Documents ............. A-1555
      GX 102 -
      GateGuard Bank Statements .................................. A-1559
Case 21-1920, Document 79, 05/25/2022, 3321481, Page5 of 224




                                             iv
                                                                                 Page
        GX 103-
        Friend or Fraud Account Opening Documents ...... A-1581
        GX 104-
        Friend or Fraud Bank Statements .......................... A-1585
        GX 105-
        Touchless Labs Account Opening Documents ...... A-1609
        GX 106-
        Touchless Labs Bank Statements ........................... A-1613
        GX 107 -
        Ari Teman Account Opening Document................ A-1629
        GX 108-
        Ari Teman Bank Statements .................................. A-1631
        GX 110-
        April 19, 2019 2:37 PM Surveillance
        Photographs ........................................................... A-1649
        GX 111-
        April 19, 2019 6:00 PM Surveillance
        Photographs ........................................................... A-1652
        GX 112-
        May 8, 2019 3_04 PM Surveillance
        Photographs ........................................................... A-1655
        GX 113-
        Bank Records Spreadsheet
        (CD-Rom) *............................................................. A-1657.1
        GX 114 -
        Returned Check Records ....................................... A-1658
        GX 121 -
        ABJ Lenox Account Opening Document .............. A-1660

    *
     GX 113 is a Microsoft Excel file. CD-Rom with the Excel
    spreadsheet provided to Court and Service parties.
Case 21-1920, Document 79, 05/25/2022, 3321481, Page6 of 224




                                           v
                                                                              Page
      GX 122 -
      ABJ Lenox Bank Statements ................................. A-1661
      GX 123 -
      ABJ Milano Account Opening Documents ........... A-1669
      GX 124 -
      ABJ Milano Bank Statements ................................ A-1670
      GX 127 -
      May 2, 2019 Letter - ABJ Lenox ........................... A-1678
      GX 129 -
      May 2, 2019 Letter - ABJ Milano .......................... A-1679
      GX 130 -
      ABJ Lenox Checks ................................................ A-1680
      GX 131 -
      ABJ Milano Checks ............................................... A-1682
      GX 141 -
      18 Mercer Account Opening Documents .............. A-1685
      GX 142 -
      18 Mercer Bank Statements ................................... A-1694
      GX 143 -
      April 4, 2018 Check from 18 Mercer Equity to
      GateGuard .............................................................. A-1699
      GX 144 -
      518 W 204 Account Opening Documents ............. A-1700
      GX 145 -
      518 W 204 Bank Statements .................................. A-1707
      GX 146 -
      January 31, 2018 Check from 518 W 204 to
      GateGuard .............................................................. A-1725
Case 21-1920, Document 79, 05/25/2022, 3321481, Page7 of 224




                                           vi
                                                                                 Page
      GX 147 -
      March 28, 2019 Check from 518 West 205 to
      GateGuard .............................................................. A-1726
      GX 150 -
      Affidavit ................................................................. A-1727
      GX 201 -
      March 28, 2019 Check from Coney Realty to
      GateGuard .............................................................. A-1728
      GX 202 -
      March 28, 2019 Check from 18 Mercer Equity to
      GateGuard .............................................................. A-1729
      GX 203 -
      April 19, 2019 Check from 518 West 205 to
      GateGuard .............................................................. A-1730
      GX 204 -
      April 19, 2019 Check from ABJ Milano to
      GateGuard .............................................................. A-1733
      GX 205 -
      April 19, 2019 Check from ABJ Lennox to
      GateGuard .............................................................. A-1739
      GX 206 -
      April 19, 2019 GateGuard Counter Deposit .......... A-1757
      GX 401 -
      September 9, 2017 E-mail - ‘We’re Live’ ............. A-1758
      GX 402 -
      November 6, 2017 E-mail - ‘Current Issues’......... A-1760
      GX 403 -
      March 9, 2018 E-mail - ‘Ending GateGuard’ ........ A-1761
      GX 404 -
      May 7, 2018 E-mail - ‘All Communication in
      Writing’ .................................................................. A-1762
Case 21-1920, Document 79, 05/25/2022, 3321481, Page8 of 224




                                          vii
                                                                               Page
      GX 405 -
      May 22, 2018 E-mail - ‘GateGuard’...................... A-1763
      GX 406 -
      August 26, 2018 E-mail - ‘Dispute on Charge...’ .. A-1765
      GX 407 -
      September 18, 2018 E-mail - ‘Sublet Spy Hits...’ . A-1767
      GX 408 -
      December 14, 2018 E-mail - ‘Notice of Intent’ ..... A-1773
      GX 409 -
      June 14, 2019 GateGuard Invoice ......................... A-1775
      GX 409A -
      Invoices (1) ............................................................ A-1777
      GX 409B -
      Invoices (2) ............................................................ A-1785
      GX 409C -
      Conversation between Teman and Soleimani ........ A-1786
      GX 412 -
      January 1, 2018 E-mail - ‘Tenant Ana Esterg’ ....... A-1787
      GX 413 -
      January 19, 2018 E-mail - ‘Invoice Sent’ .............. A-1788
      GX 414 -
      January 24, 2018 E-mail - ‘Form for the 10
      Buildings’ .............................................................. A-1791
      GX 415 -
      March 25, 2018 E-mail - ‘Invoice for 20
      Buildings’ .............................................................. A-1795
      GX 416 -
      March 26, 2018 E-mail - ‘Invoice for 20
      Buildings’ (1) ......................................................... A-1815
Case 21-1920, Document 79, 05/25/2022, 3321481, Page9 of 224




                                         viii
                                                                              Page
      GX 417 -
      March 26, 2018 E-mail - ‘Invoice for 20
      Buildings’ (2) ......................................................... A-1820
      GX 418 -
      March 27, 2018 E-mail - ‘Proof it’s Your...’ .......... A-1829
      GX 431 -
      April 4, 2018 E-mail - ‘Invoice’ ............................ A-1831
      GX 441 -
      GateGuard Terms and Conditions.......................... A-1834
      GX 442 -
      April 2, 2018 E-mail - ‘References’ ...................... A-1856
      GX 443 -
      January 7, 2019 E-mail - ‘Contract’ ...................... A-1862
      GX 501 -
      Bank Records Stipulation ...................................... A-1868
      GX 702 -
      January 2, 2019 WhatsApp Messages ................... A-1872
      GX 704 -
      April 2, 2019 WhatsApp Messages ....................... A-1874
      GX 727 -
      April 2, 2019 Whatsapp Messages (2) ................... A-1875
      GX 728 -
      April 3, 2019 Whatsapp Messages ........................ A-1876
      GX 729 -
      April 10, 2019 WhatsApp Messages ..................... A-1877
    Defense Exhibits:
      DX 2 -
      Payment Terms (1/27/2019)................................... A-1880
      DX 14 -
      October 11, 2018 E-mail – ‘ABJ Properties’ ......... A-1887
Case 21-1920, Document 79, 05/25/2022, 3321481, Page10 of 224




                                            ix
                                                                                  Page
       DX 15 -
       October 22, 2018 E-mail - ‘SubletSpy hits’ .......... A-1889
       DX 16 -
       ‘Notice of Hold’ ..................................................... A-1892
       DX 29 -
       Affidavit ................................................................. A-1893
       DX 36 -
       March 28, 2018 E-mail – ‘Invoice for 20
       Buildings’ .............................................................. A-1894
       DX 49 -
       Declaration ............................................................. A-1902
       DX 51 -
       Chase Information Request.................................... A-1903
       DX 52 -
       Chase Information Request.................................... A-1904
       DC 62 -
       March 9, 2018 E-mail Correspondence ................. A-1928
       DX 70 -
       GateGuard Logs ..................................................... A-1930
       DX 71 -
       May 22, 2018 E-mail – ‘Re: Gateguard’ ............... A-1932
    Order of the Honorable Paul A. Engelmayer, dated
      May 6, 2020 ........................................................... A-1933
    Letter from Joseph A. DiRuzzo, III to the Honorable
      Paul A. Engelmayer, dated May 8, 2020 ............... A-1935
    Opinion and Order of the Honorable Paul A.
      Engelmayer, dated June 5, 2020 ............................ A-1937
    Letter from Joseph A. DiRuzzo, III to the Honorable
      Paul A. Engelmayer, dated June 29, 2020 ............. A-2044
Case 21-1920, Document 79, 05/25/2022, 3321481, Page11 of 224




                                             x
                                                                                  Page
    Sentencing Memorandum and Motion for
      Downward Variance, filed July 7, 2020................. A-2045
       Exhibit 1 to Sentencing Memorandum -
       Letter from Dr. Rami Cohen, M.D to the
       Honorable Paul A. Engelmayer, dated
       June 29, 2020 ......................................................... A-2070
       Exhibit 2 to Sentencing Memorandum -
       Letter from Juhan Sonin to the Honorable Paul A.
       Engelmayer, dated July 6, 2020 ............................. A-2074
       Exhibit 3 to Sentencing Memorandum -
       Letter from Jeffrey Katz to the Honorable Paul A.
       Engelmayer ............................................................ A-2076
       Exhibit 4 to Sentencing Memorandum -
       Letter from Oliver Josephs t to the Honorable
       Paul A. Engelmayer, dated June 6, 2020 ............... A-2077
       Exhibit 5 to Sentencing Memorandum -
       Letter from Thomas Orosz to the Honorable Paul
       A. Engelmayer ....................................................... A-2079
       Exhibit 6 to Sentencing Memorandum -
       Letter from David Diwby to the Honorable Paul
       A. Engelmayer ....................................................... A-2080
       Exhibit 7 to Sentencing Memorandum -
       Letter from Nachum Klar to the Honorable Paul
       A. Engelmayer, dated July 6, 2020 ........................ A-2082
       Exhibit 8 to Sentencing Memorandum -
       Letter from Anthony Zachariadis to the
       Honorable Paul A. Engelmayer, dated
       July 6, 2020 ............................................................ A-2084
       Exhibit 9 to Sentencing Memorandum -
       eJewish Philanthrophy- Coverage of Teman’s
       Award ..................................................................... A-2085
Case 21-1920, Document 79, 05/25/2022, 3321481, Page12 of 224




                                            xi
                                                                                Page
       Exhibit 10 to Sentencing Memorandum -
       HarvardX Verified Certificate of Achievement,
       issued May 11, 2020 .............................................. A-2094
       Exhibit 11 to Sentencing Memorandum -
       Letter from Avi Ganz to the Honorable Paul A.
       Engelmayer, dated July 7, 2020 ............................. A-2095
       Exhibit 12 to Sentencing Memorandum -
       Letter from Steven Oved to the Honorable Paul
       A. Engelmayer, dated June 15, 2020 ..................... A-2098
       Exhibit 13 to Sentencing Memorandum -
       Letter from Rabbi Chaim Lipskar to the
       Honorable Paul A. Engelmayer, dated
       July 7, 2020 ............................................................ A-2099
       Exhibit 14 to Sentencing Memorandum -
       Letter from Jonathan Lubin to the Honorable
       Paul A. Engelmayer ............................................... A-2101
       Exhibit 15 to Sentencing Memorandum -
       Letter from Talia Reiss to the Honorable Paul A.
       Engelmayer ............................................................ A-2103
       Exhibit 16 to Sentencing Memorandum -
       Letter from Rivka Korf to the Honorable Paul A.
       Engelmayer ............................................................ A-2104
       Exhibit 17 to Sentencing Memorandum -
       Letter from Russell DiBona to the Honorable
       Paul A. Engelmayer ............................................... A-2105
    Letter from Justin K. Gelfand to the Honorable Paul
      A. Engelmayer, dated September 8, 2020.............. A-2107
    Appearance of Counsel, dated November 2, 2020 .... A-2108.1
    Letter from Justin Harris to the Honorable Paul
      Engelmayer, dated November 2, 2020 ................... A-2108.2
Case 21-1920, Document 79, 05/25/2022, 3321481, Page13 of 224




                                           xii
                                                                                Page
       Exhibit B to Letter -
       Letter from Justine A. Harris to Kedar Bhatia and
       Edward A. Imperatore, dated October 23, 2020 .... A-2108.6
       Exhibit C to Letter -
       Letter from Kedar S. Bhatia to Justine A. Harris,
       dated October 29, 2020 .......................................... A-2108.9
    Order of the Honorable Paul A. Engelmayer, dated
      November 19, 2020 ............................................... A-2109
    Letter from Justine Harris to the Honorable Paul A.
      Engelmayer, dated November 20, 2020 .................                  A-2111
    Letter from Justine Harris to the Honorable Paul A.
      Engelmayer, dated November 30, 2020 ................ A-2113
    Letter from Audrey Strauss to the Honorable Paul
      A. Engelmayer, dated November 30, 2020 ............ A-2114
    Transcript of Remote Conference Proceedings held
      before the Honorable Paul A. Engelmayer, dated
      December 1, 2020 .................................................. A-2116
    Order of the Honorable Paul A. Engelmayer, dated
      January 28, 2021 .................................................... A-2170
    Letter Motion from Audrey Strauss to the
      Honorable Paul A. Engelmayer, dated
      April 23, 2021 ........................................................ A-2173
       Exhibit A to Letter -
       Proposed Order of Restitution ............................... A-2181
       Exhibit B to Letter -
       Proposed Preliminary Order of Forfeiture/Money
       Judgment ................................................................ A-2185
       Exhibit C to Letter -
       Document - Finocchiaro 3503-19 .......................... A-2189
       Exhibit D to Letter -
       Revised Document - Finocchiaro 3503-19 ............ A-2190
Case 21-1920, Document 79, 05/25/2022, 3321481, Page14 of 224




                                          xiii
                                                                               Page
       Exhibit E to Letter -
       Affidavit of Karen Finocchiaro, dated
       April 2, 2021 .......................................................... A-2191
    Letter from Andrew J. Frisch to the Honorable Paul
      A. Engelmayer, dated April 23, 2021 .................... A-2195.1
       Attachment to Letter -
       Curriculum Vitae of Richard M. Fraher................. A-2195.3
    Letter Motion to Vacate Conviction from Andrew J.
      Frisch to the Honorable Paul A. Engelmayer,
      dated April 28, 2021 .............................................. A-2196
       Exhibit A to Letter Motion -
       Document - Finocchiaro 3503-19 .......................... A-2211
       Exhibit B to Letter Motion -
       Revised Document - Finocchiaro 3503-19 ............ A-2213
       Exhibit C to Letter Motion -
       E-mail Correspondence, dated
       November 30, 2020 ............................................... A-2215
       Exhibit D to Letter Motion -
       E-mail Correspondence, dated March 10, 2021 .... A-2217
       Exhibit E to Letter Motion -
       E-mail Correspondence, dated March 12, 2021 .... A-2219
       Exhibit F to Letter Motion -
       Copies of Various Cashier’s Checks ...................... A-2221
    Order of the Honorable Paul A. Engelmayer, dated
      May 5, 2021 ........................................................... A-2223
    Letter from Andrew J. Frisch to Kedar Bhatia, dated
      May 12, 2021 ......................................................... A-2225
       Annexed to Letter -
       Declaration of Richard M. Fraher, executed
       May 11, 2021 ......................................................... A-2226
Case 21-1920, Document 79, 05/25/2022, 3321481, Page15 of 224




                                          xiv
                                                                               Page
    Letter from Audrey Strauss to the Honorable Paul
      A. Engelmayer, dated June 9, 2021 ....................... A-2236
    Letter from Andrew J. Frisch to the Honorable Paul
      A. Engelmayer, dated June 14, 2021 ..................... A-2246.1
    Letter from Audrey Strauss to the Honorable Paul
      A. Engelmayer, dated June 29, 2021 ..................... A-2246.4
    Transcript of Conference Proceedings held before
      the Honorable Paul A. Engelmayer, dated
      July 9, 2021 ............................................................ A-2247
    Sentencing Submission Letter from Susan G.
      Kellman to the Honorable Paul A. Engelmayer,
      dated July 16, 2021 ................................................ A-2315
    Transcript of Sentencing Proceedings held before
      the Honorable Paul A. Engelmayer, dated
      July 28, 2021 .......................................................... A-2333
    Notice of Appeal, dated August 2, 2021 .................... A-2458
    Letter Motion from Ari Teman to the Honorable
      Paul A. Engelmayer, dated March 3, 2022 ............ A-2459
    Letter Motion from Ari Teman to the Honorable
      Paul A. Engelmayer, dated April 12, 2022............. A-2462
    Order of the Honorable Paul A. Engelmayer, dated
      April 13, 2022 ........................................................ A-2463
    Letter Motion from Ari Teman to the Honorable
      Paul A. Engelmayer, dated April 13, 2022............. A-2465
    Letter from Eden P. Quainton to the Honorable Paul
      A. Engelmayer, dated April 13, 2022 .................... A-2467
    Notice of Appearance, filed April 13, 2022 ............... A-2469
    Letter Motion from Ari B. Teman to the Honorable
      Paul A. Engelmayer, dated April 14, 2022............. A-2470
Case 21-1920, Document 79, 05/25/2022, 3321481, Page16 of 224




                                            xv
                                                                                  Page
    Order of the Honorable Paul A. Engelmayer, dated
      April 15, 2022 ........................................................ A-2473
    Emergency Letter Motion from Ari B. Teman to the
      Honorable Paul A. Engelmayer, dated April 20,
      2022 ....................................................................... A-2476
    Order of the Honorable Paul A. Engelmayer, dated
      April 20, 2022 ........................................................ A-2479
    Emergency Letter Motion from Ari B. Teman to the
      Honorable Paul A. Engelmayer, dated April 20,
      2022 ....................................................................... A-2481
    Letter from Kedar S. Bhatia, Asst. United States
      Attorney to the Honorable Paul A. Engelmayer,
      dated April 21, 2022 .............................................. A-2482
    Order of the Honorable Paul A. Engelmayer, dated
      April 21, 2022 ........................................................ A-2483
          Case 21-1920, Document 79, 05/25/2022, 3321481, Page17 of 224
                                     A-129


            Case 1:19-cr-00696-PAE          Document 64       Filed 01/06/20    Page 1of 9




                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                         Plaintiff,


V.                                                         No. 1:19-CR-696-PAE


ARI TEMAN,


                         Defendant.


               DEFENDANT TEMAN'S REQUESTED VOIR DIRE QUESTIONS

          Defendant Ari Teman ("Teman"), by and through his undersigned counsel and pursuant to

Rule 24(a) of the Federal Rules of Criminal Procedure and this Court's Order, respectfully requests

that this Court include the following questions (or substantially similar questions) in its

examination of prospective jurors.

                                             Duty as Jurors

     1.   In federal court, each member of the jury is charged with the duty of determining whether

          the Government proved, or failed to prove, the defendant guilty beyond areasonable doubt.

          Does any member of the panel have any problem with this duty?

     2.   The members of this panel selected as members of the jury in the case today will be the

          judges of the facts and must accept the law as the Court explains it in its jury instructions.

          Is there any member of the panel who could not accept this duty?

     3.   This is acriminal case. In our system of justice, the burden of proof is on the Government

          to prove the allegations beyond areasonable doubt. The defendant is presumed innocent

          unless or until the Government meets its burden. In the United States, no person is ever
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page18 of 224
                                A-130


       Case 1:19-cr-00696-PAE        Document 64       Filed 01/06/20    Page 2of 9




     required to prove his innocence; the Government is required to prove his guilt—and to do

     so beyond areasonable doubt. Is there anybody who does not believe in these ideals? Is

     there anybody who will not hold the Government to its burden of proof?

4.   Has anybody here ever been ajuror in acriminal case before? If so, (a) What kind of

     criminal case? (b) Was the jury able to reach averdict? (c) Were you the foreperson?

5.   Has anybody here ever served on agrand jury? If so, (a) Were you the foreperson? (b) Do

     you understand that the burden of proof in agrand jury or in acivil case is lower than what

     the prosecution must prove in acriminal case?

                  Knowledge of Persons and Parties Involved in the Case

6.   Do you or any members of your family or friends know the Honorable Paul Engelmayer?

     If so, how do you know him?      Would that relationship or acquaintance influence your

     judgment in this case?

7.   Do you or any members of your family or friends know any of the prosecutors or anyone

     who works in the U.S. Attorney's Office here in the Southern District of New York?

8.   Have you, afamily member, or aclose friend ever been employed by the U.S. Department

     of Justice, the NYPD, or the U.S. Attorney's Office for the Southern District of New York?

9.   This case was investigated by the NYPD, specifically by Detective Daniel Alessandrino.

     Does any member of the panel know NYPD Detective Alessandrino? Does anyone know

     anyone who currently works for alaw enforcement agency?

10. The defendant is Ari Teman. Does anybody know Mr. Teman?

11. Mr. Teman is represented by Justin Gelfand and Joseph DiRuzzo. Does anyone know either

     of these two attorneys? Mr. Gelfand was previously afederal prosecutor with the U.S.




                                              2
   Case 21-1920, Document 79, 05/25/2022, 3321481, Page19 of 224
                              A-131


        Case 1:19-cr-00696-PAE       Document 64      Filed 01/06/20    Page 3of 9




   Department of Justice in Washington, D.C. Did anyone have any interactions with Mr.

   Gelfand in his capacity as afederal prosecutor?

12. Has any member of the panel, afamily member, or aclose friend ever been employed by

   the United States Government? If so, who and how?

13. Has anybody seen, heard, or read anything about this case? If so, what have you seen,

   heard or read? (At sidebar so as not to prejudice other members of the panel.) Have you

   formed any opinions about this case based on what you saw, heard, or read?

14. Has anybody discussed any aspect of this case with anybody who claimed to have some

   knowledge about what may have happened? If so, what have you heard (at sidebar) and

   have you formed some opinion based on what this person told you?

15. Does anybody know any other member of the jury panel? If so, who are you acquainted

   with, and how do you know that person? Would that relationship or acquaintance influence

   your judgment in this case?

16. Does any member of the panel have any legal education or training, or has anyone ever

   worked in any capacity in alaw firm or alaw office?

17. Does anybody know any of the following people who may testify in this trial (Court asked

   to read list of possible witnesses including the names of the entities involved)?

                                     Victims of Crime

18. Have any of you ever been victims of crimes or have you had arelative or close friend who

   was the victim of acrime? If so:

   1.      Was anyone apprehended as aresult of that crime?

   2.      Did you testify in that case?




                                             3
   Case 21-1920, Document 79, 05/25/2022, 3321481, Page20 of 224
                              A-132


        Case 1:19-cr-00696-PAE       Document 64       Filed 01/06/20     Page 4 of 9




   3.      Were you satisfied with the outcome of that case? (Why or why not?)

   4.      Did you feel justice was done? (Why or why not?)

   5.      Is there anything about that experience that you believe could influence your

           judgment in this case?

                                         Witnesses

19. Have any of you ever been witnesses in atrial? If so:

   1.      Was it acriminal or civil trial?

   2.      What kind of case was it?

   3.      Was there anything about that experience that you found unpleasant?

   4.      Was there anything about that experience that could influence your judgment in this

           case?

20. Would anybody be influenced by the sheer number of witnesses who may testify for the

   prosecution or for the defense? Does anybody think that if the defendant calls no witnesses,

   he/she would be unable to make a decision as to whether the prosecution proved the

   defendant guilty beyond areasonable doubt?

21. Would any of you give greater weight or credibility no matter how slight to the testimony

   of alaw enforcement officer?

   1.      Is there anyone who believes he/she would be unable to judge the credibility of a

           law enforcement officer's testimony just like everyone else?

   2.      Is there anyone here who would tend to give alaw enforcement officer's testimony

           greater weight or credibility, or lesser weight or credibility, just because that person

           is a law enforcement officer?          For example, if two people have different




                                              4
   Case 21-1920, Document 79, 05/25/2022, 3321481, Page21 of 224
                              A-133


      Case 1:19-cr-00696-PAE        Document 64        Filed 01/06/20   Page 5 of 9




           recollections about an occurrence and one is apolice officer, would you tend to

           believe the police officer over the civilian just because that person is apolice

           officer?

22. Would any of you give the testimony of aGovernment witness greater weight or credibility

   over that of the testimony of witnesses on Mr. Teman's behalf, just because that person

   was testifying for the Government?

23. Do any of you believe that you would have any difficulty being asked to judge the honesty

   and credibility of awitness?

24. If you are selected as ajuror in this case, you may be instructed later on that when

   considering the credibility of awitness, you can consider any biases or prejudices that the

   witness may have or any motives the witness may have for telling the truth or not telling

   the truth; do you all understand that concept? Does anybody have aproblem considering

   that a witness may not be telling the truth even if that witness takes an oath in this

   courtroom and promises to tell the truth?

                                        Instructions

25. Does anybody here think that because Mr. Teman has been charged with acrime, he must

   have committed the crime?

26. Does anybody here have any opinion at all about whether Mr. Teman is guilty or not guilty

   in this case before hearing the evidence?

27. Does everybody understand that Mr. Teman is by law presumed innocent?

28. Does anybody here feel that Mr. Teman must have done something illegal or he would not

   have been charged with acrime?




                                               5
   Case 21-1920, Document 79, 05/25/2022, 3321481, Page22 of 224
                              A-134


        Case 1:19-cr-00696-PAE      Document 64      Filed 01/06/20     Page 6of 9




29. Does anybody here feel that, in criminal cases, the Government is usually right?

30. Does anybody here have any difficulty with the concept of passing judgement on another?

   In other words, there are some people who for moral, ethical or religious reasons, believe

   that it is not proper to pass judgment on the conduct of others. Do any of you hold such

   beliefs?

31. If you are selected to sit on the jury in this case you will have one of twelve votes. Will

   you agree to independently decide whether the Government has proven Mr. Teman guilty

   beyond areasonable doubt even if other members of the jury disagree with you?

32. Does anybody feel like defendants in acriminal trial should have to prove that they are

   innocent?

33. Is there anyone here who does not understand that an indictment is not evidence that the

   crime charged was committed, and it may not be considered as evidence by you in

   deliberating?

34. Do you understand that Mr. Teman has pled not guilty and that he has aConstitutional right

   to apresumption of innocence—that is, he is innocent unless the Government is able to

   prove otherwise and to do so beyond areasonable doubt?

35. Do any of you have any difficulty presuming that Mr. Teman, as he sits here before you, is

   innocent?

36. Does the panel understand that the Government is required by law to prove Mr. Teman

   guilty beyond areasonable doubt, if they are able to?

   1.      Is there anybody here who does not agree with that? In other words, is there anyone

           here who believes it is Mr. Teman's duty to prove himself innocent?




                                             6
   Case 21-1920, Document 79, 05/25/2022, 3321481, Page23 of 224
                              A-135


        Case 1:19-cr-00696-PAE       Document 64       Filed 01/06/20    Page 7of 9




   2.      Do you all understand that "beyond areasonable doubt" is the highest burden of

           proof required by the law?

37. If the Government fails to meet that high burden of proving Mr. Teman guilty beyond a

   reasonable doubt, is there anyone who does not understand that you must find Mr. Teman

   not guilty?

38. Is there anyone who would feel that by not returning aguilty verdict, your job as ajuror is

   incomplete or afailure?

39. Do you all understand that Mr. Teman may or may not testify in this case, but that he does

   not have to testify in this trial, and that nothing can be inferred from him not testifying?

                               Banks and Financial Institutions

40. Is there anybody who holds any strong personal or philosophical feelings about the

   banking system of the United States? If so, what are your feelings?

41. Does any member of the panel have any ownership (for example, stock) in any bank or

   financial institution such as Bank of America?

42. Has any member of the panel every worked at any bank or financial institution?

43. Does anyone have aclose friend or family member that has worked at abank or financial

   institution?

44. Has anyone ever worked at afinancial regulator such as the FDIC or the OCC? Does

   anyone have any close friends or family members who have held such jobs?

45. Has anyone ever worked at areal estate company such as aREIT or aproperty

   management company? Does anyone have any close friends or family members who

   have worked at areal estate or property management company?




                                             7
   Case 21-1920, Document 79, 05/25/2022, 3321481, Page24 of 224
                              A-136


      Case 1:19-cr-00696-PAE      Document 64     Filed 01/06/20    Page 8 of 9




46. Does anyone have any strong feelings about landlords in New York City?



                                              Respectfully submitted,

                                              Margulis Geifand, LLC

                                              Is/Justin K. Ge fand
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                                              8000 Maryland Ave., Ste. 420
                                              St. Louis, MO 63105
                                              Telephone: (314) 390-0234
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                                              justin@margulisgelfand.com

                                              — and —

                                              /s/Joseph A. DiRuzzo, 111
                                              Joseph A. DiRuzzo, III
                                              NY Bar # 4417853
                                              DIRUZZO & COMPANY
                                              Joseph A. DiRuzzo, III
                                              401 East Las Olas Blvd., Suite 1400 Ft.
                                              Lauderdale, FL 33301
                                              Telephone: (954) 615-1676
                                              Facsimile: (954) 827-0340
                                              jd@dlruzzolaw.com

                                              Attorneys for Teman




                                          8
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page25 of 224
                                 A-137


         Case 1:19-cr-00696-PAE          Document 64         Filed 01/06/20   Page 9 of 9




                                      Certificate of Service


       Ihereby certify that Ifiled the foregoing through the Court's CM/ECF system which will

provide notice of filing to all counsel of record.




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             Case 21-1920, Document 79, 05/25/2022, 3321481, Page26 of 224
                                      A-137.1



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          UNITED STATES      DISTRICT     COURT
 1        SOUTHERN DISTRICT OFNEW YORK
          - ------ ----------------------- x

 2
          UNITED STATES      OF AMERICA,
 3

 41                    v.                                      19 Cr.    696 ( PAE)

 5   11   ARI TEMAN,


 6    I                                                        Conference
                               Defendant.

 7
          ------------------------------ x
 8
                                                               New York,    N.Y.
 9                                                             January 10,     2020
                                                               10:45 a.m.

10

11        Before:

12                                   HON.   PAUL A.     ENGELMAYER,


13                                                             District Judge

14
                                                APPEARANCES
15

16        GEOFFREY     S.   BERMAN                for the
                  United StDistrAct°°feNew York
17                Southern District
           KEDAR    SANJAH
                                                                                             i
18         EDWARD IMPERATORE
                          Un ite d States Attorneys
                Assistant
19                             DiRU ZZO   III
           JOSEPH ANDREW
20         JUSTIN GELFAND       for Defendant
                Attorney

21                 prese nt:    William     Magliocco,    Paralegal     Specialist    USAO

           Also
22


23


24


25

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                  Case 21-1920, Document 79, 05/25/2022, 3321481, Page27 of 224
                                           A-137.2




                                                SEALED                                             2




                      (In the robing room)

 1
                      THE COURT:          All    right.
                                                             Good morning,     everyone.      I'm
 2
                  in my robing room with counsel                 for both sides,
          he re
 3
          Specifically Mr.         Imperatore and Mr.            Bhatia.     Good morning to
 4
          both of you.        Happy New Year.
 5
                      MR.    IMPERATORE:          Good morning,       your Honor.
 6
                      THE COURT:          For the defense,          Mr.   DiRuzzo?
 7
                      MR.    DIRUZZO:        Yes.
 8
                      THE COURT:          And Mr.        Gelfand?
 9
                      MR.     GELFAND:          Good morning.
10
                       THE COURT:          And the defendant,         Mr.    Teman,    good
11

12   11   morning .

                       THE DEFENDANT:             Good morning,       your Honor.
13
                       THE COURT:          The initial part of             this conference,        very
14
          briefly,     will be maintained under seal.                      I have a court
15
           reporter here,         but     the transcript of what            is to be said in the
16
           robing room here          is    to be accessible to counsel               in this case
17
           only.      The    transcript         itself    is,   not without permission of              the
18

           Court,     to be Publicly filed.
19
                        I want      to    follow up on a phone conference we had in
20
           December prompted by Mr.                 Teman's note      to me that was          in
21
           considerable distress.                 I'm really just concerned about how
22
            Mr.    Teman     is doing.       Can counsel         give me an update as          to how
23
            he's    do ing
24
                            MR,   DIRUZZO:        Your Honor,       my understanding          is

25

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                    Case 21-1920, Document 79, 05/25/2022, 3321481, Page28 of 224
                                             A-137.3


             X51M TEM
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                                                                                                  3

                    Tema n   is doing fi ne.
             Mr -                                   No   further instances have happened,
             noth ing   that       required hospital              or the like,      so

                         THE COURT:           Have you been
                                                               personally keeping tabs on
             the    state of whatever treatment he is receiving?


                         MR.       GELFAND:      Your Honor,   this is Justin Gelfand for

             the record.           I have been speaking regularly with Mr.               Teman,   and

             it's my understanding that he's been under the care of multiple

             healthcare providers,              including a mental health care provider,

1            and a sleep           specialist.     There was a diagnosis,        as I understand
         9

`    10      it.     Maybe     that's    too    strong of a word,      but Mr.   Teman has


    11       managed to get his              sleep situation better under control,            and he


    12       has    expressed to me that he's noticed a considerable difference


    13       based on that and following that care.

                             So,    as a practical matter,       I think that under the
    14

    15       circumstances,           obviously,    the case is inevitably very
                                                                                                            I
                                                                                                            i
    16       stressful,        but he's doing well under the circumstances and

             certainly much better than when we had our other telephone
    17

    18       conference.
                             THE COURT:        I'm glad to hear that.        I had remembered
    19
             that it had been expressed on the call that sleep problems may
    20
             have been at the heart of some of the anguish in the note.                               I'm
    21

             glad to hear that's being addressed.
    22

                             MR.    GELFAND:      Yes,   Your Honor.
    23
                             THE COURT:        May I address your client.           I don't want
    24

              to pry,        but    I want   to make sure.
    25

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           Case 21-1920, Document 79, 05/25/2022, 3321481, Page29 of 224
                                    A-137.4



     XKIAHTEM
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 1                 MR•    GELFAND:
                                           Sure.
 2
                   THE COURT:        Mr.    Teman,    I want to take stock on how
 3   you're doing.


 4
                    THE DEFENDANT:          It's not the best six months of my
 5
     life,    but    I went     to an ENT and then a sleep specialist.             The

 6
     ENT    said walk three miles a day,               which is just looping around

 7
     South Beach.          I did that,       then I went to the sleep specialist.

 8
     He said you're under            federal       indictment.   I'm going to give you

 9   this    drug,      and it's going to get you five hours of sleep.

10   Still    do    the walking and swimming,            but the drug is winning.        I

11   wasn't getting REM sleep.                So I have a tracker.         I was getting

12   5 to    6 percent REM.          I'm getting 20       to 25 percent REM now.


13                  THE COURT:       Here's the important thing.           The emotions


14   that you expressed in that               letter,    to the extent that they were


15   an    impulse to hurt yourself,               have those gone away?

                    THE DEFENDANT:          Yes.
16

                    THE COURT:       You're confident that you are in a better
17
     place.        I realize being under indictment              is not a good place,
18
                    suicidal state of mind is all gone;             you have no
     but your
19
                    like that at all?
     impulses
20
                    THE DEFENDANT:          None,

21
                    THE COURT:       Will you promise me         if you have any

22
     ,,,,,,Ise     at    all   like that,    you'll    immediately notify both your

23   Counsel       in this case,      the specialist or specialists whom you

24           see ing?
     a re


25
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                  Case 21-1920, Document 79, 05/25/2022, 3321481, Page30 of 224
                                           A-137.5




         1
                            THE DEFENDANT:
         2                                         Yes,   your Honor.
                            THE COURT:                        Anything further I need to
         3   rais e                            Very good.
                      as
                            to     a ny   of those things?
         4
                            14R • BHATIA:       Nothing from the government.
         5
                            T HE    COURT:     Most of all,    I want to wish you well.    I
         6
             realize I'm here in a role presiding over a prosecution of you.
         7
             I'm also a human being,              and I read a note from a person in
         8
             anguish and pain.               And I empathize with you,      and I just wanted

         9   you to know that.

1   10
                           All right.          Look,   the other thing I just want to put

    11       on   the record is as follows,               which is after the last court

    12       conference in the case,              I made a phone call to the chief of      the

    13       general       crimes unit,        the supervisor of the AUSA that's assigned

    14       to   the case, •sking him to take a look at the transcript of                 the


    15       previous conferences and to make sure that there was adequate


    16       supervision of the case.                  I do that from time to time when I

             have a concern that there may or may not be adequate
    17

             supervision.            I didn't want that conversation to have been
    18

             unrecorded.            I'm putting that on the record here.
    19
                           MR.      GELFAND:      Thank you.
    20
                           THE COURT:          Very good.      I'll   see you out in the
    21
                                 Thank you.
             courtroom.
    22
                            (Adjourned)
    23


    24


    25

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      Case 21-1920, Document 79, 05/25/2022, 3321481, Page31 of 224
                               A-137.6


       Case 1:19-cr-00696-PAE          Document 87         Filed 01/23/20   Page 1of 90          1
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 1   UNITED    STATES     DISTRICT      COURT
     SOUTHERN    DISTRICT        OF   NEW YORK
 2                                                   x


 3   UNITED    STATES     OF AMERICA,


 4                    v                                            19 Cr.    696     (PAE)


 5   ARI    TEMAN,


 6                                                                 Conference
                           Defendant.
 7
                                                     x
 8
                                                                   New York,       N.Y.
 9                                                                 January     10,   2020
                                                                   11:00    a.m.
10

11   Before:


12                                HON.   PAUL A.         ENGELMAYER,


13
                                                                   District     Judge
14


15                                           APPEARANCES


16   GEOFFREY    S.   BERMAN
             United   States      Attorney      for      the
17           Southern     District      of   New York
     KEDAR    SANJAH BHATIA
18   EDWARD    IMPERATORE
            Assistant      United      States    Attorneys
19
     JOSEPH ANDREW        DiRUZZO      III
20   JUSTIN    GELFAND
            Attorneys      for    Defendant
21
     Also    Present:     William Magliocco,               Paralegal    Specialist        USAO
22


23


24


25



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      Case 21-1920, Document 79, 05/25/2022, 3321481, Page32 of 224
                               A-137.7


       Case 1:19-cr-00696-PAE                   Document 87          Filed 01/23/20       Page 2 of 90               2
     KIAHTEMC



 1                  (Case       called)


 2                  MR.    BHATIA:              Good morning,             your    Honor.        Kedar    Bhatia


 3   and Edward          Imperatore,             for    the    United          States.     We're    joined          at


 4   counsel    table          by Will Magliocco,                   a paralegal          specialist       in    the


 5   U.S.    Attorney's          Office.


 6                  THE    COURT:           Good morning,                Mr.    Bhatia.


 7                  Good morning,                Mr.    Bhatia.


 8                  And good morning to you,                         Mr.       Magliocco.


 9                  MR.    DIRUZZO:              Good morning,             your    Honor.        Joseph


10   DiRuzzo,       on    behalf          of Mr.       Ari    Teman.


11                  THE    COURT:           Good morning.


12                  MR.    GELFAND:              Good morning,             your    Honor.        Joseph


13   Gelfand on behalf                of Ari       Teman,          who    is    present    and    on bond.


14                  THE    COURT:           Good morning to both of                      you.


15                  Good morning to you,                      Mr.    Teman.


16                  All    right.           We    have       a formidable          agenda before          us


17   today,    and       I want       to,       before       marching through             it,    identify by


18   topic header          the       sequence          of    topics       I intend to         go through.


19   And of    course,          if    I have missed anything,                      there will be          an


20   opportunity          at    the       end    for    you to       raise       other    issues.


21                  Step       one will          involve       arraigning Mr.             Teman    on the       S2


22   indictment.           I then will             take       up with the          government Rule             16


23   discovery,          what,       if    any,    Rule       16    discovery has          been produced


24   since    the    last       conference             and whether             anything,      improbable        as


25   it might       seem,       is    outstanding.                 I will       then   resolve     all    of    the



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      Case 21-1920, Document 79, 05/25/2022, 3321481, Page33 of 224
                               A-137.8


          Case 1:19-cr-00696-PAE               Document 87            Filed 01/23/20           Page 3 of 90                     3
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 1   motions       in    limine that            are pending                in    a bench ruling.                 That


 2   will    take       some      time.


 3                    The     next module            I will       discuss             with you       is    the    length


 4   of    trial      and my        sitting         schedule          during the             course       of    the


 5   trial,      the     daily         schedule       that we          have       here,       just       so we're          all


 6   on the      same        page.       I think          of    all    of       you,    Mr.    Imperatore             is    the


 7   only one who been                  on    trial       before       me,       so    I want       to make       sure


 8   all    aware       of    that.


 9                    I will       then       have    an       extensive          discussion             about    aspects


10   of voir       dire,          including the method that                           I use    for voir          dire       and


11   including a summary of                     the       case    that          I intend to present                   to the


12   venire      which        I want         to run by counsel                   for    their       comments.              I


13   will    then take            up    issues       of    courtroom technology with you.


14   Then there will               be    some mechanical                   issues       about       where witnesses


15   are    to   be     questioned            from and          jury addresses,                and the          like.           I


16   will    take       up then         issues       with you          about materials                   I need to be


17   provided to my                chambers,         whether          in the          context       of    3,500


18   material,          exhibit         binders,          a daily exhibit                   list,    that       sort       of


19   thing.        I want         to raise          a question             about       the verdict             form.        I


20   need to put             on   the    record       any plea             offers       that    have been made


21   to the      defendant,             as    far    as    this       is    our       final pretrial


22   conference,             and then         there's          a final          grand       jury matter          that       I


23   have    a word          or   two about.


24                    All     right.          That's       the    agenda.              So    that's       the    sequence


25   in which you             can expect me               to proceed.                 Let's    begin with the



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      Case 21-1920, Document 79, 05/25/2022, 3321481, Page34 of 224
                               A-137.9


       Case 1:19-cr-00696-PAE             Document 87             Filed 01/23/20       Page 4 of 90               4

     KIAHTEMC



 1   arraignment       of    Mr.    Teman.


 2               Defense          counsel,       who will          be    taking the          lead    at    this


 3   conference?


 4               MR.       GELFAND:           I will,       your    Honor,          Justin    Gelfand.


 5               THE       COURT:        Very    good.        Thank          you,    Mr.    Gelfand.


 6               Have       you    had    an    opportunity             to    review with your             client


 7   the   questions        that    I am apt          to put       to    him by way          of    arraigning


 8   him on    the    S2    indictment?


 9               MR.       GELFAND:           Yes,    your    Honor.


10               THE       COURT:        All    right.        Mr.       Teman,       I'm going       to    have


11   Mr.   Smallman        administer          the    oath    to you;          and    then    I'll    ask    you


12   several    questions          to    make    sure       you're       of    clear       mind;    that


13   you've    read    the    S2    indictment;             and    I will          receive    your    plea,


14   which    I expect,       from       counsel's          preview,          will    be    a not    guilty


15   plea.


16               Mr.       Smallman,          will    you    swear       the       defendant.


17               (Defendant             sworn)


18               THE       COURT:        Thank       you.


19               Mr.       Teman,       you    may be       seated.           What    is    your    full    name?


20               THE       DEFENDANT:           Ari    Baruch       Teman.


21               THE       COURT:        How old       are    you?


22               THE       DEFENDANT:           37.


23               THE       COURT:        How    far    did you          go    in    school?


24               THE       DEFENDANT:           College       and       some       additional


25   coursework.



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      Case 21-1920, Document 79, 05/25/2022, 3321481, Page35 of 224
                              A- 137.10


       Case 1:19-cr-00696-PAE             Document 87                Filed 01/23/20          Page 5 of 90                  5

     KIAHTEMC



 1                  THE    COURT:        All    right.           I know the             answer          to   this


 2   question,       but    are    you    able       to    speak       and    read English?


 3                  THE    DEFENDANT:           Yes.


 4                  THE    COURT:        I understand                that    you       are    presently             under


 5   the    care    of    a medical       professional?


 6                  THE    DEFENDANT:           Yes,       your       Honor.


 7                  THE    COURT:        All    right.           Apart       from what             we    covered          in


 8   the    robing room,          are    you    under          the    care    of       any    other medical


 9   professional?


10                  THE    DEFENDANT:           Not       on    any    ongoing          basis,          your    Honor.


11                  THE    COURT:        All    right.           In    the    past       24    hours,          apart


12   from    sleep       medication,          have    you       taken       any    drugs,          medicine,          or


13   pills,    or    drunk    any       alcoholic beverages?


14                  THE    DEFENDANT:           No,       nothing unrelated                   to    sleep.


15                  THE    COURT:        Does    the       sleep       medication             impair         your


16   ability to          understand what             people          are    saying to          you?


17                  THE    DEFENDANT:           I don't          believe          so.


18                  THE    COURT:        Does    it       impair       your       ability          to


19   communicate?


20                  THE    DEFENDANT:           No,       I don't          think       so.


21                  THE    COURT:        Does    it       impair       your       reasoning             ability?


22                  THE    DEFENDANT:           I don't          think       so.


23                  THE    COURT:        Is    your       mind       clear    today?


24                  THE    DEFENDANT:           Feels          like    it    is,       your    Honor.


25                  THE    COURT:        Is    there       any       reason       to    think       that       it    is



                             SOUTHERN          DISTRICT          REPORTERS,             P.C.
                                                (212)          805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page36 of 224
                              A-137.11


          Case 1:19-cr-00696-PAE             Document 87          Filed 01/23/20          Page 6 of 90                  6
     KIAHTEMC



 1   not?


 2                  THE       DEFENDANT:           No,    your    Honor.


 3                  THE       COURT:     Do       you    understand          what's       happening          in    this


 4   proceeding?


 5                  THE       DEFENDANT:           Yes.


 6                  THE       COURT:     Mr.       Gelfand,       are       you       confident       that    your


 7   client       understands          what's       happening          in    this       proceeding          and    is


 8   capable       of    making    an    informed plea             as       to    the    charges       in    the       S2?


 9                  MR.       GELFAND:        Yes,       your    Honor.           For    the    record,       I've


10   spent    approximately             an    hour       and    a half       with       him this       morning          as


11   well.


12                  THE       COURT:     And that          confirms          your       confidence          that       his


13   mind    is    totally       clear?


14                  MR.       GELFAND:        It    does,       your    Honor.


15                  THE       COURT:     All       right.        Mr.    Teman,          have    you    received          a


16   copy    of    the    most    recent          indictment,          the       S2    indictment,          returned


17   on   January        3?


18                  THE       DEFENDANT:           Yes,    your    Honor.


19                  THE       COURT:     Have       you    had    an    opportunity to --                   have       you


20   read    it?


21                  THE       DEFENDANT:           Yes,    your    Honor.


22                  THE       COURT:     Have       you    had    an    opportunity to                consult


23   with    your       attorneys       about       it?


24                  THE       DEFENDANT:           Yes,    your    Honor.


25                  THE       COURT:         Do    you    want    me    to       read    it    out    loud,       or    do



                                SOUTHERN          DISTRICT       REPORTERS,             P.C.
                                                   (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page37 of 224
                              A- 137.12


          Case 1:19-cr-00696-PAE               Document 87             Filed 01/23/20             Page 7 of 90               7
     KIAHTEMC



 1   you    waive      its       public       reading?


 2                  THE      DEFENDANT:                 I waive       the       reading,          your       Honor.


 3                  THE      COURT:           Thank       you.


 4                  How do         you       plead       to    the    charges?


 5                  THE      DEFENDANT:                 Not    guilty.


 6                  THE      COURT:           Having taken             care          of    the    arraignment,          I


 7   think    I need         to    formally             ask    defense          counsel          the    following:


 8   The    new   indictment             does       not       appear       to    add       new events          so   much     as


 9   add    charges         relating          to    existing          events.              Nevertheless,             just    as


10   an    excess      of    caution,          it       appears       to me          that       everyone's          fully


11   prepared to            go    to    trial       on    the    date       indicated,                but    I want    to


12   ask    you   just       to    confirm that.


13                  MR.      GELFAND:              Yes,       your    Honor.


14                  THE      COURT:          Very        good.        All       right.           Government,          same?


15                  MR.      BHATIA:           Yes,       your       Honor.


16                  THE      COURT:          Anything           else       that       anyone          believes       I need


17   to    take   up    by way          of    arraignment             or    related             events?


18                  MR.      BHATIA:           Nothing          from the             government.


19                  MR.      GELFAND:              No,    your       Honor.


20                  THE      COURT:           OK.        Let's       turn       to    Rule       16 discovery.

21   Mr.    Bhatia,         I realize          you       are    a newcomer                to    the    case,    and    I


22   appreciate         your       taking          it    over.        Since          the       last    conference,          has


23   there    been      any       Rule       16 discovery that the government has come

24   into possession               of    and/or          that    has       been       produced          to    the


25   defense?



                                  SOUTHERN          DISTRICT          REPORTERS,                P.C.
                                                        (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page38 of 224
                              A-137.13


       Case 1:19-cr-00696-PAE             Document 87             Filed 01/23/20          Page 8 of 90                 8
     KIAHTEMC



 1                  MR.    BHATIA:        Yes,       your    Honor.           We've       been producing --


 2   we made       at    least two    or    three productions                      since       then on          a


 3   rolling basis          as we've       received documents.                          Those       documents


 4   have principally consisted of                      bank records                and    email


 5   correspondence             that we've       received          from particular witnesses                           in


 6   the    case.        I think that's          sort       of    the    substance             of    it.


 7                  THE    COURT:     What's          the    scale       of    the       new material?


 8                  MR.    BHATIA:        Not    too voluminous.                    I think,          for       the


 9   emails,       they were maybe          in the          100    to    200       range.


10                  THE    COURT:     100       to    200    emails?


11                  MR.    BHATIA:        Emails,       yes.           I don't          think       it's       been


12   particularly voluminous,                   and we       don't       expect          any voluminous


13   discovery          in the    future.        But,       of    course,          we    don't       know,       but   I


14   don't    expect       any.


15                  THE    COURT:     Is    there       any       outstanding Rule                   16    discovery


16   that    is    in your possession,                custody,          or    control          that has          not


17   been produced to the             defendant?


18                  MR.    BHATIA:        Yes,       your    Honor.           As    we    get       closer       to


19   trial,       we're producing on             a rolling basis,                   so    I think we might


20   have    received documents             yesterday             or maybe          the    day before               that


21   we're planning to produce                   today,          but    nothing that we're                      waiting


22   to produce.


23                  THE    COURT:     Do    I have          your       commitment          that,          to    the


24   extent       you    come    into possession             of    Rule       16    discovery,             you will


25   quite properly turn             it    around       for       the    defense?



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page39 of 224
                              A-137.14


          Case 1:19-cr-00696-PAE             Document 87             Filed 01/23/20       Page 9 of 90            9
     KIAHTEMC



 1                 MR.   BHATIA:             Yes,    your       Honor.


 2                 THE    COURT:         All    right.           Defense,          anything with respect


 3   to    ongoing discovery?


 4                 MR.    GELFAND:            No,    your       Honor.        We    received discovery,


 5   as    government      counsel           indicated,          on    a rolling basis.                The most


 6   recent    production          of    that       was    electronically produced


 7   yesterday.          Because we were                 traveling,          we    haven't       yet   had    a


 8   chance    to review it,             but    I accept             the    government's


 9   representations          as    to the          nature       of    it.


10                 THE    COURT:         So    far,       to the       extent       you've       gotten new


11   discovery,       I take       it    none       of    it    is    on    a scale       that    inhibits


12   your    trial preparation?


13                 MR.    GELFAND:            No,    your       Honor.        The    other       thing   I would


14   note    for   the   record         is    that we          too,    on    behalf       of    the defense,


15   have    disclosed Rule             16 discovery to the prosecution in several

16   disclosures,         also     on    a rolling basis,                   much    like       the prosecutor.


17   We    did have      a couple        of    requests          for       documents       outstanding.


18   Obviously,       to the       extent       that we          receive          those    documents         and to


19   the    extent    that    it    falls       under          Rule    16,    we'll       that provide         that


20   forthwith to the            government.


21                 THE    COURT:         There's          nothing along those                   line   for me     to


22   resolve,      but    I appreciate              your       giving me          a heads- up about           that.


23                 Nothing       further vis-a-vis                    discovery?


24                 MR.   BHATIA:             Nothing.


25                 MR.    GELFAND:            Correct.



                             SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                (212)          805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page40 of 224
                              A- 137.15


          Case 1:19-cr-00696-PAE                   Document 87         Filed 01/23/20             Page 10 of 90                  10
     KIAHTEMC



 1                     THE    COURT:           I'm going to             turn       now to a bench ruling


 2   that       I have       on    the    in       limine.        All       right.           Here       goes.


 3                     Defendant,             Ari    Teman,       has       been       charged with bank


 4   fraud,       wire       fraud,       and aggravated                identity theft.                       His    trial       is


 5   set    to    begin       on    January          21,    2020.           The    Court          has    received          in


 6   limine from Teman                   and the       government             and has             also received


 7   opposition papers                   from each.


 8                     The    following bench decision resolves                                        all   these


 9   motions.           I will not             be    issuing a written decision.                                Instead,            I


10   will       simply       issue       an    order       reflecting the                   fact       that the          motions


11   were       resolved          for    the       reasons       set    forth on the                   record today.


12   So    if    the    content          of    what    I say today                is    important             to you,         you


13   will       need to       order       the       transcript          of    this          conference,             as    I


14   expect       you would be                anyway.


15                     All    right.           I will       first       going to             address         the


16   government's             motion          in    limine       that       relates          to    Detective             Daniel


17   Alessandrino.                 Alessandrino             is    a member             of    the       New York          Police


18   Department who was                   present          at    Teman's          arrest          in    Florida.           The


19   defense       has       subpoenaed Alessandrino                         for potential                   testimony but


20   has    not    indicated the                   subject matter             of       this       testimony.


21                     The    government moves                   that,       if    called to testify by the


22   defense,          Alessandrino's                direct       examination be                   limited to


23   relevant,          nonhearsay topics.                       Teman responds                   that       he may not


24   call Alessandrino                   at    all,    but       if    he    does       so,       he    will not


25   solicit       hearsay testimony.



                                   SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page41 of 224
                              A- 137.16


          Case 1:19-cr-00696-PAE          Document 87            Filed 01/23/20       Page 11 of 90                     11
     KIAHTEMC



 1                  On    its    face,    the       government's          motion does                no more       than


 2   ask the       Court    to enforce          the       Rules    of    Evidence.              For whatever


 3   value    that may have,             I can       certainly grant                that    relief,          which


 4   is    completely unobjectionable,                         insofar    as    the       government's


 5   motion       does    no more       than    ask       the    Court    to do       its       job.        For


 6   future       reference,       it's    not       clear what purpose                   a motion          like


 7   this    serves,       but there       it       is.        I remind       counsel       that       any


 8   testimony       from any witness,                whether Alessandrino                      or    anyone


 9   else,    must       comply with the             Federal       Rules       of    Evidence,          it must


10   be    relevant,       it must       comply with the                hearsay rules,                and    it must


11   satisfy       403.


12                  As    to Alessandrino's                testimony          specifically,             however,


13   there's       nothing       concrete       at    this      point     for       the    Court to


14   resolve.        I am certainly not                   going to require                the    defense,


15   prior    to trial,          to disclose          the       subjects       of    any testimony that


16   Detective Alessandrino might                         be    asked to       give.        The defense                is


17   entitled to          keep    its    strategy to             itself.        It    is    not       apparent


18   whether Alessandrino would be                         in    a position          to    offer       admissible


19   testimony.           The    government          suggests          not,    but    it    is       premature          to


20   decide.        That may turn          on       developments          during the             trial.           If


21   the    defense       does    decide       to    call Alessandrino,                   the    Court       will


22   ask    for    a specific       offer       of proof          from the          defense          so that       the


23   Court    can determine             before       he    is    called to the             stand whether


24   there    are proper bases             for       calling him to testify.


25                  So,    defense       counsel,          if    you    are    going to          go this



                                SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                (212)          805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page42 of 224
                              A-137.17


          Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20       Page 12 of 90                     12
     KIAHTEMC



 1   route,       please       be prepared to                give       me,    outside          the presence             of


 2   the    jury,       a detailed proffer                   as    to the       purpose          or purposes             for


 3   which you would be                   calling Alessandrino.


 4                     I'm now going to                turn to          the    government's             motion          in


 5   limine       seeking to exclude                   evidence          of    specific,          noncriminal


 6   acts    on    Teman's          part.        The    government             asks       that    the    Court


 7   exclude       any       evidence       of    noncriminal                acts    or    arguments          by Teman


 8   to the       same       effect,       to    suggest          that       because       Teman       complied with


 9   the    law or          treated       customers          fairly on          other       occasions,             he    is


10   not    guilty with respect                   to the          crimes       charged.           As    an    example,


11   the    government             envisions          that    Teman might             offer       evidence          that


12   he    did not          defraud       customers          other       than Entities             1 through             4,


13   whose    checks          are    at    issue       here.           The    government          envisions             that


14   Teman might             argue       that    this    makes          it more       likely that             he    did


15   not    defraud Entities                1 through             4 either.           In response,             Teman


16   asks    the       Court       to reserve          judgment          because          the    government's


17   motion       is    addressed to             an    abstraction,             as    the       government          has


18   not pointed to                any    specific       evidence             that    it    is    seeking to


19   exclude.           Teman promises                that,       to    the    extent       he    seeks       to    elicit


20   evidence          of    his    law-abiding behavior,                      he would          comply with the


21   Rules    of       Evidence          governing       character             evidence.


22                     Given the          general       level          at which this             issue       has    thus


23   far    been briefed,                Teman    is    right          that    there       is    nothing       concrete


24   to resolve.              The    Court       can do no more                at    this       point than


25   identify the             governing          legal       principles             with which          I expect



                                   SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page43 of 224
                              A- 137.18


          Case 1:19-cr-00696-PAE          Document 87            Filed 01/23/20         Page 13 of 90                        13
     KIAHTEMC



 1   counsel       are    already    familiar.              At       a general         level,          the


 2   government's          characterization                in    its    contention            is       right.           It


 3   is    black    letter    law that " a defendant may not                             seek to             establish


 4   his    innocence ...          through proof                of    the    absence         of    criminal             acts


 5   on    specific       occasions."          Citing       United States               v.    Scarpa,             897


 6   F.2d    63,    70    (2d Cir.       1990);       accord United States                        v.    Williams,


 7   205    F.3d    23,    34 ( 2d Cir.         2002).           Although a criminal defendant


 8   may    introduce       reputation          or    opinion testimony of                        a particular


 9   character       trait,       under       Federal       Rule       of    Evidence         404(a)(2),                such


10   character       evidence may not                take       the    form of         evidence             of


11   specific good acts             or    the    lack       of       other    bad      acts.           To    allow


12   evidence       of    these    specific noncriminal                      acts      could " cause              the


13   jury to make          a forbidden propensity                      inference";            i.e.,          that       a


14   defendant's          prior    good,       honest       acts       suggest         that       he has         a good,


15   honest    character,          therefore proving that                         he   acted       in accordance


16   with    such    character       during the             charged          incidents.                See       Jones       v.


17   Stinson,       229    F.3d    112,       120 ( 2d Cir.            2000).          That       inference             is


18   prohibited by Rule             404(a)(1).


19                  Consistent with this,                   the       Second Circuit               has       time       and


20   again upheld the exclusion                      of   evidence           of    a defendant's                  lawful


21   acts    when    offered       for    this       purpose.           For       example,         in the         United


22   States    v.    Walker,       191    F.3d       326,       336    (2d Cir.         1999),          the       circuit


23   upheld the          exclusion       of    evidence          that       a defendant who was


24   charged with preparing                   false       asylum applications                     had prepared


25   proper    asylum applications                   in the          past,    because         such evidence



                             SOUTHERN DISTRICT REPORTERS,                              P.C.
                                                (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page44 of 224
                              A- 137.19


       Case 1:19-cr-00696-PAE             Document 87            Filed 01/23/20       Page 14 of 90               14
     KIAHTEMC



 1   was    being offered to disprove that he had acted with fraudulent

 2   intent       in the    case      at hand.            Similarly,       considering a defendant

 3   charged with bribery                in the          United States          v.    O'Connor,       580    F.2d

 4   38,    43 ( 2d Cir.        1978),        the    circuit held that                evidence that          the

 5   defendant had not received bribes                            in the past          should have been

 6   excluded as         improper        character             evidence.

 7                  That    said,       there       are    limited exceptions.                 Under

 8   Rule    405(b),       where the defendant's                   character          is    an essential

 9   element      of    a charge        or defense,             such evidence may be admitted.

10   See    United States          v.    Doyle,          130   F.3d 523,        542 ( 2d Cir.         1997).

11   That principle            does     not    appear to be          implicated             in this    case.

12   There    are      other    cases     that       allow specific             incidents       of    lawful

13   conduct to be received under                         a defensive       application of

14   Rule    404(b),       for example,             to    show that       the    conduct       at    issue was

15   part    of   a common       scheme        or plan.           See Jones,          229    F.3d at       120;

16   see also       United States             v.    Aboumoussallem,             726    F.2d    906,    911-12

17   (2d Cir.       1984).

18                  I cannot do more                here than recite those background

19   standards.          Teman has        not       stated an       intention to offer                evidence

20   along these         lines,       and he well may not.                  In the          event that

21   Teman    intends       to elicit proof                of noncriminal             acts    on his part,

22   whether during the examination of                            government witnesses                or    as

23   part    of   a defense        case,       the       Court will       require          beforehand an

24   offer    of proof         outside the presence                 of    the    jury.        The

25   government will then be                   at    liberty to exclude                such evidence



                               SOUTHERN DISTRICT REPORTERS,                          P.C.
                                                   (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page45 of 224
                              A- 137.20


          Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20          Page 15 of 90                       15
     KIAHTEMC



 1   based on the          lines       of       authority that             I've       just       reviewed.                 I


 2   therefore          deny the       government's                motion       as    premature,                without


 3   prejudice          to the       government's             right       to move          anew once             a


 4   situation          involving          concrete          evidence       implicating these


 5   principles          has    crystallized.


 6                  I will          next    address          the    government's                in    limine          seeking


 7   a ruling permitting                   it    to    admit       into evidence,                pursuant             to


 8   Rule    404(b),       the       check       stock       seized       from the          defendant's                office


 9   space    on    July       3,    2019.           I will    also       address          at    this point


10   Teman's       related motion                in    limine       to preclude             the       government


11   from offering as                yet    unnoticed Rule                404(b)          evidence.


12                  On    July 3,          2019,       Teman was          arrested at                his    office         in


13   Miami    Beach,       Florida.              In    connection with the                      arrest,          law


14   enforcement          offers       seized          a ream of " check                  stock"          in plain view


15   in    Teman's       office.           Check       stock       is    specialty paper                   that       an


16   individual          can    use    to print             checks.        According to the


17   government,          each page             of    check    stock       looks          like       an    8.5"       x 11"


18   sheet    of paper,             except       the    top third          is    the       outline          of    a check


19   and    certain       security          features,          such as          a string             of    text


20   printed       in the       border          of    the    check       frame.           The    check          stock


21   seized    from Teman's                office       space       contains          security             features


22   that    appear       to be       different             from the       ones       on the          checks


23   deposited on March                28,       2019,       and April          19,       2019,       which are            the


24   subject       of    the    charges          in    this    case.        On       December             31,    2019,         the


25   government provided notice                         of    its       intent       to    introduce             at    trial,



                                SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                      (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page46 of 224
                              A-137.21


          Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20          Page 16 of 90                     16
     KIAHTEMC



 1   under    Rule       404(b),          the    check       stock that was                seized       from Teman's


 2   office       on    July       3,    2019.


 3                     Rule       404(b)(1),          of    course,       prohibits          evidence          of    a


 4   crime,       wrong,          or    other    act       being used to          show propensity,                   that


 5   on    a particular                occasion the          person       acted       in    accordance          with          a


 6   particular          character          trait.           But    Rule    404(b)(2)             provides          that


 7   such evidence " may be                     admissible"          for    other          purposes,          such       as


 8   to prove " motive,                  opportunity,             intent,    preparation,                plan,


 9   knowledge,          identity,          absence          of mistake,          or       lack    of    accident,"


10   provided the probative value                            of    such evidence             is    not    outweighed


11   by the       risk       of    unfair prejudice.                 See    United States                v.    Ortiz,


12   857    F.2d       900,       903 ( 2d Cir.            1988).        Under    Rule       404(b)(2),             on


13   request       by a defendant                in    a criminal          case,       the       prosecutor must


14   provide       reasonable             notice       of    the    general       nature          of    any


15   Rule    404(b)          evidence       that       the prosecutor             intends          to offer          at


16   trial    and " do            so before       trial --          or    during trial             if the       court,


17   for    good       cause,          excuses    lack       of pretrial          notice."


18                     The    Second Circuit                takes    a " inclusionary approach"                           to


19   Rule    404(b)          under which evidence                   of    crimes,          wrongs,       and    other


20   acts    may be          received " for            any purpose          other          than    to    show a


21   defendant's             criminal       propensity,             as    long as          the    evidence          is


22   relevant          and    satisfies          the probative-prejudice                         balancing test


23   of    Rule    403."           See,    e.g.,       United States             v.    Carboni,          204    F.3d


24   39,    44 ( 2d Cir.               2000);    see also          United States             v.    Teague,          93


25   F.3d    81,       84 ( 2d Cir.         1996),          in which the          circuit          held that             the



                                   SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page47 of 224
                              A-137.22


          Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20          Page 17 of 90                        17
     KIAHTEMC



 1   state    of mind required                   for       the    offense          is    a " proper purpose"


 2   for    admission          of       other    crimes          evidence          under       Rule    404(b).


 3   Evidence       offered             for    a permissible purpose,                         however,          is


 4   nevertheless             inadmissible " if                  the    other       act       or    acts    are       not


 5   sufficiently             similar          to the       conduct          at    issue."           United          States


 6   v.    Gordon,       987       F.2d       902,    909 ( 2d Cir.               1993).           Finally,          for


 7   evidence       to be          received under                Rule       404(b),          it must       relate          to       an


 8   issue    in dispute.                 For    example,          in United             States       v.    Scott,             677


 9   F.3d    72,    83    (2d Cir.             2012),       the    circuit          found an          abuse          in


10   discretion          in    admitting evidence                      under       Rule       404(b)       to    show


11   identity where                identity was             not    in dispute.


12                  So    turning to the                   check       stock,       the       government moves


13   for    a ruling permitting                      it    to    admit       into       evidence       the       check


14   stock    seized          from Teman's                office       on    July       3,    2019,    subject,                of


15   course,       to the          check       stock's          authentication                as    such at          trial.


16   The    government             argues       that       such evidence                is    admissible             under


17   Rule    404(b)       as       evidence          of    Teman's          motive,          intent,       plan,


18   identity,          modus       operandi,             and the       absence          of mistake             or    lack          of


19   accident with respect                      to the          charged offenses.


20                  The       Court       agrees          and will          receive          such evidence                at


21   trial,     subject            to    its    authentication.                    The       blank    check          stock


22   seized    at       Teman's          office       is    germane          for    reasons          apart       from


23   propensity.              It    shows       his       knowledge          and    familiarity with the


24   process       of    creating             checks       and    in    turn       is    germane       to the


25   government's             claim that             he    did    so    here       by    fabricating the



                                   SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page48 of 224
                              A-137.23


          Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20       Page 18 of 90                    18
     KIAHTEMC



 1   allegedly unauthorized                      checks       at    issue.     The       average person may


 2   not    have       blank       check       stock    lying around his                or   her     home      or


 3   office.           Teman's          possession       of    check    stock,          even    if      it    is    not


 4   identical          to the          check    stock       allegedly used             in   this       case,       tends


 5   to    establish his                facility       and    familiarity with material                        similar


 6   to that          used       in the       alleged    crimes.        The    recovery of               check


 7   stock       in    Teman's          office makes          it more       likely that            Teman,          as


 8   opposed to             someone          else,    created the       specific             checks      charged          in


 9   the    indictment.                 It    also makes       it    more    likely that             Teman knew


10   what    he was          doing when,             using    such    stock,       he    created allegedly


11   unauthorized                checks       with the       features       and terms          those         checks


12   contained.              And once          the    check's       probative value             is      recognized,


13   there       is    no    offsetting basis                to exclude       them.          Possession             of


14   check       stock       is    not       inherently a bad act             at    all.        It      is    just       an


15   act.        It    does       not    inherently reflect             ill    or       well    on a person's


16   character.              And Teman has             not made       any    argument          that


17   countervailing                factors       identified          in Rule       403       favor exclusion


18   of    the    check          stock.        He's    not    identified any unfair prejudice,


19   confusion,             or    delay that may             flow    from receiving this                     check


20   stock       into       evidence.


21                     Teman does             offer    two    arguments       in    opposition to the


22   motion       in    limine.


23                     First,       he       notes    that    the    check    stock was            seized          from


24   his    office          in    July       2019,    after    the    check deposits               at    issue,


25   which occurred                in    late March          2019    and mid-April             2019.         But        the



                                   SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                      (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page49 of 224
                              A-137.24


          Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20       Page 19 of 90                  19
     KIAHTEMC



 1   gap between             these       events       is    just       a few    short months.                 Teman


 2   offers       no reason why this                   small passage                of    time    would make          his


 3   possession             of    check       stock    in       July    2019    completely nonprobative


 4   of    his    familiarity with the                      use    of    check       stock       just       a few


 5   months       earlier.              Nor    does    he       identify any             supportive          case    law.


 6   In the       Court's          judgment,          Teman's possession                   of    blank       check


 7   stock       soon       after the          events       at    issue may          fairly be          argued by


 8   the    government             as    evidence          of    Teman's       capacity to             commit       the


 9   acts    charged             in the       indictment.              See,    for example,             United


10   States       v.       DeFiore,       720    F.2d       757,       764 ( 2d Cir.            1983),       which held


11   other       acts       admissible          under       Rule       404(b) " even though they


12   antedated the                limitations          period."              The passage          of    time       instead


13   goes    to the          weight       of    the    evidence.              Defense       counsel          are    free


14   to    argue       before       the       jury that          the    checks       found       in    Teman's


15   office       in       July    2019       do not       speak to his             check- creation


16   capabilities                three    to    four months             earlier,          and the       government


17   is    free       to    argue the          opposite.           That's       why we          have    jurors.


18                     Second,          Teman    argues          that    the    possession             of    check


19   stock       at    an    office       is    not    inherently             incriminating.                 Under


20   Rule    404(b),             that point       is       a nonstarter.                 Under    the rules,


21   prior       acts       need not          be " bad acts"            or    inherently          incriminating


22   acts    to be          admissible.           They need not                be    malum in          se.     They


23   need only be                relevant,       offered          for    a proper          purpose,          and more


24   probative             than    unfairly prejudicial.                       And prior          act       evidence


25   that    is       on    its    face       benign       is    frequently admitted at trial.



                                   SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page50 of 224
                              A-137.25


          Case 1:19-cr-00696-PAE                   Document 87            Filed 01/23/20             Page 20 of 90                  20
     KIAHTEMC



 1   For    example,          a defendant's                   access       on    a different                date       to the


 2   scene       of    a crime,          such as          an       office       or    an    apartment             or    a car,


 3   is    frequently admitted under                               Rule    404(b)          as    proof       of


 4   opportunity             or    knowledge.                 Such evidence                takes       on    an


 5   incriminating quality only                               in    conjunction with the                      other


 6   evidence          in    the    case,          such as          the    case       here.           This    point,          too,


 7   goes       to the       weight,          not       the    admissibility,                   of    the    evidence.


 8   Teman's          counsel       is    at       liberty to             argue       that       possession             of    check


 9   stock       is    no    big deal          and       should not             be    treated          as    such here.


10                     The    Court       therefore                grants       the       government's             motion       to


11   receive          the    check       stock          seized       from Teman's                office       on       July    3,


12   2019,       provided that                the       check       stock       is    properly             authenticated


13   at    trial       as    having been                seen       there.


14                     The    Court       does,          however,          request          letters          from counsel


15   as    to    a proper          limiting             instruction regarding the purposes                                     for


16   which the          jury may and may not                         consider             the    check       stock          seized


17   from Teman's             office          on    July       3,    2019.           Counsel          are    to confer


18   promptly on             this point             and to          submit       a joint             letter by next


19   Wednesday,             January       15,       setting out what                      I expect          will       be    their


20   agreement          on the text                of    such an          instruction                or,    failing that,


21   their       separate          views       as       to the       text       of    such       an    instruction.


22                     I turn now to                Teman's          motion          in    limine          to preclude          the


23   government             from offering Rule                      404(b)       evidence             at    trial


24   concerning any matter                         not    included          in the          government's                notice


25   provided to             Teman       on    December             31,    2019.



                                   SOUTHERN DISTRICT REPORTERS,                                  P.C.
                                                         (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page51 of 224
                              A- 137.26


       Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20    Page 21 of 90                    21
     KIAHTEMC



 1               As    background,          on December          31,    2019,    the       government

 2   gave notice       of    its    intent      to    introduce,        under Rule          404(b),         the

 3   check    stock    I've       just    addressed.          On January 2,           2020,      counsel

 4   for    Teman emailed government                  counsel     and requested notice                  of

 5   any other Rule          404(b)       evidence the government                intends         to

 6   introduce       at trial.

 7               As    noted,       Rule    404(b)       requires,       on request,            that    a

 8   prosecutor       offering          such evidence          give    reasonable notice               of the


 9   general nature          of    any    such evidence          and do       so before trial --

10   or during trial             if the    Court,       for    good    cause,    excuses         lack       of

11   pretrial notice.              The    advisory committee notes                   to Rule      404(b)

12   state that " no         specific time            limits     are    stated       in recognition

13   that what       constitutes          a reasonable request                or disclosure will

14   depend    largely on the             circumstances          of    each    case."

15               In    seeking to exclude                any as       yet unnoticed 404(b)

16   evidence,       Teman       cites    a 2011     decision         in which my colleague,

17   Judge Pauley,          excluded other            act     evidence disclosed

18   approximately one month before trial                         on the       ground that            the

19   government had          failed to provide defendants                      with reasonable

20   notice.     That       is    United States          v.   Daugerdas,        2011       WL   573587,          at

21   page    2 ( S.D.N.Y.         Feb.    16,   2011).        But that        case    is    readily

22   distinguishable.              It    involves       an unusually complicated

23   conspiracy by numerous                defendants         over     the    course       of nearly a

24   decade    to repeatedly             commit      complex tax fraud,              largely through

25   the use    of    sophisticated fraudulent tax                      shelters.           And prior            to



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                                (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page52 of 224
                              A-137.27


          Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20       Page 22 of 90                 22
     KIAHTEMC



 1   the    ruling          cited by Teman,                Judge       Pauley had warned the


 2   government " repeatedly about                              the    need to       cabin       its    proof       and to


 3   provide          advance          disclosure          of    the    transactions             to be       offered      at


 4   trial."          Id.,       in    light    of    the       massive       universe          of    complex


 5   business          transactions             spanning a decade                   that    the       defendants


 6   otherwise would have                      had to prepare                to    defend at          trial.        Those


 7   factors          are       not present          here.        It's       not    clear       to    the    Court    that


 8   were       the    government             to unearth additional                   404(b)          evidence,


 9   Teman would,                to    anything       like       the    degree presented                in


10   Daugerdas,             be    hamstrung          in preparing to meet                   it.


11                     To be          sure,    the    government's                December       31,    2019,       and


12   January          2,    2020,       letters       imply that             the    government          does    not


13   have       any present             intention to             offer       further       Rule       404(b)


14   evidence          beyond the             check       stock,       but    it's    axiomatic that                the


15   government's                investigation             is    ongoing up to             and through trial.


16   It    is    therefore possible                   that       additional          Rule       404(b)       evidence


17   will       come       to    light    or    take       on new relevance                before       or    during


18   trial.           And Rule          404(b)       allows       the prosecution                to    disclose


19   other       act       evidence       even       as    late       as " during trial               if the    court,


20   for    good       cause,          excuses       lack       of pretrial          notice."           Citing the


21   text       of    Rule       404(b).


22                     The       Court    therefore             denies       defendant's             motion    to


23   preclude          unnoticed          404(b)          evidence       categorically as premature.


24   If    there       is       such an       application,             Teman will          be    at    liberty to


25   seek to bar                such evidence             as    untimely,          and the       Court would then



                                      SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page53 of 224
                              A- 137.28


       Case 1:19-cr-00696-PAE             Document 87            Filed 01/23/20       Page 23 of 90                     23
     KIAHTEMC



 1   determine,          in the       context       of    a particularized                controversy,


 2   whether       the    lack of prior             notice was          justified by             good    cause.


 3   Without       a concrete          scenario before             it,       however,       the    government


 4   cannot    make       an    informed ruling.                 The    Court       expects       the


 5   government          to provide prompt                notice       to    defense       counsel       and the


 6   Court    of    any additional             404(b)       evidence,          if    any,    as    soon       as    it


 7   develops       an    intention to             offer    such,       so    as    to assure that             the


 8   issue    of    admissibility             is    thoughtfully             and thoroughly


 9   litigated.


10                  Next,       Teman    has       moved    in    limine to          admit       the    Federal


11   Reserve       Board's       Federal       Register Notice                dated November             21,


12   2005.     The       notice       relates       to    amendments          to the       fed's       Regulation


13   CC that       define " remotely               created       checks."          Teman's       position          is


14   that    the    checks       at    issue       in this       case were valid " remotely


15   created       checks ( or         RCCs)       under    the    regulation.              He    seeks       to


16   admit    the    Federal          Register Notice             as    Defense       Exhibit A to


17   assist    the       jury    in    concluding that             that       is    so.


18                  The    Court       denies       the motion to receive                   the Federal


19   Register Notice             for    two    independent             reasons.


20                  For    one,       Defense       Exhibit A spectacularly                      fails    the


21   test    for    admissibility under                   Rule    403.        Under       Rule    403,    the


22   Court may exclude                relevant       evidence          if    its    probative value                is


23   substantially outweighed by a danger                               of    confusing the             issues          or


24   misleading the             jury.     The       Federal       Register Notice                has,    at    best,


25   limited probative value.                       The    key    factual          issue    the    government



                                SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page54 of 224
                              A- 137.29


          Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20             Page 24 of 90               24
     KIAHTEMC



 1   seeks       to prove          at    trial    is       not whether             the    checks       Teman


 2   deposited technically qualify or                               not       as " remotely            created


 3   checks,"          that       term does       not       appear       in the          superseding


 4   indictment          or,       for    that matter,             the    earlier          indictment.           It    is


 5   Teman,       not    the       indictment,             who    seeks       to    inject       the    concept       of


 6   "remotely          created          checks"       into the          case.           The    indictment


 7   alleges       instead that                Teman deposited the                   checks       while


 8   pretending to have                   authorization             from the             account       holders    to do


 9   so,    whereas          in    fact    he    had       created and negotiated the                      checks


10   without       such permission.                    The       Federal       Register          Notice    does       not


11   tend to prove                or disprove          any       fact    of    consequence             to these


12   charges.           The       notice       says    nothing          about whether             the    account


13   holders,          the    alleged -- who                along with the                banks    were    alleged


14   victims       in this          case,       authorized the                creation          and negotiation


15   of    the    checks,          and the       notice          says    nothing whatsoever                about


16   Teman's       state          of mind.


17                     The    Federal          Register Notice                is    germane       only    insofar          as


18   it might          serve       to    educate       the       jury about          the       background       fact


19   that    there       is       such a thing as                a remotely          created       check       and that


20   the    remote       creation          and presentation                   of    such       checks    are    not


21   itself       unlawful          acts.        There       may be value                to the    jury's       being


22   informed of             that.        An    old-fashioned             juror may not                know about


23   that,       but    that       legal       concept       can    easily be             communicated to             the


24   jury by other means,                      in particular             by an       instruction          from the


25   Court,       as    I will          explain       in    a few moments.



                                   SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page55 of 224
                              A-137.30


          Case 1:19-cr-00696-PAE                   Document 87         Filed 01/23/20          Page 25 of 90                        25
     KIAHTEMC



 1                     On    the    flip       side       of    the    Rule       403   balance,           the       Federal


 2   Register Notice would                         create       unimaginable             jury       confusion.                 The


 3   notice       is    an    18- page,            single-spaced regulatory document.                                      It


 4   purports          to    define          the    term " remotely               created       check,"          and then


 5   it    discusses          in    expansive             detail,       among other             things,          the


 6   regulation's             administrative                   history.           It    also    sets       out       in


 7   numbing detail                the       fed's    section- by- section                    legal       analysis             of


 8   the    regulation.                 Teman's       notion that             the       search       for truth             in


 9   this    case would be                   furthered by             inviting the             12    deliberating


10   jurors       to wade          through this                technical,          abstruse,             academic,             and


11   legalistic discussion                         in this       document          regarding RCCs                is


12   ill-conceived.                 Such       an    exercise would promote                         extreme


13   confusion.              It    could       easily          lead the       jury to think,                wrongly,


14   that    to reach a just                   verdict          they    are       obliged to             grasp the             fine


15   points       of    this       ponderous          regulatory document.                          The    capacity             of


16   this    document             to produce          confusion vastly outweighs                            any


17   marginal probative value                         that       it might          contain.


18                     Second,          Exhibit A is             a legal          document.              It represents


19   and explains             a point          of    federal          law,    a federal             regulation.                 The


20   defense       admits          this       in    its    motion.           It    notes       that       the    exhibit


21   "remains          federal          law."        I'm citing docket                   60    at    page       2.        As


22   such,    for       the       defense          to thrust          the    Federal          Register notice's


23   long text          before the             jury would be                grossly to          invade the


24   Court's       province             as    the    entity responsible                   for       explicating                law


25   for    the    jury.           It    is    black       letter       law that " it               is    not    for



                                   SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page56 of 224
                              A-137.31


          Case 1:19-cr-00696-PAE             Document 87            Filed 01/23/20          Page 26 of 90               26
     KIAHTEMC



 1   witnesses       to    instruct          the       jury as          to    applicable          principles       of


 2   law,    but    rather       for       the    judge."           See F.H.          Krear and Co.          v


 3   Nineteen Named             Trustees,          810       F.2d       1250,       1258 ( 2d Cir.         1987).


 4   Teman's       proposal to put                before          the    jury the          Federal Register


 5   Notice,       a legal       document          setting out                and explicating in


 6   tendentious          detail       a federal             banking regulation,                   breaches       this


 7   foundational principle,                      whether          the       notice would be


 8   authenticated by a witness                         or    stipulation.


 9                  The    Court       therefore,             under          Rule    403,       denies    Teman's


10   motion    to    admit       Defense          Exhibit A.


11                  However,          the    Court       can       imagine          a circumstance          in which


12   there would be             good reason to                educate          the    jury about the


13   central point             that    the       defense presumably                   seeks       to extract       from


14   the    Federal       Reserve Notice,                to wit,             that    a remotely created


15   check,    created by a payee                      with the          authorization             of the    payor


16   is    a recognized and                lawful       instrument.                 The    Court's present


17   instinct       is    that the          best       and proper way to                   convey this       point


18   to the     jury      is    by means          of    a brief          instruction             from the    Court


19   to be    given       at    an    appropriate point                      during the          trial.     The


20   Court    does       not    rule       out,    however,             that    an    alternative


21   acceptable way to                educate          the    jury about             this       background    fact


22   would be       by means          of    a brief          stipulation.                 The    Court directs


23   counsel       to meet       and       confer       forthwith on this                   issue    with    an    eye


24   towards       agreeing on the                text       of    a jury       instruction          and/or       a


25   joint    stipulation.



                                SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                   (212)          805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page57 of 224
                              A-137.32


          Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20          Page 27 of 90                  27
     KIAHTEMC



 1                  The    Court       directs       the parties             to    submit       by the       close


 2   of    business       Wednesday,          January       15,    a joint          letter          containing          a


 3   proposed       jury    instruction             on    this    topic.           If    the    parties         cannot


 4   agree       on the    terms       of    such a jury          instruction,                the    letter       is    to


 5   contain the          parties'          respective proposed                   instructions.              Should


 6   the parties          agree    on       a factual       stipulation to                convey the


 7   necessary       information,             the    letter       is    to    include          that too.


 8                  The    Court       next    addresses          Teman's          motion to exclude                   an


 9   anguished typewritten note                      that       Teman wrote             to,    inter alia,             the


10   United       States Attorney's             Office.           The       note,       which expresses


11   rage    at    numerous persons,                was    the    subject          of    a telephone            call


12   among the       Court,       counsel,          and Teman          on    December          12,    2019,       the


13   transcript          of which the          Court       has    ordered          sealed.           Teman      argues


14   that    the    note    is    irrelevant             and/or    that       any probative value                      it


15   has    is    outweighed by             countervailing             factors          under       Rule    403,


16   including the          risk       of    unfair       prejudice          and    confusion.              The


17   government          asks    the    Court       to    reserve       ruling --             reserve       on this


18   issue pending trial.


19                  At    this    juncture,          the    Court       is    prepared only to                  say


20   that    the vast majority of                   the    note    is       plainly both             irrelevant


21   and unfairly prejudicial.                       However,          the    government             is    correct


22   to observe          that    at points          in    the    note       Teman       does    address         facts


23   and    circumstances          potentially relevant                      to the       charges          in this


24   case.        These    include          reference       to persons             whose       checks      he     is


25   alleged to have             deposited without                their       authorization.                 Under



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page58 of 224
                              A-137.33


          Case 1:19-cr-00696-PAE                   Document 87            Filed 01/23/20       Page 28 of 90                        28
     KIAHTEMC



 1   these       circumstances,                   the proper          course       is    for       the       Court       to


 2   reserve          judgment          on    Teman's          motion,       because          it    is       conceivable


 3   that       a snippet          or    snippets             within       the    letter       could be properly


 4   admitted or             used during             cross-examination                   of    Teman,             should he


 5   testify.              For    avoidance          of       doubt,       however,       the       government                is


 6   not    to    attempt          to use          any part          of    the    note    in       any way without


 7   the    explicit prior                   approval          of    the    Court.        Should the


 8   government             determine             that    it    wishes       to pursue             use       of    any


 9   portion          of    the    note       for    any purpose             at    trial,          it    is       to notify


10   the    Court          and the       defense          forthwith,             outside       the presence                   of


11   the    jury.


12                     Next,       I will          address          Teman's       motion       in       limine          to


13   preclude          testimony             from a person whom Teman                         depicts             as    a


14   government             expert witness.                    The witness          in    question                is    Bank       of


15   America vice president                         and       senior       investigator             Karen


16   Finocchiaro.                 On    January          6,    2020,       the    government             gave          notice       to


17   the    defense          that       it    intended to             call       Finocchiaro to testify


18   about       Bank       of America's             charge- back processes,                        as       well       as


19   information             related to             some       of    Teman's       accounts             at    the       bank.


20   Docket       61-1       at    1.        As    described by the                government,                a


21   charge- back            is    a process             that       occurs       when    a bank,             having          sent


22   money to          another          entity,          seeks       to    have    that       money returned


23   because          the    bank       suspects          a fraudulent             transaction.                    See       docket


24   54    at    2.        After       the    charge- back            is    initiated,             the       Federal


25   Reserve          automatically transfers                         the money          from the             receiving



                                   SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                         (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page59 of 224
                              A-137.34


          Case 1:19-cr-00696-PAE                   Document 87            Filed 01/23/20          Page 29 of 90                     29
     KIAHTEMC



 1   entity back          to    the       original             bank.           Id.        The    government             expects


 2   Finocchiaro          to    testify about                   Bank       of America's                procedures             for


 3   initiating and             completing                a charge- back                  and    for       responding to


 4   charge- back         requests             from other             banks.              Docket       61-1       at    1.


 5                  Teman       seeks          to preclude                Finocchiaro's                testimony,


 6   arguing that          she       is       an    expert          and that          the       government             failed to


 7   provide       the    notice          required             for    expert          witnesses             under       Federal


 8   Rule    of    Criminal Procedure                      16(a)(1)(G).                    The    government


 9   responds       that       Finocchiaro's                   testimony             is    not    that       of    an    expert


10   and that       it    has       no    intention             to    elicit          expert          testimony          from


11   her.     It    depicts          her       testimony as                that       of    a lay          fact witness


12   describing the             operations                of    a component                of    her       workplace.           It


13   states       that    it    provided notice                      to    the       defense          about the          content


14   of    Finocchiaro's             testimony " in                  an    abundance             of    caution."


15   Docket       61-1.        At    the       most,       Finocchiaro -- the                         government             argues


16   Finocchiaro's             testimony could be                         categorized as                   lay opinion


17   testimony.


18                  Under       Federal             Rule       of    Evidence             602,    a witness'             factual


19   testimony       is    admissible                as    long as             the    witness          has    personal


20   knowledge,          subject,             of    course,          to    other          rules       like    Rule       403.


21   See    United States                v.    Cuti,       720       F.3d       453,       457 ( 2d Cir.               2013).


22   Opinion testimony of                      a lay witness                   is    also       admissible,             but    it


23   is    limited under Rule                      701    to    opinions             that       are ( 1)      rationally


24   based on the witness'                         perception; ( 2)                  helpful          to    understanding


25   the witness'          testimony or                   a fact          at    issue;          and ( 3)      not       based       on



                                SOUTHERN DISTRICT REPORTERS,                                     P.C.
                                                         (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page60 of 224
                              A-137.35


          Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20         Page 30 of 90                30
     KIAHTEMC



 1   scientific,          technical,                or    other       specialized knowledge.                    Expert


 2   witnesses       must          meet       additional          requirements             for      their     opinion


 3   testimony to be                admissible.                 Under       Rule    702,      such witnesses


 4   must    be    qualified as                a result          of    their       knowledge,          skill,


 5   experience,          training,             or       education,          and their          opinions       must       be


 6   (1)    helpful       to       the    jury       in understanding evidence                         or


 7   determining          a fact          at    issue, ( 2)            be    based on         sufficient        facts


 8   or    data, ( 3)         be    the product             of    reliable principles                   and methods,


 9   and ( 4)      reliably apply the principles                               and methods             to the       facts


10   of    the    case    at       hand.        In       short,       expert       opinion       testimony must


11   be    both relevant             and reliable.                    See    Daubert       v.    Merrill       Dow


12   Pharmaceuticals,                509       U.S.       579,    590-91 ( 1993).


13                  The       first- order               question       here       is   whether       Finocchiaro


14   is    a fact witness                or    an    opinion witness.                   Based       on the


15   government's             proffer          of    her    anticipated testimony,                      she    is


16   characterized properly as                            a fact witness.                The     government          has


17   represented          only that             Finocchiaro will                   testify       as    to Bank       of


18   America's       charge- back processes                           and procedures,               and while        the


19   government          is    not       explicit          on this          point,      the     Court       assumes


20   that    her personal                knowledge          of    these procedures                  comes     from her


21   experience          as    a Bank          of America             senior       investigator.              Assuming


22   that    to be       so,       her    account          of    the    charge- back procedures                     at    her


23   employer       constitutes                fact       testimony          from a fact            witness.         The


24   government          has       not provided any opinion that                              she     would offer


25   about       these    procedures.



                                   SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                         (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page61 of 224
                              A- 137.36


       Case 1:19-cr-00696-PAE             Document 87            Filed 01/23/20          Page 31 of 90               31
     KIAHTEMC



 1                  The    Second Circuit's             decision          in    United States             v.


 2   Marsh,    568    F.App'x       15 ( 2d      Cir.       2014),       is    apposite          authority          on


 3   this    point.        There,    a law enforcement                   agent       who was       trained          in


 4   retrieving text messages                   and data          from cell          phones       testified          in


 5   a criminal       trial during which he                      explained his             training,


 6   described how he extracted messages                            from phones             in that       case,


 7   and    conveyed the          contents       of    the       extracted messages.                    Id.    At


 8   17.     The    Second Circuit          rejected a challenge                         that    the    agent's


 9   testimony was             improper    expert       opinion testimony                   from a


10   nonexpert.           It    explained that          the       agent " did not               purport       to


11   render    an    opinion based on the                   application             of    specialized


12   knowledge       to    a particular          set    of       facts."       Id.        The    same    is    true


13   here.     The    government's          proffer          does       not    foreshadow any             opinion


14   testimony based on             application             of    specialized knowledge                   to


15   facts.


16                  Accordingly,          assuming the             government             lays    the proper


17   foundation       as       to why Finocchiaro has                   personal          knowledge       of       the


18   matters       about which       she will          testify,          her    testimony as


19   proffered       is    admissible       fact       testimony          of    a lay witness.


20   Teman's       motion       to exclude       such testimony                is    therefore          denied.


21                  For    avoidance       of    doubt,          this    ruling does             not    authorize


22   and    should not          embolden the          government          to    elicit          expert


23   testimony       from Finocchiaro.                 The       Court    suspects          that       she will


24   testify       solely based       on personal                knowledge          about       relevant


25   practices       and procedures             at    her    employer,          Bank       of America.



                                SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page62 of 224
                              A-137.37


          Case 1:19-cr-00696-PAE                   Document 87            Filed 01/23/20            Page 32 of 90             32
     KIAHTEMC



 1                     Finally,             I will       turn to the                government's          most    recent


 2   motion,       which asks                the    Court       to preclude                expert       opinion


 3   testimony that                Teman proposes                   to    offer.           Teman's      proposed


 4   expert       is    J.       Benjamin          Davis.           Davis          is    a lawyer whose practice


 5   focuses       on the          financial             services             industry and who,               according


 6   to    Teman,       has       had extensive                experience               with     check negotiation


 7   issues.           See       docket       74-1       at    1.        On    January         5,    2020,    Teman     gave


 8   the    government             notice          of    Davis'          anticipated testimony.                      See     Id.


 9   Teman    states             that       Davis'       testimony would                   include,       inter      alia,


10   descriptions                of what       constitutes                a " remotely              created check"           and


11   what    constitutes                a " counterfeit                  check"          and his      opinions       that


12   the    checks          were " valid RCC"                  and thus             not    counterfeit.           See      Id.


13   At    2-4.


14                     The       government             seeks       to preclude             Davis'       testimony         for


15   three    reasons:                 First,       that       it    is       irrelevant            and will     not    be


16   helpful       to the          jury;       second,          that          it    improperly          intrudes       on the


17   province          of    the       Court       to    give       legal          instruction          to the    jury;


18   and third,             that       his    opinions          are       not       the product          of reliable


19   principles             and methods,                as    required under                Rule      702.     Teman


20   disagrees          on       all    fronts.


21                     I will          first       address          Davis'          testimony related to RCCs,


22   followed by his                   testimony related to                         counterfeit          checks.


23                     First,          as    to whether             Teman's             checks      constitute       valid


24   RCCs,    the       Court will             exclude          this          testimony.             Davis'    testimony


25   about    RCCs          is    simply       irrelevant.                    This       issue mirrors         the     issue



                                   SOUTHERN DISTRICT REPORTERS,                                  P.C.
                                                         (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page63 of 224
                              A- 137.38


       Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20          Page 33 of 90                  33
     KIAHTEMC



 1   raised by the             Federal       Register Notice                discussed             earlier,         and


 2   which    I am also             excluding.           As    I reviewed          in       connection with


 3   that    notice,       this       case    does       not    concern the             technical


 4   regulatory question                of whether             the    checks       meet          the    Federal


 5   Reserve       Board's          definition          of    a valid RCC,             as    interpreted by


 6   Davis    or    otherwise.           This       is       a criminal       case,          and the          issue      on


 7   Counts    One    through Four             is       whether       the    government                has


 8   established beyond a reasonable                            doubt       that       Teman       is    guilty       of


 9   bank    fraud or wire             fraud.           On those       counts,          the       government


10   alleges       that    Teman's       fraudulent             scheme       consisted             of


11   representing to the                bank       or    banks       at which he             deposited the


12   checks    that       he    had authorization                   from the       owner          of    the    account


13   on which the          checks       purported to be                drawn to             create those


14   checks    and to deposit                them into his             own    accounts.                 The


15   indictment       alleges          that    Teman,          in    fact,    lacked             such


16   authorization.                 And as    to    Teman's          fraudulent             intent,          the


17   indictment       alleges          that    Teman          acted with          intent          to    defraud when


18   he pretended to have                such       authorization.


19                  Davis'          testimony about             technical          compliance with RCC


20   regulations          has       no bearing on             either    the       act       or    the    intent


21   requirement          of    these    criminal             statutes.           If    Teman had the


22   customer's       authorization to                   create       and deposit                the    checks,       it


23   does    not matter whether                he       did or       did not       technically                comply


24   with the       Federal          Reserve       requirements             for    an RCC.


25   Contrariwise,             if    Teman    otherwise             complied with the                   technical



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                   (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page64 of 224
                              A- 137.39


       Case 1:19-cr-00696-PAE               Document 87            Filed 01/23/20          Page 34 of 90                 34
     KIAHTEMC



 1   requirements         for    an RCC but             did not          have    the       customer's


 2   authorization to            create          and deposit             into his          account       a check


 3   drawn    on the      customer's             account,          and yet       intended to do                so    and


 4   did   so with the          intent       to    defraud,             no    amount       of    compliance with


 5   other    technical         regulatory             specifications                will       serve    as    a


 6   defense.       Davis       is    not    a fact witness.                    He    is    thus       unqualified


 7   and   incompetent          to discuss             whether          Teman's       customers          authorized


 8   the   checks    in       question,          whether          Teman knew or             did not       know


 9   about    such authorization                  or    lack       of    authorization,                and what


10   Teman's      state       of mind was          when he          negotiated the                   checks.


11   Davis'    discussions            of whether             the    checks       are " valid"            in    some


12   technical      sense       does    not       bear       on    any       issue    at    hand       in this


13   criminal     trial.         Further,          on    the       other       side    of       the    Rule    403


14   balance,      Davis'       commentary on these points,                            like          the Federal


15   Reserve Notice,            would       serve       to    confuse          the    jury       as    to what       the


16   issues    they must decide                  are.


17                 Finally,          any testimony                in this       area by          lawyer       Davis


18   would    invade      the    Court's          province          to       instruct       the       jury as       to


19   the   law.     As    I have       discussed with regard to the                                  Federal


20   Reserve Notice,            to the       extent          there       is    a value          in    explaining to


21   the   jury that          checks    can       lawfully be                remotely       created       and


22   negotiated,         the    Court       is    open to doing                so through an


23   instruction,         and    I've       invited the             parties          to propose          such an


24   instruction         to    the    Court       by Wednesday,                January          15.


25                 Second,       as    to whether             Teman's          checks       qualify by          some



                               SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                  (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page65 of 224
                              A-137.40


          Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20          Page 35 of 90                        35
     KIAHTEMC



 1   technical       standard as " counterfeit,"                           Davis'          testimony             is    also


 2   irrelevant.           Davis       proposes          to testify that " a counterfeit


 3   check    is    a check       in which             all    features          have       been       fabricated


 4   (i.e.,    it    is    not    from check             stock       that       originally belonged to


 5   the    account       holder),          including the             signature             of    an       authorized


 6   signer    on the       account."             Docket       74-1       at    2.        Davis       would then


 7   testify that,          in his          opinion,          the    checks          do    not    meet this


 8   definition       and       are    thus       not    counterfeit.                    I will       also exclude


 9   this    testimony.           It       is    not    relevant          to    any       issue       presented             in


10   this    criminal       case.           The    allegation here,                      again,       is    that       Teman


11   falsely represented that                      he    had    customer             authorization                to


12   create    and negotiate                the    checks       made       out       to    him.        Teman's          guilt


13   or    innocence       here       does       not    turn    on whether                every       last       feature


14   of    a particular          check was             fabricated or                only    some parts.


15   Again,    the    allegation here                   is    that    Teman          falsified             and    falsely


16   represented the             fact       of    the    account          holder's          authorization                   for


17   Teman to       create       and negotiate                a check.              If    so,    and       if    Teman


18   acted with       intent          to    defraud          in doing          so,       subject       to the


19   jurisdictional             elements,          the       elements          of    bank       and wire          fraud


20   will    have    been       established.                 That    is    so even          if    hypothetically


21   some    feature       of    the       check       stock was          not       fabricated by Teman.


22                  Here's       an    illustration.                 If    Teman,          for    example,             had


23   taken preexisting,                preprinted but                blank          checks       of    the       account


24   holder    and then,          without          authorization,                   filled       out       these       checks


25   to himself       and negotiated them,                      with       intent          to    defraud,             and    if



                                SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                   (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page66 of 224
                              A-137.41


          Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20          Page 36 of 90                  36
     KIAHTEMC



 1   the    jurisdictional                elements          were       established,             he    would be


 2   guilty    of       the    offenses             charged,       notwithstanding the                      fact       that,


 3   say,    the    account          holder's             preprinted address                   appeared on the


 4   checks.        Davis'          technical             discussion          of    how the          checks       align


 5   with his       understanding of                      the word " counterfeit"                     does      not


 6   assist    the       jury       in    evaluating whether                      any element          of bank          or


 7   wire    fraud has          been       established.                As     with Davis'             proposed


 8   testimony about                RCCs,       his       pontificating on this                      subject,          too,


 9   would    serve       only to          confuse          and distract             the       jury.


10                  I will          therefore             preclude       Davis       from testifying                   on


11   this    subject          too.


12                  There       is,       however,          one    caveat.           Although this                case       is


13   not    brought       under          a federal          statute          regarding          counterfeit


14   checks,       but    instead,             as    relevant          here       under    the       bank and wire


15   fraud    statutes,             the    government             in    the " to wit"               clauses       of


16   Counts    One       through Four                of    the    indictment             has    chosen to          use       the


17   adjective " counterfeit"                        to describe             the    checks          that    Teman


18   deposited.           From both the                   indictment          and the          government's


19   account       in    its    filings             in    this    case       in    its    theory of             liability,


20   it    seems    clear       to the          Court       that,       in    context,          the    term


21   "counterfeit"             is    being used             in the " to wit"               clauses          in the          lay


22   sense    to describe                the    fact       of    checks       that were             created without


23   the    account       holder's             authorization.                 Insofar          as    the    checks


24   purported to have                   been drawn             by the       account       holder          to   the


25   payees    in the          sums       indicated,             but    in    fact       had not       been,       they



                                SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                         (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page67 of 224
                              A-137.42


          Case 1:19-cr-00696-PAE          Document 87            Filed 01/23/20         Page 37 of 90                        37
     KIAHTEMC



 1   were " counterfeit."                There's       no    indication,               in   the     indictment


 2   or    otherwise,       that       by use    of    that       adjective,            the       grand       jury


 3   intended       some    other       technical meaning of                     counterfeit,             such          as


 4   the    one    that    Davis       may have       in mind,          in which he               contends          that


 5   literally every             jot    and tittle          of    the       check must            have    been


 6   fabricated by the             defendant          before       it may be            called


 7   counterfeit.


 8                  I will,      however,        confirm with the                  government             that          the


 9   use    of    the    term " counterfeit"            in the " to wit"                    clause       of    the


10   indictment was          not       based on the          grand          jury's      having been


11   presented with          a technical          definition                of   the    concept          of


12   counterfeit          along the       lines       that       Davis       proposes         to use.              If    it


13   were    unexpectedly to             turn    out    that       the       indictment was               returned


14   pursuant       to    such an       instruction,             I would then,               of    course,          have


15   to reassess          this   ruling.


16                  I'll    also       say this       to defense             counsel.             I do    not


17   expect       this    case to take          an unexpected turn                     that       would make


18   expert       testimony in          any of    these          technical points                  relevant.


19   But    trials       sometimes       take    unexpected             courses.            You     are       at


20   liberty,       outside the          presence       of       the    jury,      to make          the       argument


21   that    some       development       at    trial       has    created a justification                              for


22   expert       testimony along the             lines          proffered.


23                  And that       concludes          my ruling.


24                  So,    Mr.   Bhatia,        let's       just       go    to that         last point.                 I'm


25   not    asking you       to disclose          the       transcript            of    the       grand       jury,



                             SOUTHERN DISTRICT REPORTERS,                              P.C.
                                                (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page68 of 224
                              A-137.43


          Case 1:19-cr-00696-PAE       Document 87         Filed 01/23/20       Page 38 of 90                 38
     KIAHTEMC



 1   but    I am trying to understand what was                         meant    by the term


 2   "counterfeit."           Was    the    grand    jury given          a definition         of     the


 3   term " counterfeit"?


 4                  MR.    BHATIA:     No,    your    Honor.           I think what you


 5   described       in your    ruling --


 6                  THE    COURT:     Speak       into the mic          a little       bit more.


 7                  MR.    BHATIA:     When you described                in    your    ruling the          use


 8   of    counterfeit       in the    lay    sense       as    sort    of    non- genuine      or


 9   non- authorized,         I think that          was    the    intended --


10                  THE    COURT:     That    was    theory presented to the                  jury?


11                  MR.    BHATIA:     That's       right.


12                  THE    COURT:     That's       certainly          consistent with the               text


13   of    the    indictment    in    this    case.


14                  All    right.     That    concludes,          then,       my ruling.        We'll


15   take    a ten-minute       recess,       and when we             come    back we'll      continue.


16                  (Recess)


17                  THE    COURT:     Continuing on with the                   issues    before         us,


18   trial       length,    particularly given the                rulings       that    I've made,


19   that may       inform something          about       the    length of       the    trial.


20                  Government,       do you have          an    estimate       of    the number --


21   how long the          trial will       be?


22                  MR.    BHATIA:     Your       Honor,       I think       in the    three-      to


23   four- day range,         that    will    include          cross.


24                  THE    COURT:     When    you make          that    estimate,       are   you


25   taking       into    account    jury    selection          and    jury    arguments?



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                             (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page69 of 224
                              A-137.44


          Case 1:19-cr-00696-PAE       Document 87         Filed 01/23/20          Page 39 of 90               39
     KIAHTEMC



 1                 MR.    BHATIA:      I think the          government             can    close    by the


 2   end of    the    fourth day.


 3                 THE    COURT:     What     assumption,             if    any,    are    you making


 4   about    a defense       case   when     you make       that          estimate?


 5                 MR.    BHATIA:     That's        just    based on the             government's


 6   case.


 7                 THE    COURT:     That     assumes       no defense             case?


 8                 MR.    BHATIA:     Yes.


 9                 THE    COURT:     Three     to    four    days.


10                 Defense,     anything you want                to    share?        I'm    just    trying


11   to think      about     this    from a planning perspective,                         including what


12   to    say to the venire.


13                 MR.    GELFAND:     Obviously,           without waiving any rights,


14   your    Honor,      I would anticipate           an    approximately                one-day defense


15   case,    if   any.


16                 THE    COURT:      So that's       helpful.              Putting all          that


17   together,       we're    going to be          starting on             Tuesday,       January       21.     I


18   will    sit   that    Friday.      So    that    gives       us       four    days    the    first


19   week.      I suppose what         I ought       to    say    is       the    parties    expect       the


20   trial    to be      over between        one    and two weeks.                 Does    that    sound


21   like    a fair      estimate?     Probably erring                 on the       lower    side,       but


22   I'll    find words       to the venire          along those             lines.        That    sound


23   right?


24                 MR.    GELFAND:     With us,           your    Honor.


25                 MR.    BHATIA:     That     sounds       appropriate.



                             SOUTHERN DISTRICT REPORTERS,                         P.C.
                                             (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page70 of 224
                              A-137.45


          Case 1:19-cr-00696-PAE             Document 87               Filed 01/23/20          Page 40 of 90                     40
     KIAHTEMC



 1                  THE       COURT:        All       right.           I don't          think       this    will


 2   matter,       but    I'm wide          open       the       last week,             save    that       if    this       is


 3   still       ongoing on Thursday,                   the       30th,       I have          a long- scheduled


 4   speaking engagement                   in Midtown which would knock                               out       an    extra


 5   long    lunch period,             but       otherwise             I have       no blocks          on my time,


 6   at    least    through that             day.


 7                  Mr.       Smallman points                out       that       I have       a multi- defendant


 8   case    on Wednesday morning                      at    9 o'clock,             but       based on the


 9   estimates       I'm getting,                it    sounds          as    if    there's          a good       chance


10   the    jury will          be    out    by then          deliberating,                in which case we                   can


11   accommodate          both.        We'll          see.        In    any event,             my    chambers             will


12   take    stock       of    how this          case       is    going with you                late       in the          first


13   week    and decide what,                if       any,       implications             it    has    for       this


14   conference,          but       this    takes       precedence.


15                  All       right.        As    to my daily                schedule,          I expect             counsel


16   and the       defendant          to be       in their             seats       and ready to go                   at


17   9:00    a.m.    sharp          each day of             the    trial.           Set       aside    for       a moment


18   the very       first       day of       the       trial where                the    same       will    apply,          the


19   ordinary       schedule          that       I use       when we          have       a jury       is    as       follows:


20   Counsel       are    expected to be                in their             seats       at    9:00    a.m.           I tell


21   the    jury they need to be                      ready to          go    and ready to be brought


22   out    at    9:30,       but we       invite       them to             come    as    early as          8:45          when


23   we    have    breakfast          available             to them in             the    jury room,             and that


24   often has       the       result       of    getting          jurors          here       early.


25                  Between          9:00    and       9:30       we    use       the    time       to work through



                                SOUTHERN DISTRICT REPORTERS,                                  P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page71 of 224
                              A- 137.46


       Case 1:19-cr-00696-PAE                      Document 87            Filed 01/23/20             Page 41 of 90                        41
     KIAHTEMC



 1   issues       that       may       come       up during the                trial          day or,          for that


 2   matter,       later          in the          trial.           But    at    9:30,          as    soon       as    the       last


 3   juror    has       arrived,             we    bring the             jury out,             and we          sit till


 4   5:00    p.m.           I try to          sit       a full       day to project                      to the       jury that


 5   we're    respecting their                         time.        We'll       take          a break          in midmorning


 6   and midafternoon,                      a comfort          break,          of    ten to          15    minutes,             and


 7   we'll    take          a lunch break                in the middle                   of    the       day.        But


 8   otherwise,             we're       going to work relentlessly                                  from       9:30       to    5:00


 9   with the          jury.


10                     After          5:00    p.m.,          you    should expect                   to    be    here       to the


11   extent       that       there may be                issues          for    the       next       day       or    for       a jury


12   charge,       or whatnot,                that       I need to take                   up with you.                    While,       if


13   necessary,             of    course,          I will          take    sidebars,                I prefer to                avoid


14   doing    so when             I --       as    much as          possible.                 I prefer          instead to


15   take    up    issues             with you          at    the    start          of    the       day,       at the          end    of


16   the    day,       and       so    I very much value                   getting             letters          or    getting


17   previews          from counsel                at    those points,                   either          before the             day


18   starts       or    afterwards,                so that          I can       ideally resolve                      issues,          not


19   in the       crucible             at    the       sidebar       but with a little                         more


20   forethought             and deliberation.                       It's       already             clear       to me          from


21   the    extensive motion                      in    limine       briefing that                   both       sides          have


22   that    sensibility.                    I was       glad to          see       it,       but    I want          to


23   encourage          you to keep doing that,                            to keep raising                      issues          so    I


24   can have          an    opportunity to think                         on them and not                      be    forced to


25   think    fast.              Avoiding          sidebars          also keeps                us    moving quickly.



                                      SOUTHERN DISTRICT REPORTERS,                                  P.C.
                                                         (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page72 of 224
                              A-137.47


          Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20          Page 42 of 90                  42
     KIAHTEMC



 1   Juries       hate       it    when we       take    long breaks             doing that.                 I will      if


 2   necessary,             but    I'd    like    to minimize             it.


 3                     On    January       21    we    will    start       at    9:00       a.m.        Fair


 4   warning,          though,       is    that       it will       take    some       time       to    get    us    a


 5   panel       in    all    likelihood.              The    jury will          need to -- the video


 6   will    need to          get --       assuming the people who                         are    sitting       are


 7   there       for    their       first week,          will       need to       get       trained on          jury


 8   service.           They'll          need to watch the video,                      and they'll             need to


 9   be    brought          across       the    street.        And    I have          it    on    good authority


10   that    there's          a high- profile            case       that might             take precedence


11   over    ours       in terms          of    completing questionnaires,                            and whatnot.


12   So we will             get    started,       but    there       might       be    some       need for          some


13   sort    of       break.        I just       don't       know.        Just    fair warning.                 In    any


14   event,       because          I won't       see    you between             now and the             21st,


15   there's          every       chance       a variety of          housekeeping                issues       will    pop


16   up,    so    be    in your          seats    at    9:00       a.m.    on the          21st.


17                     I'm about          to turn to voir             dire.           Any questions             about


18   the    schedule,             though?


19                     MR.    BHATIA:           No,    your    Honor.


20                     MR.    GELFAND:           No,    your       Honor.        One       question,          just


21   housekeeping question.                       To the       extent       that       any       evidentiary


22   objections             do require more             detail,       would the             Court       like    us    to


23   request          sidebar       or    just make          the    objection?


24                     THE    COURT:           Try to make          the    objection             in    the    first


25   instance          just       by reference          to the --



                                   SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                      (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page73 of 224
                              A-137.48


       Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20          Page 43 of 90                  43
     KIAHTEMC



 1                  MR.    GELFAND:           Rules.


 2                  THE    COURT: -- the              rule       of    evidence,          and    I may prompt


 3   you    for    elaboration          if    I need help.              If    there's          something


 4   fundamental,          I'm open to your                requesting a sidebar,                      but       choose


 5   wisely.


 6                  MR.    GELFAND:          Appreciate           it.        Thank you.


 7                  THE    COURT:        Very good.              I should          say -- this             is


 8   particularly relevant                   for    the    government             since    you       go    first --


 9   you need to          always      have     your       next    witness          handy.        The       threat       I


10   always       make    is    if   it's     4:45    and the          last witness             is    done       and


11   you don't       have       somebody else             in the witness                room,    you'll          be


12   taken    as    resting.          So be        sure    there's          always       someone          on    the


13   on- deck      circle.


14                  MR.    BHATIA:           Understood.


15                  THE    COURT:        Let's       turn to voir             dire.        You've          given me


16   the    length of          the   trial     that       I will       use,       and    I'll    find words             to


17   capture       that.        Given    the       length of          the    trial,       I think we're                OK


18   just    going with two             alternates.              Anyone       think       otherwise?              Seems


19   like    a short       enough trial             that    I don't          need more.


20                  MR.    DIRUZZO:           That's       fine,       Judge.


21                  MR.    BHATIA:           That's       fine.


22                  THE    COURT:        All       right.        So    as    to    jury    selection --                and


23   Mr.    Imperatore          knows    this,       but    for       everyone's          benefit --             I use


24   the    struck panel method.                    That means          what       I will       be doing          is


25   having Mr.          Smallman,       in the       first       instance,             identify 32



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page74 of 224
                              A-137.49


          Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20          Page 44 of 90                     44
     KIAHTEMC



 1   prospective          jurors       numbered       1 through          32,       and they will                be --


 2   the    first      eight will        be    in the       first       row of          the    jury box,             nine


 3   through      16     will    be    in the      second row,           and then             17    through          32


 4   will    be   in the        first    few rows          of    the pews          out    here.           Each       juror


 5   will    retain       their       number.        So    if    Juror    17       gets       removed,          the


 6   successor         juror will        take      the     spot    of No.          17    as    opposed to


 7   re- calibrating the               rows.       That makes           your       housekeeping and your


 8   paperwork         in mind easier.


 9                  I will       direct       a lengthy          series       of    questions             at    them


10   aimed at       determining whether                   there    is    any valid basis                   for       a


11   for- cause        challenge.            And   eventually,           at    the       end       of that


12   process,       we'll       have    32    people who          have    cleared             for- cause


13   challenges.           At    that    point we          have    a short          one- page


14   biographical          questionnaire --                I use    the       same       one       in every


15   case -- that          elicits       information             about    employment,                family


16   members'       employment,          education,             hobbies,       reading habits,                   and       so


17   forth.       The     final       question,       which       counsel          constantly tell me                      is


18   in    some   respects more              revealing than many of                      the       ones    that       come


19   before,      asks     if    there's       a famous          person the             juror       admires          and


20   briefly why.              Sometimes       that       smokes    out       latent          interests,


21   biases,      and     so    forth.


22                  In    any event,          you'll       have    the    benefit             of    all    that


23   information.              I will    then      give     you    a very          short       break,          but    a


24   very    short       one,    to determine             how you       intend to             use    your


25   strikes,       and    I'll       then bring          counsel       into the          robing room for



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page75 of 224
                              A- 137.50


          Case 1:19-cr-00696-PAE                Document 87               Filed 01/23/20             Page 45 of 90                        45
     KIAHTEMC



 1   the purpose          of       exercising your                      strikes.


 2                  This       is    important.                    This       just       gets       to    the mechanics.


 3   Under    the       rules,       with respect                   to the          jury as          opposed to


 4   alternates,          the       defense          has       ten       strikes          and the          government             has


 5   six.     Those       initial          strikes             are       all       to be       directed to Nos.                       1


 6   through       28    of    the       32.        Those          are    the people                eligible to             be    our


 7   regular       jurors.           We will             go,       as    per       usual,       in       six rounds.              The


 8   first    four       of which the                defense will                   have       two       strikes       and then


 9   the    government             will    have          one,       and the          last       two       that       each    side


10   will    have       one    strike.              The       12    People          that       remain will             be    our


11   jurors.


12                  You need not                go       in    sequence.                 You    can       strike No.             27


13   and then       in    the       next       round          strike          No.    1.        There's          no    sequencing


14   requirement          here.           But       if    you waive                a strike          in    a particular


15   round,       you    can't       use       it    again.              You       can    go back          and use          other


16   ones,    but       you    can't       use       that          one    again.           So,       defense,          in round


17   two,    if    you    say we waive                   our       two    strikes,             you       can't       get    those


18   back    even though your                   round three                   strikes          remain.


19                  You       should not,                though,          direct          those          first       strikes,


20   ten the       defense,          six       for       the       government,             at       the    alternate


21   candidates,          No.       29    through             32.        At    the       end of          the    exercise          of


22   the    strikes,          as    I said,          the       first          12    will       be    our       jurors,       if


23   somebody has             waived a strike,                      the       effect       of       that       is,    in    effect,


24   to    strike No.          28.        So    after we                have       figured          out    who the          12


25   jurors       are,    each of          you will                then       have       one    strike          to be       used       as



                                   SOUTHERN DISTRICT REPORTERS,                                     P.C.
                                                         (212)          805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page76 of 224
                              A- 137.51


          Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20          Page 46 of 90                  46
     KIAHTEMC



 1   against Nos.          29    through       32,    and the          two that          survive that


 2   process,       or    the    first       two    that    do,       will    be    our    alternates.


 3                  As    is    commonly the          case       in    federal       court,          but    just    to


 4   make    the point          clear,       the    Court       alone       does    the    questioning             of


 5   the    jurors.        There       are    no    counsel       questions.


 6                  Any questions             about       the mechanics             of voir          dire?


 7                  MR.    BHATIA:           No,    your    Honor.


 8                  MR.    DIRUZZO:           No,    your       Honor.


 9                  THE    COURT:        Who will          be    at    each table          during the


10   trial?       Will     it    be   the     three       people       at    each table who                are    here


11   now?


12                  MR.    BHATIA:           From the       government,             yes,       your    Honor.


13   One moment.


14                  (Counsel          confer)


15                  MR.    BHATIA:           Your    Honor,       we    also have          a case          agent.


16   We    have    not    made    a decision yet                about whether             he    will       testify


17   as    a witness       at    trial,       but we may request                   that    he    sit       at


18   counsel       table.


19                  THE    COURT:        I think,          under       the    rule,       he    is


20   permitted to          sit here whether                or    not    he    is --       I think          it's


21   Rule    615.        He's    allowed to          sit    at    the       table    as    the       embodiment


22   of    the    government's          case,       the    government's             corporate


23   representative.              Just       let    Mr.    Smallman --             or,    rather,          let my


24   law clerks          know beforehand,             because          they're       going to be


25   preparing a script                for voir       dire,       and       I need to          know who's



                                SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page77 of 224
                              A- 137.52


          Case 1:19-cr-00696-PAE          Document 87            Filed 01/23/20       Page 47 of 90                     47
     KIAHTEMC



 1   going to be          there.


 2                  MR.    BHATIA:        We will.


 3                  MR.    GELFAND:           It    will    be --


 4                  THE    COURT:        Defense?


 5                  MR.    GELFAND:           It    will    be       exactly as       you       say,       your


 6   Honor.


 7                  THE    COURT:        There's          a point       in voir       dire where             one    by


 8   one    I ask you both each of                   you to          rise    and    look       at    the    jury,


 9   look here          and at the       venire       in the          back.        Listen       closely to my


10   command       for    when you       should get             up.     I don't want                all    three    of


11   you    getting up.              I want    it    one    by       one,    and    I will          choreograph


12   it    that way.


13                  Please --          and Mr.       Smallman points                out    he       will    need to


14   know who's          here    for    the    appearance             sheet,       so tell          him too.


15   Fair    enough.


16                  Do    not    say " hello"         to the          jury,    please.              It    annoys


17   them to have people                sucking up          in       that    sort    of    a way,          and    I'm


18   asking you          just    to    simply       get    up    and    let    them       see       you.     But


19   it's    not    an    opportunity to wish them all well.


20                  All    right.        For voir          dire,       I will       need an          alphabetical


21   list    of    all    names       that may come             up    in the       case.        These       are    not


22   just witnesses,             but    names       that may          come    up.     What          I appreciate


23   is    one    list    of    human    being names             and one       list       of    corporate


24   names,       but make       those    separate          and make          them alphabetic.                    You


25   should       get    rid    of    the people          who    are    named and present                   at    the



                                SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page78 of 224
                              A- 137.53


          Case 1:19-cr-00696-PAE          Document 87         Filed 01/23/20             Page 48 of 90           48
     KIAHTEMC



 1   trial       table.     There's       no need to          include          the       lawyers    or


 2   Mr.    Teman       on that    list.     I'll       ask    the       government          to get      that    to


 3   me    after    consultation with the                defense.              If    you    have    other


 4   names,       please    just    add that.


 5                  All    right.        Let me       briefly read to                you    just    a very


 6   short       statement       that    I intend to          give       to the venire,             as   I do    in


 7   all    cases,       just    so they have          a general          understanding of               what


 8   the    case    is    about.        I try to make          this       very       stripped down.


 9   It's    not    an    opportunity to          figure       out what             all    the    curlicues


10   are    in    the    case,    but    really       just    to    smoke       out       issues    of   bias    in


11   case    somebody has          had a life          experience             that       looks    like   this


12   case.


13                  This    is    what    I propose          to read to the                venire.       When


14   I'm done       reading this          to you,       I'll       ask    you       if    there    are   any


15   inaccuracies          or    any necessary edits:


16                  "So you       can    understand the             reason          for    the    questions      I


17   will    be    asking you       shortly,          I will       now tell          you    briefly      about


18   this    case.        I want    you to       understand that                nothing          I say today


19   regarding the          description          of    the    case       is    evidence.           The


20   evidence       that    you will       consider,          if    selected as             a juror,      will


21   come    only       from the    trial    testimony of witnesses,                         from the


22   reading of" --             sorry -- " from the            trial          testimony of witnesses


23   and    from exhibits          that    are    entered          into evidence.


24                  "As    I have       explained,       this       is    a criminal             case.    It    is


25   entitled United             States    of America v.             Ari       Teman.        Mr.    Teman      has



                                SOUTHERN DISTRICT REPORTERS,                         P.C.
                                             (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page79 of 224
                              A-137.54


          Case 1:19-cr-00696-PAE         Document 87            Filed 01/23/20       Page 49 of 90                  49
     KIAHTEMC



 1   been    charged with         committing             federal       crimes       in    an    indictment


 2   returned by a grand               jury    sitting          in this       district.           I will       now


 3   summarize       the    charges      in this          case    in    order       to    determine


 4   whether       anything about         this          case may make          it    inappropriate             for


 5   any of    you to       sit   on    the    jury.


 6                  "In    summary,      the       indictment          charges       Mr.       Teman with


 7   committing       fraud by depositing                  into bank          accounts          that    he


 8   controlled       checks      drawn       on    other people's             accounts          but which


 9   Mr.    Teman was       not   authorized to deposit.                       It    alleges          that


10   Mr.    Teman did this         with two             checks    in    approximately March                   2019.


11   It    alleges    that Mr.         Teman       did this       again between April                   and


12   June    2019,    this    time      with       27    checks.        In    each       instance,       the


13   indictment       alleges      that Mr.             Teman    later       used money that             he    had


14   and deposited          for   his    personal          benefit.


15                  "In    connection with               each    set    of    deposits,          the


16   indictment       charges      Mr.    Teman with three                   crimes:       Bank       fraud,


17   wire    fraud,       and aggravated            identity theft.                 Mr.    Teman denies


18   these    charges.


19                  "Now,    let me      stress          that    an    indictment          is    not


20   evidence.        It    simply      contains          the    charges       against          the


21   defendant,       and no      inference may be                drawn       against          the defendant


22   from the      existence       of    the       indictment.           You must          always       keep       in


23   mind that       the    defendant         is    presumed          innocent,          that    he    has


24   entered a plea          of   not    guilty to the                charges       against him,             and


25   that    the    government must prove                  the    charges       in the          indictment



                             SOUTHERN DISTRICT REPORTERS,                           P.C.
                                               (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page80 of 224
                              A- 137.55


          Case 1:19-cr-00696-PAE          Document 87         Filed 01/23/20         Page 50 of 90                 50
     KIAHTEMC



 1   beyond    a reasonable          doubt."


 2                  So,    counsel,       tell me,          any    issues       with that        summary?


 3                  MR.    DIRUZZO:        Judge,          I would       just      ask   that    there --


 4   there    are    two things:           One,       the    description            of   evidence,          I


 5   think    it    also needs       to have          an    inclusion         for    stipulation            of   the


 6   parties.


 7                  THE    COURT:     From trial             testimony          stipulations           of    the


 8   parties?


 9                  MR.    DIRUZZO:        And documentary                evidence.


10                  THE    COURT:     It    says       exhibits,          so that's         fine.


11   Stipulation,          good    catch,    yes.


12                  MR.    DIRUZZO:        Then       I believe         you     said Mr.        Teman


13   deposited       checks       belonging to people,                  and     I believe the           alleged


14   victims       are    all    entities.


15                  THE    COURT:     OK.        In    other words,             I should        change


16   "people"       to " companies"         or " entities"?               What's         the    right word?


17                  MR.    DIRUZZO:        Companies,             businesses.


18                  MR.    GELFAND:        Companies          or    businesses.             I don't         know.


19   There's       one    other    thing,    your          Honor,       I may have         misheard.


20                  THE    COURT:     Sorry,          one    second.          It    says: " In         summary,


21   the    indictment          charges    Mr.    Teman with             committing         fraud by


22   depositing          into bank    accounts             that    he    controlled         checks      drawn


23   on    other people's          accounts ..."             and you want " people"                 changed


24   to " businesses."             I'm not       sure,       in the       context        here,    people         is


25   a shorthand          for meaning other                than Mr.       Teman.         But    what    would



                                SOUTHERN DISTRICT REPORTERS,                        P.C.
                                             (212)          805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page81 of 224
                              A- 137.56


       Case 1:19-cr-00696-PAE             Document 87      Filed 01/23/20          Page 51 of 90               51
     KIAHTEMC



 1   you propose          I change?


 2                  MR.    GELFAND:        Companies.


 3                  MR.    DIRUZZO:        Companies.


 4                  THE    COURT:        On the       accounts    of --          I just want       to make


 5   sure    it's       clear    these    are    companies,       of       course,       that    are    not


 6   his.


 7                  MR.    DIRUZZO:        Yes.


 8                  MR.    GELFAND: " Customers                of Mr.       Teman's       company"?


 9                  THE    COURT:        The    business       relationship,             that's    for       you


10   all    to    litigate.


11                  Government,          what's       your view?


12                  MR.    BHATIA:        Your    Honor,       I think          it may be       fair    to    say


13   "on the       accounts       of    others"       to keep    it    most       neutral, " checks            of


14   others."


15                  THE    COURT: " On the             accounts       of    others,"       that's       fine.


16   I can       say " checks      drawn       on the    accounts          of    others."        All    right.


17   I'm not       going to commit             that    I will    use       that    language,       but


18   that's       certainly adequate.                 I may play with             it    a bit,    but    I


19   take    the    defense point          not    to use       the word " people"               when    it's


20   actually       corporate          accounts.


21                  MR.    GELFAND:        On    an    unrelated note,             I might       have


22   misheard this,             your    Honor,    but    the    aggravated             identity theft


23   counts       are    actually only associated with the March                            checks,          and


24   I think the          summary might          have    conflated that                they were


25   associated with the --



                                SOUTHERN DISTRICT REPORTERS,                      P.C.
                                                (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page82 of 224
                              A-137.57


       Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20    Page 52 of 90              52
     KIAHTEMC



 1                  THE    COURT:        Yes,       right.


 2                  MR.    GELFAND:           I don't       remember       the    exact    language,         but


 3   I just    wanted to             flag that       for    the    Court.


 4                  THE    COURT:        Right.        I have written " in               connection with


 5   each    set    of    deposits,          it    charges       him with three          crimes,"      and


 6   that's    not       correct.        Why don't          I say " in      connection with these


 7   deposits,"          that way       it    doesn't       specify how the             aggravated


 8   identity --


 9                  MR.    GELFAND:           That's       fine,    your    Honor.


10                  THE    COURT:        Very good.              With three --          it's   irrelevant


11   to the    jury       in    jury    selection whether                there    are    multiple


12   instances       of    separate          crimes.        I think       it's    enough to      say three


13   crimes    or    sets       of    crimes,       bank    fraud,       wire    fraud,    and


14   aggravated          identity theft.


15                  Are we       OK with the          description          as    edited?


16                  MR.    BHATIA:           Yes,    your    Honor,       I think with the           change


17   for    aggravated          identity theft,             it    all    sounds    good.


18                  THE    COURT:        Good.


19                  MR.    DIRUZZO:           We're    fine,       Judge.


20                  THE    COURT:        Thank you,          counsel.


21                  All    right.        Next       issue    is    courtroom technology.                I


22   know you're          going to be meeting with Mr.                      Smallman       for   a


23   walk-through,             but    just    so    I understand,          government,         you're


24   going to be          starting       off.        How are       you    going to be --         how


25   voluminous          are    the    exhibits       in this       case,       and how do you         intend



                                SOUTHERN DISTRICT REPORTERS,                      P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page83 of 224
                              A- 137.58


          Case 1:19-cr-00696-PAE          Document 87         Filed 01/23/20          Page 53 of 90                  53

     KIAHTEMC



 1   to    make    them known       to    the    jury?


 2                  MR.    BHATIA:        Your    Honor,       I don't          think       the    exhibits


 3   are    too voluminous          in    this    case.        What       do    you mean          by    how --


 4                  THE    COURT:        Are    you    going    to    use       the    ELMO?           Are    you


 5   going    to    hand    out   hard     copies?        Are       you    going to --


 6                  MR.    BHATIA:        I think we're             intending to             use       the


 7   courtroom --


 8                  THE    COURT:        Computer       system?


 9                  MR.    BHATIA: --           computer       system.


10                  THE    COURT:        Not    the    ELMO    at    the       podium?


11                  MR.    BHATIA:        That's       right.


12                  THE    COURT:        All    the    more    important,             because          it's    a


13   balky    courtroom and            important        that --       I guess          this       is    probably


14   more    for    Mr.    Magliocco       than       anyone    in    the       courtroom --             you    be


15   ready    for    prime    time,       so work       with Mr.          Smallman          and be       ready


16   beforehand.


17                  MR.    BHATIA:        Yes.


18                  THE    COURT:        Mr.    Smallman       points          out    that    Mr.       Magliocco


19   has    ably    assisted me,          I think,       in    the    Rivera          trial?           Rivera --


20   Polanco?


21                  MR.    MAGLIOCCO:           Polanco       trial.


22                  THE    COURT:        Quite    right.        Defense,             what    about       you?


23   What    are    your    thoughts       as    to    technology?


24                  MR.    GELFAND:        Your       Honor,    our       instinct,          as    of    now,       is


25   to    rely primarily         on     the    ELMO,    as    far    as       documentary exhibits.



                             SOUTHERN          DISTRICT       REPORTERS,             P.C.
                                                (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page84 of 224
                              A- 137.59


          Case 1:19-cr-00696-PAE             Document 87      Filed 01/23/20          Page 54 of 90               54
     KIAHTEMC



 1   We    also    are    going to make             sure    that we're          fully       situated with


 2   the    court's       AV equipment             so we    can    electronically display,                   as


 3   well,    using       common       software.


 4                  THE    COURT:        The       issue would be          for    you,       for   example,


 5   if    there was       something produced                in discovery that                you want       to


 6   show to the          witness,       just       make    sure    that    you have          tested your


 7   ability to use             that.        The    jurors    can't       stand       fumbling around


 8   and    long delays.              So you will          benefit    as    much as          anyone    by your


 9   being    crisp       in    the    use    of    that.


10                  MR.    GELFAND:           Absolutely,          your    Honor.


11                  THE    COURT:        Very good.           Anything else             on    courtroom


12   technology?


13                  MR.    BHATIA:           Nothing,       your    Honor.


14                  THE    COURT:        OK.        Jury addresses.              We    have    a --    it's


15   not present          here right          now,    but we       have    a portable podium that


16   will    be    before       the    jury.        Not    that,    but    a portable          one.     It


17   will    be    right       in   front     of    the    jury box.        The       important       thing       is


18   that    it    does    not      contain        a microphone,          so Mr.       Smallman has          a


19   handheld wireless                mic which we          usually       lie    down       on the    bar


20   before       the    jury right          next    to the podium,             and that will          pick       up


21   everyone's voice.                What        it means    is,    though,          you    shouldn't       be


22   straying       far    from the podium because                   you'll       lose       the mic.        So


23   just    as    an FYI.


24                  With respect             to    questioning of witnesses,                   you're       to


25   question the witnesses                   from the podium back                here.        Please,



                                SOUTHERN DISTRICT REPORTERS,                      P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page85 of 224
                              A- 137.60


          Case 1:19-cr-00696-PAE           Document 87               Filed 01/23/20          Page 55 of 90               55
     KIAHTEMC



 1   except    for presenting documents                          to the          witness,          you    shouldn't


 2   be    questioning     from the well                   of    the      courtroom.               It's    an


 3   ancient,     old    courtroom.              If    you're          far       from the          mic,    it's       hard


 4   to be    heard.      You'll       surely hear me                     from time           to    time    asking


 5   people    to keep     their       voices          up.


 6                All    right.        3,500          material.                Has     the    government


 7   provided     3,500    to the          defense;             if    so,      when does           it    intend to do


 8   so?


 9                MR.    BHATIA:           Your       Honor,         we     have       not produced             3,500,


10   but we    plan     to do    it    in the          first         half        of    next    week.


11                THE    COURT:        All       right.              I can't          order    you to do          it    on


12   a particular        date,       but    can you             commit         to a specific date                 so the


13   defense     knows?


14                MR.    BHATIA:           We    can produce                it    by Wednesday of                next


15   week.


16                THE    COURT:        How voluminous                     is     the    3,500       material?


17                MR.    BHATIA:           I don't          expect          it    to be very voluminous,


18   certainly not        beyond what             has       already been produced as


19   discovery.


20                THE    COURT:        Not       beyond what?


21                MR.    BHATIA:           Not    beyond what                  has     been produced             in


22   discovery.


23                THE    COURT:        I don't             know what             that    means.


24                MR.    BHATIA:           Some       of    the       3,500       has    already been


25   produced as        Rule    16    discovery.



                           SOUTHERN DISTRICT REPORTERS,                                  P.C.
                                                 (212)          805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page86 of 224
                              A- 137.61


          Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20          Page 56 of 90                        56
     KIAHTEMC



 1                     THE       COURT:        Right.


 2                     MR.       BHATIA:        It may not          be    new.        I don't          expect          it    to


 3   be voluminous,                though.


 4                     THE       COURT:        All    right.        Please,          when you          get    the


 5   binders --             or    binder       or    binders,       please       get       two    sets       of    that          to


 6   my    chambers          as    well.        I will       often       flip through             it    beforehand


 7   just    to       get    a sense          of what's          coming,       and    it's       important             for       me


 8   and my       law clerk each to have                         a set    of    that.


 9                     MR.       BHATIA:        We will.


10                     THE       COURT:        All    right.        Government,             also,       just       in       the


11   interest          of    enabling the             defense       to prepare,             it    is    my practice


12   to    ask    you       each day who the                next witnesses                are    likely to be.


13   Obviously,             in the       event       there's       a good reason,                you may need to


14   shake       it    up,       but    nobody benefits             by mystification.                    So       I will


15   expect       you to          give    the       defense       a sense       of who your             next


16   witnesses          are       at the       end of       each day.


17                     MR.       BHATIA:        Understood.


18                     THE       COURT:        Obviously,          you    can do          so beforehand,


19   before       even       that,       all    the    better.           That    also       allows me             to


20   prepare          for    the       next    day's       testimony.


21                     To    the       extent       that    you're       updating          3,500       material,             per


22   usual,       I expect             that    I would       get    hand delivered to                   us    whatever


23   additional             three- hole punched                  supplements          there       are    as       they get


24   generated.              Usually counsel                tend to       give       it    to my       chambers             at


25   the    end of          the    court       day or       at    the    beginning of             the next             court



                                   SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page87 of 224
                              A- 137.62


          Case 1:19-cr-00696-PAE             Document 87            Filed 01/23/20       Page 57 of 90                  57
     KIAHTEMC



 1   day.


 2                  Government,          I would welcome                   a pair       of    exhibit         binders


 3   as    well.     Obviously,          you're          at    liberty to update                   those.        I


 4   assume    that       you    can    get    those          to me       the    Friday before               trial,


 5   the    17th.


 6                  MR.    BHATIA:           We will.


 7                  THE    COURT:        And,       obviously,             the    same       to the       defense.


 8                  All    right.        I have          benefited by the                government's


 9   preparation          of    an    exhibit       list       and your          updating          it   on    a daily


10   basis    to    annotate what             has    been received                in    evidence,            that     way


11   it makes       sure       that    both tables             in    the    court       are    on the         same


12   page    and have          no doubt       of    what's          been received             in    evidence.           I


13   ask you to kindly prepare                      that.           I'm rather          sure we did that                in


14   the    Polanco       trial.


15                  Verdict          form.     This       is    about       as    straightforward as                   it


16   gets,    but,    defense,          do you have             any       issues       with --          I may make


17   some    nonsubstantive             changes,          but       any    issues       with the verdict


18   form as       provided by the             government?


19                  MR.    GELFAND:           Not    at       first       glance.        The       only question,


20   depending on what                ultimately turns                on disputes             at    trial,       is


21   whether we would request                      any    special          interrogatories.


22                  THE    COURT:        Right.           There's          no    sentencing             factor      here.


23                  MR.    GELFAND:           Correct.


24                  THE    COURT:        What       would the purpose                   be    of    a special


25   interrogatory?



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                   (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page88 of 224
                              A- 137.63


       Case 1:19-cr-00696-PAE           Document 87            Filed 01/23/20       Page 58 of 90                 58
     KIAHTEMC



 1               MR.    GELFAND:            I don't       anticipate       there will             be      any.     I


 2   just wanted to        get    a carve- out            theoretical          exception.


 3               THE    COURT:         If    you    come       up with    some       issue with the


 4   verdict    form,     let me       know as       soon       as   possible.


 5               MR.    GELFAND:            Absolutely.


 6               THE    COURT:         Almost       done       here.     Plea       offers.          This


 7   being our     last    conference,             I need to put          on    the       table      and raise


 8   whether    any plea offers              have    been made          to the       defendant            and to


 9   confirm that       they were           communicated to             him.        For    the benefit,


10   in particular,        of Mr.       Teman,       the       reason    courts       do this          is   not


11   to pry but,       rather,     because          from time          to time       one    gets


12   post- trial      complaints        by defendants                that plea       offers were            never


13   communicated to them.                  Sometimes          these    happen years            after       the


14   fact.     It's    important        that       a Court       inquire       at    this       stage


15   whether    there was        any    such thing,             just    so that       there's          a clear


16   understanding        from everybody about what                      happened          as   to the plea


17   process.


18               Government,           can you put             on the    table what,            if     any,


19   plea    offers    have been made              in this       case.


20               MR.    BHATIA:         Your       Honor,       no    formal    plea       offers         have


21   been made     in this       case.


22               THE    COURT:         I take       it    there must       have       been       some


23   informal    discussion,           or    not    even that?


24               MR.    BHATIA:         We    have       had    informal       discussion            at


25   different     stages    of    the       case,       but    there    hasn't       been a formal



                          SOUTHERN DISTRICT REPORTERS,                          P.C.
                                              (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page89 of 224
                              A- 137.64


       Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20          Page 59 of 90                  59
     KIAHTEMC



 1   offer.


 2                  THE    COURT:        All       right.        Mr.    Gelfand,          is    that    correct?


 3                  MR.    GELFAND:           Yes,    your       Honor,       it    is.        What    I would


 4   note,    for    the    record,          is    that Mr.       Teman has          consistently


 5   expressed his          intention to proceed to trial                            and his          lack       of


 6   interest       in    any    sort    of plea.           As    a practical matter,


 7   government          counsel      being government                 counsel       and defense             counsel


 8   being defense          counsel,          we    have    engaged       in       just    some very


 9   general    dialogue over                the    course       of    this    case,       nothing that                has


10   materialized          in    an    offer,       either       by the       government          or    a request


11   by the    defense.


12                  THE    COURT:        I'm going to             ask Mr.          Teman       just    to    confirm


13   that's    his       understanding.


14                  Mr.    Teman,       is    it    correct       that    you       are    unaware          of    any


15   plea    offer,       any    formal plea          offer,          having been made to you?


16                  THE    DEFENDANT:              Correct,       your    Honor.


17                  THE    COURT:        Any       counsel       believe       I need to          inquire


18   further    about       this       subject?


19                  MR.    BHATIA:           No,    your    Honor.


20                  MR.    GELFAND:           No,    your    Honor.


21                  THE    COURT:        All       right.        There's       a final matter


22   relating to          the    grand       jury which          I'll    take       up    in    a moment,             but


23   before    that,       does       anyone       have    anything       else       relating to             the


24   trial    that       they want       to raise?


25                  MR.    BHATIA:           No,    your    Honor.



                                SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page90 of 224
                              A- 137.65


          Case 1:19-cr-00696-PAE             Document 87      Filed 01/23/20          Page 60 of 90               60
     KIAHTEMC



 1                  MR.    DIRUZZO:           Your    Honor,    before we             get    into the       grand


 2   jury portion,          early this          morning,       earlier          this    morning,          counsel


 3   for    the    government provided us                   with a letter             indicating they


 4   have    effectively changed the                      alleged victims             for    the   aggravated


 5   identity counts.              We    view this,          given the          government's          past


 6   representations --                and    I'm sorry       I don't       have       a copy,       but    I


 7   literally got          the    email with the             letter while we were                   in the


 8   courthouse,          your Honor,          so    I don't    have       a copy to provide                the


 9   Court -- but          as    a result       of    the    government's             total    change       in


10   its position          as    to who the          alleged victims             of    the    agg.    ID


11   counts       are,    we're    taking the             view that       the    government          now has


12   to have       Brady information                because    the    government             has   made


13   representations             in the past          that    are    now totally             inconsistent.


14   And we       believe       that,    at    a minimum,       the       information          and the


15   testimony before the                grand       jury that       resulted          in    the previous


16   indictment          and previous          superseding          indictment          will be       Brady,


17   some    form of       Brady material.


18                  THE    COURT:        Let's       unpack    this.        Who       are    you told       is


19   the victim of --             is    Entity       3,    the --    Count       Five       charges


20   aggravated          identity theft             for March       2019.        It    says    that       Teman


21   deposited a check using the personal                            identifying             information          of


22   an    individual       associated with Entity                   3.     Who's       Entity       3?


23                  MR.    DIRUZZO:           Your    Honor,    unfortunately,                given       that    it


24   just    came    to me via          email,       the    only way       I'd be       able to       answer


25   that would be          to    look       on my phone,       which       I have          turned off,          and



                                SOUTHERN DISTRICT REPORTERS,                      P.C.
                                                (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page91 of 224
                              A- 137.66


       Case 1:19-cr-00696-PAE                   Document 87           Filed 01/23/20      Page 61 of 90                 61
     KIAHTEMC



 1   I don't       want       to    offend          the    Court.


 2                     THE    COURT:           You're       not    offending        the    Court.           I'm    just


 3   trying --          you're          telling me          there's       been     a switch,          so    I'm


 4   trying       to    figure          out    who    it    was    earlier        and    who    it    is    now.


 5                     MR.    GELFAND:              Your    Honor,       I think        this    may help.           The


 6   government,             by    letter       this       morning,       indicated that              the    entity


 7   referenced          in       Count       Five    is    Mercer,       whatever        the    formal          name


 8   is.


 9                     THE    COURT:           Right.


10                     MR.    GELFAND:              And then       the    entity        referenced          in    Count


11   Six    is    Coney.


12                     THE    COURT:           Count       Six    refers    to     Entity       4.


13                     MR.    GELFAND:              Correct.


14                     THE    COURT:           Spell       Coney.


15                     MR.    GELFAND:              Coney,       C- o- n- e- y.


16                     THE    COURT:          And those           same    counts        appeared       in    the


17   preceding          indictment,             correct?


18                     MR.    GELFAND:              Correct,       your    Honor.


19                     THE    COURT:          Are     you    saying       that     you    were       told    that


20   either       Entity          3 or    4 were          different       than     Mercer       and    Coney,


21   respectively,                earlier?


22                     MR.    GELFAND:              No,    the    entities        were    not    different.


23   What    was       different --             I can --          just    for     the    Court's       benefit,         by


24   email       dated       November          12    of    2019,     government          counsel,


25   Mr.    Gutwillig,             in    an    email       to me,     cc'ing Mr.          DiRuzzo,          stated --



                                   SOUTHERN          DISTRICT        REPORTERS,          P.C.
                                                      (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page92 of 224
                              A-137.67


        Case 1:19-cr-00696-PAE           Document 87            Filed 01/23/20    Page 62 of 90                  62

     KIAHTEMC



 1   I don't      know    if    the    Court's       OK with me          naming the          alleged


 2   victims.


 3                 THE    COURT:        Sorry?


 4                 MR.    GELFAND:           Is    the    Court       OK with    me    naming       the


 5   alleged victims?


 6                 THE    COURT:        Sure.        There       is    a Brady issue          here.


 7                 MR.    GELFAND:           Stating " the            victims    are,       one,    for    Count


 8   Three,      which was       the   prior        enumeration,          Peter       Rebenwurvel,


 9   R e b e n w u r v e 1,                  and    for    Count       Four,    Gina,       G-i-n-a,       Hom,


10   H- o- m,    and    then --


11                 THE    COURT:       Meaning           that    Rebenwurvel          was    associated


12   with Mercer,         and    Hom was          associated with             Coney?


13                 MR.    GELFAND:           Rebenwurvel          actually       related to          how


14   Count      Three    was    charged previously                as    Coney    and    Hom was          Mercer.


15                 THE    COURT:        I'm       confused.


16                 MR.    GELFAND:           Rebenwurvel          is    associated --


17                 THE    COURT:        Sorry,       the       original       Count    Three,       is    that


18   the   current       Count    Five,       or    is    it    the    current --


19                 MR.    GELFAND:           The    original          Count    Three    is    the    current


20   Count      Six.


21                 THE    COURT:        So    the    original          Count    Three --


22                 MR.    BHATIA:        Your       Honor,       if    I might    offer       some


23   clarity?


24                 THE    COURT:        That       would be       great.


25                 MR.    BHATIA:        The       original       Count       Three --       sorry,       the



                               SOUTHERN       DISTRICT          REPORTERS,       P.C.
                                                  (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page93 of 224
                              A- 137.68


          Case 1:19-cr-00696-PAE       Document 87         Filed 01/23/20          Page 63 of 90                  63
     KIAHTEMC



 1   first       superseding Count          Three    is    now Count          Five.        And    for       Count


 2   Three previously and now Count                      Five,    the       corporate       entity          is


 3   Coney Realty.


 4                  THE    COURT:     Count    Three       and Five.           So what defense


 5   counsel       said was wrong earlier                that Mercer          is --


 6                  MR.    BHATIA:     I think they             just    flipped.


 7                  THE    COURT:     I'm    sorry.        You need to             speak up.


 8                  MR.    BHATIA:     Yes,    your       Honor.        It was       incorrect.


 9                  THE    COURT:     Let me       see    if    I've    got    this       right.        I'm


10   going to       ask you,    Mr.    Gelfand,          just    to    listen       closely to what


11   my    colloquy with government                counsel       is.        This   may     clear       things


12   up.     It may be       that    it's    utterly unnecessary to                   involve          me


13   because      there     hasn't    apparently been             a dialogue          with counsel,


14   but    let's    see    if we    can work       this       out.


15                  Count    Five,    government          counsel,          identifies       Entity          3.

16   Who    is   Entity 3?


17                  MR.    BHATIA:     Entity       3 is       Five -- well,          it's       518


18   West    204th LLC,       which    is    operated by --             I say " operated"               in the


19   lay    sense --       associated with          or    operated by          Coney Realty.


20                  THE    COURT:     All    right.        So Count          Five,    Entity       3,       is


21   Coney       in the vernacular,          and    Count       Six,    Entity       4,    is who?


22                  MR.    BHATIA:     It's    Crystal          Real    Estate.           It's    actually


23   18    Mercer    Equity,    but    it's    really          sort    of    operated by Crystal


24   Real    Estate.


25                  THE    COURT:     Is    there    a Mercer          involved?           So that's



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                             (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page94 of 224
                              A- 137.69


          Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20         Page 64 of 90               64
     KIAHTEMC



 1   Mercer    in that       sense?


 2                  MR.    BHATIA:           The    corporate          entity      is    18   Mercer     Equity,


 3   I think,       Inc.    Or    LLC,       and    it's    operated by Crystal                  Real    Estate.


 4                  THE    COURT:        All       right.        What was       the predecessor               count


 5   to the    current       Count       Five?


 6                  MR.    BHATIA:           Count    Three.


 7                  THE    COURT:        What       was    the    predecessor            count    to the


 8   current     Count      Six?


 9                  MR.    BHATIA:           Count    Four.


10                  THE    COURT:        All       right.        So    focusing on the            current


11   Count    Five where          it's       this    518    West       204th LLC operated by


12   Coney,    was    that       the    same       entity that Mr.             Gutwillig         indicated


13   was    the victim of          count --          of    the    earlier       Count         Three?


14                  MR.    BHATIA:           I can    clarify the victim question.                            The


15   corporate       entities          for    the    checks       that      were    drawn were          the


16   same.


17                  THE    COURT:        Right.


18                  MR.    BHATIA:           Previously Coney,                now Coney.


19                  THE    COURT:        Right.


20                  MR.    BHATIA:           Previously,          the       government        had agreed


21   that    the victim of             identity theft,                the    individual,         the person,


22   was    Peter    Rebenwurvel.              The    government             disclosed this            morning


23   in    a letter       providing particulars                   that       the victim -- the


24   victim,     persons         whose means          of    identification have                  been    taken,


25   are    three    individuals:              Peter       Rebenwurvel --               let me make       sure      I



                             SOUTHERN DISTRICT REPORTERS,                           P.C.
                                                   (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page95 of 224
                              A-137.70


       Case 1:19-cr-00696-PAE                   Document 87         Filed 01/23/20       Page 65 of 90                 65

     KIAHTEMC



 1   say    it    right       from my          letter -- Michael                Haas.


 2                     THE    COURT:           Michael,       spell       the    last    name.


 3                     MR.    BHATIA:           H- a- a- s.


 4                     THE    COURT:           Right.


 5                     MR.    BHATIA:           And    Ephraim Nuremberg.                 Actually,          your


 6   Honor,       I now realize                the    source       of    confusion       here.        In    the


 7   indictment,             what       I described          was    correct.           I believe       in    the


 8   bill    of    particulars             today,       we    flipped the             entities.        That's         the


 9   source       of    confusion.


10                     THE    COURT:           The    source       of    confusion       is    that    your


11   letter       today       is    wrong?


12                     MR.    BHATIA:           The    letter       flips       Count    Five    and       Count


13   Six.        We'll       give       them a new       letter.


14                     THE    COURT:           All    right.        Once      you     correct    your


15   letter --


16                     MR.    BHATIA:           That's       right.


17                     THE    COURT: -- will                 there       be    symmetry       between       your


18   disclosures             as    to    the    earlier       Count       Three       and the    current          Count


19   Five?


20                     MR.    BHATIA:           No.


21                     THE    COURT:           What's    changed?


22                     MR.    BHATIA:           Previously the                government       had agreed            with


23   defense       counsel --             the    government             and   defense     counsel          had


24   agreed       to    file       a stipulation             providing          the    particulars.              I


25   think we've             now had       a sense       that       a letter          providing those



                                   SOUTHERN          DISTRICT       REPORTERS,          P.C.
                                                      (212)    805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page96 of 224
                              A-137.71


       Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20       Page 66 of 90                     66
     KIAHTEMC



 1   particulars          is    sufficient.              But previously we                   had agreed that


 2   the victim of             the    identity theft                count    for       Coney was          Peter


 3   Rebenwurvel.


 4                  THE    COURT:           Right.


 5                  MR.    BHATIA:           We    now believe             that    the victims                were


 6   three    individuals.              So the       first          one was       relating to the                first


 7   superseding          indictment,             and as       to    the    second       superseding


 8   indictment,          we're       alleging that             it's       these       three       individuals.


 9                  THE    COURT:           That's       all    fine       and good,          but       the


10   indictment       doesn't          say that.           Count       Five       of    the       superseder          uses


11   singular.        It       says    an    individual             associated with Entity                      3.     Who


12   did the    grand          jury -- what was                the    charge       to the          grand       jury    as


13   to who    that       individual was?                 We    can't       have       a shifting target.


14   That    reflects          a charge       by the       grand       jury.           That's       what       the


15   defendant will             be    tried on.           Who's       that    individual?


16                  MR.    BHATIA:           Your    Honor --


17                  THE    COURT:           Can't    just       say three people                   if    you    say " an


18   individual."


19                  MR.    BHATIA:           I just       want       to tread          lightly,          knowing


20   that    I'm in       the    domain       of    the    grand       jury.


21                  THE    COURT:           But,    look,       sorry,       but       the    grand       jury


22   formulates       the       charges.           The    government          doesn't             add content          to


23   and    change    the       charges.           And    for       better    or worse,             you went          to


24   the    grand    jury       and    said " an         individual."              Who       is    that


25   individual?



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                   (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page97 of 224
                              A-137.72


       Case 1:19-cr-00696-PAE               Document 87        Filed 01/23/20          Page 67 of 90                  67
     KIAHTEMC



 1                  MR.    BHATIA:          May   I have       a moment,             your    Honor?


 2                  THE    COURT:        Yes.


 3                  (Counsel         confer)


 4                  MR.    BHATIA:          Thank you,         your       Honor.


 5                  The    grand       jury was      presented with the                     fact that


 6   individuals          associated with the                 company had not                authorized the


 7   check,    and    signers          on the     account       had not          authorized the             check.


 8                  THE    COURT:        Right.


 9                  MR.    BHATIA:          The   government          has       learned that          the    three


10   signers    on the          account,      the    signers         on    the       two victim accounts,


11   were    the people          identified         in the      particulars                here.


12                  THE    COURT:        Right.         I'm not       stating you don't                   have    a


13   factual    basis.           The    question        is   what was           to    be    presented to the


14   jury here?           It    needs    to track the           indictment             returned by the


15   grand    jury.        So the       question        is   what     is       meant when you             say " an


16   individual"?              Was   that    a somewhat         inexact way of                   saying three


17   individuals?


18                  MR.    BHATIA:          I think       it was      an       inexact way of             saying


19   three    individuals.


20                  THE    COURT:        What     was     presented to the                  grand    jury?        Was


21   the    grand    jury presented with the                    evidence             substantiating that


22   the personal          identification            of      three    individuals                was --


23                  MR.    BHATIA:          My recollection               is    that       the    grand    jury


24   was    not presented with a single                       name.        It was          not presented


25   with a victim.              It was      presented with --



                                SOUTHERN DISTRICT REPORTERS,                          P.C.
                                                  (212)      805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page98 of 224
                              A-137.73


          Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20          Page 68 of 90                  68
     KIAHTEMC



 1                  THE    COURT:          All     three?


 2                  MR.    BHATIA:           It was --          I shouldn't             say    it was       even


 3   presented all          three.           I believe          it was       presented with testimony


 4   that    no    one    associated with the                   company,          as    far    as    the


 5   investigation has               revealed,           authorized the                checks.


 6                  THE    COURT:           Right.        But    that       goes       to the       fraud    counts.


 7   Here    the    issue       is   the personal              identifying             information          of   an


 8   individual.           The       challenge          for    you here          is    that    presumably


 9   there was       something before                   the    grand    jury that             substantiates


10   that    allegation.              It    doesn't       sound as          if    there       was    an    attempt


11   made    to    challenge         the     grand       jury to       any particular                individual.


12   It    sounds    as    if    you're       representing to me                      that    the    grand       jury


13   had a basis          for    concluding that                three       separate          people's


14   personal       identification                information was                used on       the    check that


15   Teman deposited.                 Is    that       correct?


16                  MR.    BHATIA:           The       grand    jury was          not    given       a number         of


17   authorized          signers       on the          account.        So    the       grand    jury was         not


18   presented with             a name       or    two    names    or       three       names.        But    the


19   fact    that,       based on the             investigation,             whoever          the    persons       may


20   be,    person       or persons          may be,          did not       authorize          the    account --


21   or    did not       authorize          the    checks.        So the          grand       jury was       not


22   presented with one                name       or    two names       or       three       names.


23                  THE    COURT:          All     right.        They were presented,                      rather,


24   with the       idea that          the    identifying          information                of people


25   associated with the                   entity was          used?



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                   (212)       805-0300
      Case 21-1920, Document 79, 05/25/2022, 3321481, Page99 of 224
                              A-137.74


          Case 1:19-cr-00696-PAE          Document 87               Filed 01/23/20       Page 69 of 90                    69
     KIAHTEMC



 1                  MR.    BHATIA:        That's          correct.


 2                  THE    COURT:        Not       the    specifics          of    that?


 3                  MR.    BHATIA:        I think that's                   a more       succinct way            of


 4   saying that.


 5                  THE    COURT:        Be    that       as       it may,       there's       no obligation


 6   that    that's       the means       by which you present                         the    case to the


 7   grand    jury.        The    issue       is    suppose          the    jury here,             six of      them


 8   think that          Rebenwurvel's             personal          identifying             information was


 9   used and       six of       them think that                   it's    Hom or       Haas       and    six think


10   it's    Nuremberg,          and there's             no    12    that    agree       on    any one         person.


11   What    do you       do    then?


12                  MR.    BHATIA:        Your       Honor,          we    are    in    tune       to the


13   unanimity       issues       here.        And,       actually,          I think we             are   intending


14   to    submit    an    instruction regarding other parts                                  of    unanimity


15   involved       in    this    case.        Here,          as    I understand             it,    in terms         of


16   the    offense,       the means          of    identification needs                      to    identify


17   people.        So    I believe       as       the --          I believe       there's          not   going to


18   be    a unanimity requirement                   here,          as    long as       the    jury finds            that


19   the means       of    identification were                      capable       of    identifying


20   specific people.


21                  THE    COURT:        Well,       let me          ask you,          just    to make         this


22   easier,     did      all    these    rise       or       fall       together?           I mean,      is    it    the


23   same    check that          uses    all       three people's                names?


24                  MR.    BHATIA:        It's       a check with                sort    of    a squiggle


25   mark,    and that          is --    that's          using the          identification of                  one    of



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                   (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page100 of 224
                              A-137.75


          Case 1:19-cr-00696-PAE             Document 87            Filed 01/23/20       Page 70 of 90              70
     KIAHTEMC



 1   these    three       people.


 2                  THE       COURT:        Here's       the      sentence        in    the    indictment:


 3   "Teman       deposited a check using the personal                                  identifying


 4   information          of    an    individual            associated with Entity 3."                       I


 5   think you're             saying to me            that     that       check,       therefore,       must      have


 6   the personal             identifying             information          of    all    three       of the people


 7   you    are mentioning.                 Is    that      what     you're       saying?


 8                  MR.       BHATIA:        The       check,       yes,       could    identify those


 9   three people,             but    it    does      not     have       the    personal       identification


10   information          of    each person.


11                  THE       COURT:        I'm totally confused.


12                  (Counsel          confer)


13                  MR.       BHATIA:        Your       Honor,       I can maybe provide                some


14   clarity.           Let me take          Count       Five,       for       example.        The    government


15   is    alleging that the                defendant          deposited a check                designed to


16   look    as    if    it    came    from Coney Realty,                      and on that          check   has    the


17   name    of    Coney Realty             at    the    top,       has    the    corporate          entity and


18   then    Coney entity,             and       it   has     the    routing number             associated


19   with a particular                bank       account,         the     account       number,       and   it    has


20   a sign,       a signature,             on    it.       The     government          has    learned that


21   there    are       three    authorized             signers          for    that    Coney Realty


22   account,       and       so the       government's             alleging that             the    defendant


23   used the means             of    identification                of    one    of    those    three people


24   on the       check.


25                  THE       COURT:        I see.          I'm     sorry.        So when you          say he



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                      (212)    805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page101 of 224
                              A-137.76


          Case 1:19-cr-00696-PAE                Document 87               Filed 01/23/20             Page 71 of 90                  71
     KIAHTEMC



 1   deposited a check,                   the    locution             isn't          clear          to me whether             that


 2   means    that       the       personal          identifying                information                is    literally


 3   physically on the                   check       or    it was          used       in       connection with                a


 4   deposit       by    some means             other          than writing                it       on    the    check.        Just


 5   help me with that.                    What       does       he       do?


 6                  MR.       BHATIA:           What       I mean          is    that          by    including the


 7   signature          there,       along with the                   routing number                      and the       name       of


 8   the    account,          the defendant                is    essentially                   seeking to mimic                one


 9   of    those people             to demonstrate,                   as    the       government                believes,


10   fraudulently,                that    he    had       authorization to deposit                               the    checks.


11   So the     signature            is    co-opting the                   means          of    identification                of


12   those    three          people.


13                  THE       COURT:           Let me          get    this       right.              You're       not    saying


14   that    he,    separate             from what             appears          on    the       check,          does


15   something with                someone's          identifying                information.                    He    doesn't


16   hold up       a fake          driver's          license          or    something                like       that.        The


17   entirety of             the    allegation             about          the personally                   identifying


18   information             of    this    individual                is    physically contained on the


19   physical       check          itself,       is       that       correct?


20                  MR.       BHATIA:           That's          right.


21                  THE       COURT:           All    right.              Does       it    have          the    name    of    any


22   of    these people             on that          check       in       any place?


23                  MR.       BHATIA:           The       check does             not.


24                  THE       COURT:           Does       it    have       the       signature             or purported


25   signature          of    any of       those          people          on the          check?



                                   SOUTHERN DISTRICT REPORTERS,                                     P.C.
                                                      (212)          805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page102 of 224
                              A-137.77


          Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20       Page 72 of 90                 72
     KIAHTEMC



 1                     MR.    BHATIA:        It    has    a purported          signature          on that.


 2                     THE    COURT:        To the       extent       it's    legible,          what    does   it


 3   say?


 4                     MR.    BHATIA:        It    doesn't -- the             signature          at    least --      I


 5   don't       think       it    appears       to be    one    of    those    three       people.


 6                     THE    COURT:        All    right.        Is    there    any other             identifying


 7   information -- name,                   rank,       serial    number,       social          security


 8   number,       date       of    birth,       DNA?     Is    there    something          about       addresses


 9   or    something about             any of       those people             that    appears          on the


10   check?


11                     MR.    BHATIA:        No,    your       Honor.


12                     THE    COURT:        So you have          a signature.              If    you read


13   aloud the word                on the    signature,          is    the    signature          the    name   of


14   the    corporate             entity    or    the    name    of    the    individual?


15                     MR.    BHATIA:        I don't       think you          could read aloud the


16   signature.


17                     THE    COURT:        So how does          this    count       get    to the       jury?


18   In    other words,             what's       the means       of    identification             of    another


19   person       here?           I understand that             you're       saying that          he pretends


20   to be       the    corporate          entity or pretends                to be    a representative


21   of    the    corporate          entity,       and that's          all    good and          fine    as   a mean


22   and method of                the wire       and bank       fraud.        Got    you    loud and         clear


23   on that.           But       aggravated       identity theft,             I'm struggling with


24   that    a bit.           Walk me       through that.


25                     MR.    BHATIA:        Your       Honor,    I believe          under       the    statute



                                   SOUTHERN DISTRICT REPORTERS,                      P.C.
                                                   (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page103 of 224
                              A-137.78


          Case 1:19-cr-00696-PAE                   Document 87         Filed 01/23/20          Page 73 of 90               73
     KIAHTEMC



 1   it's    the means             of    identification that                      together --          or    I think


 2   it's    something to the                      effect       of    together          or    in    combination with


 3   can    identify another                   person.              Here,    using the             corporate       account


 4   and the       account          number          and the          name plus          the    signature       could


 5   lead    someone          at    the       bank to          conclude,          for    example,          Peter


 6   Rebenwurvel             must       have       signed this          check.           So we       believe       that


 7   that    is    the       valid basis                for    an    aggravated          identity theft             count.


 8                     THE    COURT:           Whose          identity       is    being misused?              Is    it


 9   Peter's?           Is    it    the       company?              Whose    identity          is    being    stolen


10   here?        Is    it    the       individual             associated with the                   corporate


11   entity       or    is    it    the       corporate             entity?


12                     MR.    BHATIA:              It's       the    authorized          signers       for    that


13   account.


14                     THE    COURT:           Let's          go to the       elements.              Let's    put    aside


15   the " to wit"            clause          for       a moment.


16                     He    knowingly transferred,                         possessed,             and used,


17   according to the                   indictment,             without       lawful          authority a means


18   of    identification                of    another          person.           What means          of


19   identification                are    connoted by Count                   Five?


20                     MR.    BHATIA:              The       signature       is    the --          I believe       that


21   the    signature             taken       in    combination with the                      account number             and


22   the    name       is    the means             of    identification             of       another person.


23                     THE    COURT:           So       any defendant who                forges       a check       on


24   somebody else's                account             is    committing aggravated                   identity


25   theft,       even       if    they don't                present    any evidence/statement                      saying



                                   SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                         (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page104 of 224
                              A-137.79


          Case 1:19-cr-00696-PAE                   Document 87      Filed 01/23/20             Page 74 of 90                     74
     KIAHTEMC



 1   I'm that person?                    It    follows,          right,       just       if    you       sign       as


 2   somebody,          you       are    using a means             of    identification,                      right?


 3                     MR.    BHATIA:              I believe       it's       right,          your       Honor,          that --


 4   check    fraud          is    sort       of    the prototypical                example             of    aggravated


 5   identity theft                when we've             taken    a look          at    the       legislative


 6   history on this                point.           So    for    that    reason,             we    think --


 7                     THE    COURT:           Right,       check       fraud       is       usually --             in the


 8   classic       aggravated                identity theft.              It's          more       than       simply


 9   boldly       going       into a bank             and depositing                it       into       Judge


10   Engelmayer's             account          a check written                out       to    Judge          Judy.        It's


11   more    that       I would present --                   it's       usually the                identification


12   substantiating the                      other    identity that                would be             used,       and


13   that's       usually -- not                   that    that's       the    only way,                but that's


14   usually the             way    in which those                cases       manifest.                 What you're


15   saying       is    the       deposit          into person A's             account             of    a check made


16   out    to person B,                something          like    that       is    in       and    of       itself,


17   without more,                aggravated          identity theft.


18                     I can't          resolve       that       here    and now,             but       it    does       seem to


19   me    this    is    not       so much a Brady issue,                      as       it's       been       explicating,


20   it's    an    issue          of whether          or    not    the    evidence             that          you    are


21   committing to me                   is    really the          only evidence                of       aggravated


22   identity theft,                what's          contained on the                check,          meets          the    legal


23   requirements             for that             count.        I don't       think --             defense          counsel,


24   you've       raised a valid                   issue,    but    I think you've                      mispackaged          it.


25   It's    not       a Brady          issue.        The    government's                explained to me                   now



                                   SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                      (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page105 of 224
                              A- 137.80


       Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20          Page 75 of 90                        75
     KIAHTEMC



 1   that,    in    effect,          whereas       they       said one,             they're       saying three


 2   now because          it    could have             been       any of       those       people who          are


 3   authorized          signers;       and therefore,                the       presentation of                the


 4   check,    in the          government's             theory,       is       a form of          theft       of    any


 5   authorized          signer.        I don't             think    that's          a Brady          issue.        It's


 6   really    a sufficiency                issue       of whether             or    not    the       means    of


 7   commission here             satisfied             aggravated          identity theft.


 8                  I think the             right way to             go here          is    by your          taking          a


 9   close    internal          look    at    this          question.           There's          no value          in    our


10   going to the          jury --          if,    ultimately,             the       conduct          you've


11   described          can't    get    to the          jury,       there's          no point          in    starting


12   there.        So why don't             you dig          into    it    and get me             a letter          by


13   Wednesday that             explains          what       evidence will             be       used to       show the


14   crime    of    aggravated          identity theft                and what             the    law is       as       to


15   whether       or    not    it    can    get       to    a jury.


16                  MR.    BHATIA:           Your       Honor,       we'll put             in    that       letter,          and


17   I'll make          two --       I'll    just       say two things:                    One,       we have


18   conferred          internally within the                      office,          including with our


19   appeals       unit,       about    this       issue.           It's       something that we                   spoke


20   to them about.              Of    course          we'll put          in    the    letter.


21                  The    second       is,       of    course,       the       caveat          that    I have          to


22   make,    which       is    that    our       investigation                continues,             and we'll


23   continue       our    investigation up until                         and through trial.


24                  THE    COURT:           That's          all    fine    and good,             but    you've          got


25   charges       here    right       now.        And       I understand that                   if    you    can



                                SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                   (212)          805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page106 of 224
                              A- 137.81


          Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20       Page 76 of 90                  76
     KIAHTEMC



 1   develop       evidence that                he walked             into the       bank    and presented the


 2   social       security          card       for    Peter       Rebenwurvel,             the    case       looks


 3   different.           But       on the          assumption          that       this    crime       is    over    and


 4   done    and    is    limited -- the                   evidence          is    limited to the             check


 5   itself       on which,          I take          it,    handwriting that                is    not       legible      as


 6   any particular                person's          but    is    treated by the             bank       as    some


 7   authorized          signatory             of    the    corporate             account    holder,          the


 8   question       is    whether             that    alone       is    aggravated          identity --


 9                  MR.       BHATIA:           Understood.


10                  THE       COURT: --              and what we             do with ( a)         the       inability


11   to    argue    that       it's       any particular                person's          identity,          but ( b)


12   even    if    it was          just       one    signatory,             whether       simply the


13   presentation             of    a check,          as    much as          that might          be    bank    fraud


14   and wire       fraud,          is    also       aggravated             identity theft without more?


15   I think       I need          a letter          along those             lines.        Why don't          I give


16   you till Wednesday.


17                  Defense,             if    you want          to respond,          you've          got    till


18   Friday.        When       I meet          with you          on    Tuesday morning,                assuming the


19   government          is    still pursuing that                      count       and    assuming the


20   defense       is    still       arguing that                the    claim is          unsustainable,             I'll


21   hear    from you then.                    I would very rarely dismiss                            a count       before


22   we    started the             trial,       but    the       law does          permit,       where the


23   government          gives what                   acknowledges                to be    a thorough going


24   proffer       of    all       the    evidence,          it       does    give    the    Court          authority


25   to do that.              I'm reluctant                to do       it    other    than       that,       but    if



                                   SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                      (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page107 of 224
                              A- 137.82


          Case 1:19-cr-00696-PAE             Document 87            Filed 01/23/20          Page 77 of 90                  77
     KIAHTEMC



 1   you're    literally committing to me                            that       the    only relevant


 2   evidence       is       going to       be    the       check    itself,          there       is    a basis       on


 3   which the          Court       can    legally make             that    determination.                 So


 4   please,       please          take    a close          look    at    it.


 5                  But,       look,       Mr.    DiRuzzo,          I think you're                the    one    who


 6   raised this             issue.        I don't          think    it's       really a Brady             issue.


 7   You now understand why the                         government          said what             it    said.


 8                  MR.       DIRUZZO:           I do.        But,       obviously,          I don't       have       the


 9   benefit       of what was             said before             the    grand       jury.        I could very


10   well    imagine          if    someone       testified          initially that                it was       Peter


11   Rebenwurvel             and then       now       someone's          testifying that                it's    not


12   Peter    but       it's       Peter    and maybe          other people             but       we're    not


13   entirely       sure,          the    shifting testimony before                         the    grand       jury


14   could very well                be    Brady.


15                  THE       COURT:        Let me          ask the       government          counsel,          without


16   telling me          the       content       of    what    came       before       the    grand       jury,       are


17   you    aware       of    any witness             who    has    changed their             testimony as             to


18   any of    the       events          that we're          talking about             or    their version             of


19   events,       as    opposed to the                government's             understanding of                who the


20   signers       of -- the             eligible       signers          were    that       has    changed?


21                  MR.      BHATIA:         I'll       give,       first,       the    caveat          that    I have


22   to    give.        I wasn't          in the       grand       jury the       first       time.


23                  THE       COURT:        You have          assuredly reviewed the


24   transcript.


25                  MR.      BHATIA:         I have.           I believe          it's       the       former    of



                                   SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                      (212)    805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page108 of 224
                              A- 137.83


          Case 1:19-cr-00696-PAE                Document 87               Filed 01/23/20       Page 78 of 90                  78
     KIAHTEMC



 1   what    you    said --          or    it's       the       latter,          I should          say.     It's       new


 2   evidence       and       continuing             investigation.                    But    we'll       go back       and


 3   confirm that             there's          nothing we                need to disclose                that's       Brady.


 4                  THE       COURT:           If    there was             somebody at             the    bank who


 5   originally          said he          said he's             Peter          Rebenwurvel          and then          later


 6   said the       defendant             said he's             one       of    the    following three                people


 7   or    he's    not    Peter       Rebenwurvel,                   then you're             in potential


 8   Brady- land.             If    instead what                happens          hand    is    the       government          has


 9   developed a more                sophisticated understanding of                                  who the


10   authorized          signatories                are,       it's       not    a Brady       issue.           The


11   government          is    entitled to                refine          its    charges       as    it    understands


12   the    facts.        That's          not       Brady.


13                  The       issue,       though,             is    a different             one    that your


14   question raises                which       is,       is    the       conduct       described          aggravated


15   identity theft?                 I've       never          had occasion to                look       into    it.


16   Perhaps       Mr.    Bhatia          is    right.              It's       certainly not             the paradigm


17   of    the    way we       think       of       the    offense,             but    that's       not    to    say    it's


18   not    the    offense.           So       a letter             is    the way to          smoke       that    out.


19                  Anything          further             about          the    trial    before we return                to


20   the    grand    jury          issue?


21                  MR.       GELFAND:              Trial,          no,    but    one    other pending                letter


22   motion.        We'd       filed a request permitting Mr.                                  Teman to travel                to


23   St.    Louis    where my office                      is    based.


24                  THE       COURT:           Does       the       government          object       to Mr.       Teman's


25   traveling to             St.    Louis          where,          I take       it,    one    of    his    lawyers          is



                                   SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                      (212)          805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page109 of 224
                              A- 137.84


       Case 1:19-cr-00696-PAE            Document 87            Filed 01/23/20          Page 79 of 90              79
     KIAHTEMC



 1   based?


 2                  MR.    BHATIA:       No    objection.


 3                  THE    COURT:       Has    Mr.       Teman been          in       any way out       of


 4   compliance with the               terms       of    his    pretrial          release?


 5                  MR.    BHATIA:       I haven't             spoken with the                Pretrial


 6   Services       officer recently.                   I do understand                from a


 7   representation          from defense               counsel       that       they did -- am          I right


 8   -- that       they did       speak to         the    Pretrial          Services          officer    who had


 9   no objection.


10                  MR.    GELFAND:        Your         Honor,       for    the       record,     I spoke     with


11   the New York pretrial               officer          and with the                Southern District            of


12   Florida pretrial            officer,          both have          expressed no             objection      to


13   that.


14                  THE    COURT:       I'm going to                trust,       as    an   officer     of   the


15   court,       your    representation            of    that.


16                  What    is   the    state       of Mr.          Teman's       travel       documents?


17   Does    he    have --       I mean,      he    doesn't          need a passport              to travel


18   with,    correct,       to travel         to       St.    Louis       with?


19                  MR.    GELFAND:        No,      he    just       as    a Florida driver's


20   license.


21                  THE    COURT:       Who's       got       his    passport?


22                  THE    DEFENDANT:          Your       Honor,          I believe         the   Florida


23   probation       or    court.


24                  THE    COURT:       Pretrial.              Look,       Mr.    Gelfand,        given the


25   government's          consent      and your          representation that pretrial



                             SOUTHERN DISTRICT REPORTERS,                              P.C.
                                               (212)          805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page110 of 224
                              A- 137.85


          Case 1:19-cr-00696-PAE                Document 87         Filed 01/23/20          Page 80 of 90               80
     KIAHTEMC



 1   consents,          I'm fine with                it,    but    I don't want             this   to be     an


 2   occasion          for   him to           get    his    hands    on    a passport          that was       taken


 3   away as       part       of    the       bail package.              I assume       he,    like the       rest


 4   of    us,    can travel             domestically without                  a passport.


 5                     MR.    GELFAND:              Yes,    your    Honor.        He    wouldn't       travel          the


 6   same way he             traveled up here                from Florida             for    court.


 7                     THE    COURT:           In that       case,       I will       authorize       it.     Please


 8   get me       an    agreed order                today.        I'm out      next     week.       Get me        an


 9   agreed       order      today.            It    doesn't       need to be          agreed.        It    can    be


10   from the          defense          along the          lines    that       I described.           I'll    be


11   happy to          authorize          it.


12                     MR.    GELFAND:              Thank    you.


13                     THE    COURT:          Very good.            Anything          further      besides        the


14   grand       jury matter?


15                     MR.   BHATIA:            Nothing,          your    Honor.


16                     THE    COURT:          All     right.        Let me       then briefly take                up


17   that    last matter.


18                     All   right.            I have       this    morning       spoken with Judge


19   Kevin       Castel.           He    is    the    Part    1 judge,         and --


20                     MR.    GELFAND:              Your    Honor,       I'm    sorry to       interrupt          you.


21   I just       wanted to note                for    the    record,          just    so    I'm on the       right


22   side    of where          I need to be,                obviously,          I represent         Mr.     Teman


23   admitted pro hac vice.                          I am not       entered on          the    grand       jury


24   matter,       and       I wanted to raise                that with the             Court.        I'm not


25   sure    that --



                                   SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                      (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page111 of 224
                              A- 137.86


       Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20       Page 81 of 90               81
     KIAHTEMC



 1                  THE    COURT:        Sorry.        Who represents             the --       it's


 2   Mr.    DiRuzzo?


 3                 MR.     DIRUZZO:        Correct,          your    Honor.


 4                  THE    COURT:        Given the          highly general             statement       I'm


 5   about    to make,       I don't       think       there's       any problem with your


 6   presence.


 7                 MR.     GELFAND:        OK.


 8                  THE    COURT:        But    thank you          for   your     candor       about    that.


 9                 MR.     GELFAND:        Thank       you.


10                  THE    COURT:        I've    spoken with Judge                Castel.        He    is    the


11   judge    sitting       in Part       1.     He    is    the    judge       to which,       in the


12   first    instance,       grand       jury matters             are   properly        addressed.           He


13   has    referred the matter                to me    in    an    order       that    assigns       the


14   grand    jury dispute          to me,       given       its    obvious       connection to this


15   current proceeding,             will       issue       today.        So,    briefly,       I have


16   received       from Judge       Castel       this       morning the          defense petition             to


17   quash three          grand    jury    subpoenas          dated       December       18    directed       at


18   three    entities       associated          or    said to be          associated with


19   Mr.    Teman,    and    I have       received on Wednesday night                         from the


20   government       as,    I guess,          a courtesy copy             its    opposition.           I also


21   received,       I guess,       as    a courtesy copy as                well,       an    ex parte


22   letter       from the    government          addressing these                matters.


23                  I will    note       that    I think       the       letter was          actually


24   addressed to me          as    the    trial       judge       in the       case,    even though


25   this    is   a grand     jury matter.              Until       I spoke       to    Judge    Castel



                             SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page112 of 224
                              A-137.87


          Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20          Page 82 of 90                  82
     KIAHTEMC



 1   this    morning,          this    was    not my matter.                 You really have                to be


 2   faithful       about       addressing these                things       to the       judge responsible


 3   for    them,      Judge     Castel.


 4                  That       said,    there       was    ample       good reason             for    it    to be


 5   transferred to me.                 The    issues       that       are    litigated by the


 6   defense,       in particular,             involve          this    case       insofar       as    the


 7   defense      is     claiming that          the       grand    jury       subpoena          either       was


 8   intended to          or    could    function          as    a way       of    getting trial


 9   evidence.           So    it's    quite proper             that    it winds          up with me,            but


10   as    a formal       matter,       in the       initial --          in the          first       instance,          it


11   was    for   the     Part       1 judge.


12                  In    any event,          now that          the matter          is    in my court,                I've


13   reviewed these materials.                       I will       state       for    the       record that            the


14   government's             ex parte letter             was    appropriately             submitted             ex


15   parte.       It     concerns       core    grand       jury matters             as    to which          grand


16   jury    secrecy applies.                 Mr.    Teman       and these          companies          have


17   absolutely no right                to    any notice          of    the matters             that       are


18   reflected         in that        letter.


19                  Here's       how    I intend to proceed.                       I'm going to             give      the


20   defense      until        Friday,       January       17,    to respond to the


21   government's             public    submission,             that    is    to    say,       the non- ex


22   parte    submission.              I'm not       going to          invite       argument          on these


23   matters      at     this    time,       and that's          for    a couple          of    reasons.


24                  First       of    all,    I haven't          adequately          studied the             issues


25   presented.           I just       spoke with Judge                Castel       this       morning       and



                                SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page113 of 224
                              A- 137.88


          Case 1:19-cr-00696-PAE                  Document 87         Filed 01/23/20          Page 83 of 90                     83
     KIAHTEMC



 1   have    arranged the                  reassignment             to myself with his                   consent,             and


 2   I am interested                  in    getting Mr.             Teman's         reply before           I do          so.


 3                    Second of             all,       the purpose             of   this     conference             is    the


 4   upcoming trial,                  not    a separate             grand       jury proceeding.                    So    I'm


 5   not    inviting argument                     or    discussion today on the                         defense


 6   application            to    quash the             subpoena.


 7                    For    avoidance             of    doubt,       I note          that Mr.          Teman       is


 8   arguing really two things.                               One    is    there's         a Fifth Amendment


 9   privilege          that      protects             against       the production                that's       requested


10   here.        Second,         he's       arguing that             the       grand      jury       subpoena           is


11   being used by the                     government          predominantly               for     an    improper


12   purpose,         that       is    to    say,       as    a means          of    gaining       evidence          for       use


13   in the       upcoming trial.                      Now,    the    government             properly notes                   that


14   at    the    time      the       subpoenas          were       issued on          December          18,    the       grand


15   jury had not            yet been             asked to return                   and hadn't          returned the


16   S2    superseding            indictment.                 The    accusation that                  the defense


17   makes       is   a bit       out       of   time        in the       sense       that    at      the time           the


18   subpoena was            returned,             we    know for          a fact       that       the    government


19   was    in    the    superseding process.                         So there was               an     open    grand


20   jury matter            relating to this                   case,       putting aside                whatever          else


21   the    grand       jury might               or might       not       be    investigating.                 So    there's


22   assuredly at            the time             a valid grand                jury purpose             for the


23   subpoena.


24                    Even       if    I need to             say this,          the    date,       December          18,       on


25   which the          subpoenas            were       issued,       called          into    significant



                                  SOUTHERN DISTRICT REPORTERS,                               P.C.
                                                        (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page114 of 224
                              A- 137.89


          Case 1:19-cr-00696-PAE                   Document 87         Filed 01/23/20             Page 84 of 90                  84
     KIAHTEMC



 1   question whether                   it was       at    all    realistic that                   there would be                a


 2   production             in response             that would             come       in before          the date          the


 3   government             had to       get       to the       grand       jury to          supersede          as    it       had


 4   promised to             in    this       case.        Be    that       as    it may,          there was          an       open


 5   grand       jury proceeding.


 6                     At    this       point,       however,          the       fact       for    all    of    us    is       that


 7   the    grand       jury has             returned       its       superseding                indictment.              It    did


 8   so    on    January          3,    and    so whatever             else       the       grand       jury may or may


 9   not    be       investigating             as    to the       charges             that       Mr.    Teman will             face


10   in the          trial    beginning January                   21,       those       charges          are    set.           They


11   may be          reduced       if    there's          a basis          for    a voluntary dismissal                         or


12   dismissal          by the          Court       of    some    charge,             but    there's       not       going to


13   be    an    expansion.              Those       charges          are    set.           In    other words,             there


14   won't       be    any    further          superseders             prior          to the       date    of       trial       as


15   to what Mr.             Teman       is    being tried on beginning January                                     21.


16                     So Mr.          Teman's       concern          at    this       point       is    that whatever


17   the    government's                intentions          had been             as    of    December          18    when       it


18   had an          ongoing       grand       jury proceeding relating to                               this       trial,       to


19   the    extent          that       the    government might                   be pursuing             compliance


20   with a subpoena                   so that       they       could be -- the                   return       could be


21   used       in    connection with this                      case,       that purpose                would not          be


22   proper          because       the       indictment          is    already          in place          and       can't       be


23   superseded.


24                     So    here's          the    easy way to resolve                      this       issue.        My


25   intention          is    going to be                to resolve          the       grand       jury privilege



                                   SOUTHERN DISTRICT REPORTERS,                                  P.C.
                                                         (212)    805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page115 of 224
                              A- 137.90


          Case 1:19-cr-00696-PAE            Document 87            Filed 01/23/20          Page 85 of 90               85
     KIAHTEMC



 1   dispute       shortly after            the    completion             of    the    trial.        That way,


 2   by definition,             that will         be    in       a few    short weeks.              That    will


 3   moot    any possible          claim that               the    grand       jury    subpoena,          even    if


 4   issued with pure purposes,                        is    at    this    point       being pursued             for


 5   the purpose          of    bolstering the               government's             trial    proof       in    an


 6   already       indicted case.              I will            resolve       the    issue    promptly after


 7   the    trial    is    resolved,         assuming that                there       is    a verdict       as


 8   opposed to       a hung       jury.          There          can't    be    any    claim at that point


 9   that    the    government's            insistence             on    continued          compliance with            a


10   grand    jury    subpoena         is    aimed          at    bolstering          its    trial proof.


11   That's    the    clean and          easy way to resolve                     the       issue    here.


12                  Any objection to               that?


13                  MR.    DIRUZZO:          No,       your       Honor.


14                  MR.    BHATIA:          No,    your          Honor.


15                  THE    COURT:        All      right.           So we'll          go that       route.


16                  Anything       further         from anyone?


17                  MR.    GELFAND:          Just       two       quick    questions,          your       Honor.


18   One,    does    the       Court   have       a preference             as    to whatever numbering


19   convention the             defense      uses       for       exhibits?           I know       some    courts


20   do.


21                  THE    COURT:        Sequential would be                     great.


22                  MR.    GELFAND:          A,    B,       doesn't make             a difference?


23                  THE    COURT:        Prime         numbers.           Right,       you    can use       letters


24   or    numbers,       no.     But,      look,       I would ask you,                   to the extent


25   there    are    defense       exhibits            that       are    offered during the                course



                                SOUTHERN DISTRICT REPORTERS,                           P.C.
                                                  (212)          805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page116 of 224
                              A- 137.91


          Case 1:19-cr-00696-PAE          Document 87        Filed 01/23/20        Page 86 of 90                  86
     KIAHTEMC



 1   of    the    trial,    make    sure    that      you've --        I expect          the


 2   government's          daily    log of       what's      been received will                 include


 3   defense       exhibits.        I'm looking          for    a one- stop         shop.        You    should


 4   look    at    that    to make    sure       that    they're       accurately tabulating


 5   any defense          exhibits    that       have    been received.


 6                  MR.    GELFAND:        Absolutely.           Just       one    other       quick


 7   housekeeping question.                 It    sounds       like,       based on       the


 8   government's          representation,            there's       virtually no           chance       that


 9   if we       have   any defense witnesses,                 that    they're       going to          have    to


10   be    here    before    Thursday.           Is   that     fair?        I don't       want    to --       if


11   I don't       need to,       I don't want          to   inconvenience           anyone more            than


12   I have       to by telling them --


13                  THE    COURT:     Mr.       Bhatia,      what     is    the    earliest


14   conceivable          date   on which the           government          could rest?


15                  MR.    BHATIA:        Your    Honor,       I think,       of    course,       we    always


16   give    a conservative          estimate          for what we          think will be             the


17   trial,       but   on the     earliest       that we       could       conceivably close,                I


18   believe       it's    probably       sometime Wednesday.                 Then,       of    course,


19   that    depends       on the    length of          cross    and how the             evidence       comes


20   in,    but    it   could be     sometime         Wednesday.


21                  THE    COURT:     There       you have       it.


22                  MR.    GELFAND:        We    can work with that.


23                  THE    COURT:         Look,       I appreciate          that    the witnesses             in


24   question may be             coming    from other          states,       or maybe          not?


25                  MR.    GELFAND:        I don't       believe       so,    your       Honor.



                             SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                (212)    805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page117 of 224
                              A- 137.92


       Case 1:19-cr-00696-PAE                Document 87            Filed 01/23/20       Page 87 of 90                     87
     KIAHTEMC



 1                  THE       COURT:        Well,       then --


 2                  MR.       GELFAND:        We'll       make       it work.


 3                  THE       COURT:        The    legal principle                of    no    big deal


 4   probably applies                here,    right?           If    it's    in the          same    state,       you


 5   can take       stock       at    the    end    of    the       day Wednesday             of    how things


 6   are    going.        I'm happy to             ask Mr.          Bhatia,       at    your       request,


 7   whether       at    that point          it's       clear       that    the    government will                fill


 8   the    day on Wednesday.                 But       if,    in    fact,    there's          a scenario


 9   under which the             government's             going to rest                and there's          enough


10   time    to have          the usual       Rule       29    colloquy and then                   you might          be


11   on the       clock,       I think you will                need to       have       that       person    there.


12   I really am          serious       about       using all          of    our       time.


13                  MR.       GELFAND:        No problem,             your    Honor.           Thank you.


14                  THE       COURT:        Very good.              Yes.


15                  MR.       DIRUZZO:        Judge,          my experience             trying       cases,       I


16   find that          judges       kind of       have       three    different             buckets       for


17   openings       for       exhibits.           Some    judges       will       say    if    it's    not


18   admitted,          you    can't publish             it,    you    can't       refer       to    it,    you


19   can't       show it       to the       jury    in    opening.           You       can    refer to       it       in


20   the    abstract.           There       are    other       judges,       if    everyone          agrees       it's


21   coming       in,    you    can refer          to    it,    maybe put          up    on    the ELMO          in


22   opening.           I just want          to    get    your       take    because          I don't want             to


23   get    an   objection.


24                  THE       COURT:        I'm not       going to          answer       an    abstract


25   question.           I've    had the          occasional          civil       case where          it's       clear



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                                   (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page118 of 224
                              A- 137.93


          Case 1:19-cr-00696-PAE                Document 87      Filed 01/23/20         Page 88 of 90                  88
     KIAHTEMC



 1   that    the       copyright          infringing video's                coming      in,    and it's       an


 2   incoherent          opening without                it.     This       is   not    that    case.


 3                     What    do you       have       in mind?


 4                     MR.    DIRUZZO:           Like    the    contracts,            in particular.


 5                     THE    COURT:        The    government?


 6                     MR.    BHATIA:           Your    Honor,       I think      it might       be    helpful


 7   for    us    to    confer with the                defense       on this.          Right    now    I'm not


 8   sure what          contracts          in particular             they're      referencing.              I'm not


 9   really       aware       of    any    contracts,          but    I don't         know what       contracts


10   in particular,                so    it's    hard    for    us    to    answer      that    question.


11                     THE    COURT:        Let me       ask the       question.          Mr.    DiRuzzo,          I


12   can't       remember          a criminal          case    in which,         other    than    something


13   like    a map,          I've       allowed    counsel       to use         exhibits       during the


14   opening.           It's       just    a little       too    fraught         because       we don't       know,


15   in    a criminal          case,       what's       going to       come      in    and what's       not.


16                     MR.    DIRUZZO:           I understand,             Judge.


17                     THE    COURT:        So absent          explicit         authorization          of   the


18   Court,       you    are       not    to use       exhibits       in the      opening       statement.


19                     MR.    DIRUZZO:           OK.


20                     THE    COURT:        That's       easier.           If   you    confer with the


21   government          and       everyone       agrees       that    something's            clearly       coming


22   in,    I will       reconsider,             but    even then,          unless      I've    affirmatively


23   authorized          it,       no exhibits          in the       opening,         and you    should


24   prepare       accordingly.


25                     MR.    DIRUZZO:           OK.     Thanks,       Judge.



                                   SOUTHERN DISTRICT REPORTERS,                        P.C.
                                                   (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page119 of 224
                              A- 137.94


          Case 1:19-cr-00696-PAE             Document 87         Filed 01/23/20    Page 89 of 90                  89
     KIAHTEMC



 1                     THE    COURT:        Anything       further       from anyone?


 2                     MR.    BHATIA:        Nothing,       your    Honor.


 3                     MR.    GELFAND:        Can we       just    confer with Mr.             Teman       for    a


 4   moment?


 5                     (Counsel       confer)


 6                     MR.    GELFAND:        We    have    nothing       further,       your       Honor.


 7   Thank you.


 8                     THE    COURT:        All    right.        Before we       adjourn,          I want    to


 9   just    take       a moment       and    compliment          and thank       everyone          for    the


10   level       of    attention to detail                that    went    into    all    of    the motions


11   that preceded the                conference.           That    helps    me.        As    a result       of


12   your    raising those             issues       early,       you've    come    out       of this


13   conference with a pretty good                         sense    of    what    the    ground rules             at


14   trial will          be    and what's          in    and what's       out.     Keep doing that.


15   Although          I will    be    away teaching next week,                   I will       be    getting


16   things       from chambers.              If    there's       some    other    dispute that


17   arises,          to the    extent       I can helpfully resolve                it       beforehand          or


18   at    least       answer    it    on    Tuesday morning,             I'm happy to do             so,    but


19   we    all    benefit       by    clarity       of    ground rules,          so keep       it    up.


20   That's       very valuable             to me.


21                     Government,          with respect          to Counts       Five       and    Six,    I'm


22   not    telling you what                to do.        You'll make       your    own       judgment


23   about whether             or not       the    law permits       you to       get    to    a jury on


24   the    theory of          aggravated          identity theft          that    you       have    here.        I


25   would urge          the    government          to    reflect    on what       that       theory,       those



                                SOUTHERN DISTRICT REPORTERS,                      P.C.
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     Case 21-1920, Document 79, 05/25/2022, 3321481, Page120 of 224
                              A- 137.95


       Case 1:19-cr-00696-PAE          Document 87        Filed 01/23/20       Page 90 of 90                 90
     KIAHTEMC



 1   counts,    add to       the    four preceding         counts.        In    other words,            if


 2   the    theory    is    a lack    of    authorization,         it's    not       obvious      to me


 3   that    there's       a scenario under which Counts                  Five       or    Six come      out


 4   in your    favor       and Counts       One   through Four       do not.              I could be


 5   wrong about          that.     Maybe    I'm missing         something,          but you      ought


 6   to be    having a thoughtful             conversation whether                  it    adds   more


 7   heat    than    light    to    add on    to   those    counts    if       there       aren't more


 8   facts    than the       ones    you have      proffered to me             in    support      of


 9   those    claims.        Your    choice.       Just    saying.


10                  MR.    BHATIA:     Thank you,         your    Honor.


11                  THE    COURT:     All    right.       Thank    you.        We    stand


12   adjourned.


13                  (Adjourned)


14


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                                             (212)    805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page121 of 224
                              A- 137.96


         Case 1:19-cr-00696-PAE        Document 79         Filed 01/14/20          Page 1of 1
                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District cfNew York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew's Plaza
                                                    New York New York 10007



                                                    January 14, 2020

BY CM/ECF
The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    United States v. Ari Teman,
              S2 19 Cr. 696 (PAE)

Dear Judge Engelmayer:

       The Government writes to inform the Court that it has elected not to proceed at trial on
Counts Five and Six contained in the Second Superseding Indictment, returned January 3, 2020
(ECF No. 55).

                                                    Respectfully submitted,

                                                    GEOFFREY S. BERMAN
                                                    United States Attorney for the
                                                    Southern District of New York



                                              By:     /s/
                                                    Kedar S. Bhatia
                                                    Assistant United States Attorneys
                                                    (212) 637-2465

cc: Justin Gelfand, Esq.
    Joseph DiRuzzo, Esq.
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page122 of 224
                                A-138



     KILVTEM1      corrected



 1   UNITED    STATES        DISTRICT     COURT
     SOUTHERN DISTRICT OF NEW YORK
 2                                                   x


 3   UNITED    STATES        OF AMERICA,


 4                      V.                                         19   CR 696     (PAE)


 5   ARI   TEMAN,


 6                            Defendant.                           JURY TRIAL


 7                                                   x


 8                                                                 New York,       N.Y.
                                                                   January       21,   2020
 9                                                                 9:00    a.m.


10
     Before:
11
                                    HON.    PAUL A.      ENGELMAYER,
12
                                                                   District       Judge
13


14                                           APPEARANCES


15
     GEOFFREY      S.    BERMAN,
16           United      States     Attorney      for the
             Southern        District     of New York
17   KEDAR    S.   BHATIA
     EDWARD A.      IMPERATORE
18           Assistant        United      States Attorneys


19   JOSEPH A.      DIRUZZO,        III
     JUSTIN GELFAND
20           Attorneys        for   Defendant


21   ALSO PRESENT:            DANIEL ALESSANDRINO,          NYPD
                             WILLIAM MAGLIOCCO,           Paralegal,       USAO
22


23


24


25



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     Case 21-1920, Document 79, 05/25/2022, 3321481, Page123 of 224
                                A-139


                                                                                                         2
     KILVTEMl    corrected



 1               (Case         called)


 2               MR.      BHATIA:        Good morning,           your Honor.


 3               Kedar         Bhatia    and Edward          Imperatore,        for the United


 4   States.


 5               We're         joined    at    counsel       table    by    Detective       Daniel


 6   Alessandrino         of    the New York          Police     Department,          and Paralegal


 7   Specialist William Magliocco                     of   the   U.S.      Attorney's       Office.


 8               THE      COURT:        All    right.        Very    good.


 9               Good morning Mr.                  Bhatia;    good morning,           Mr.   Imperatore;


10   good morning,         Mr.    Magliocco;          and good morning,             Detective


11   Alessandrino.


12               Did I get            everyone's       pronunciation          correct?


13               Very good.


14               And for the            defense.


15               MR.      GELFAND:           Good morning,          your    Honor.


16               Joseph DiRuzzo               and Justin Gelfand on behalf                    of Mr.


17   Teman,    who   is    on bond and present                in the       courtroom.


18               THE      COURT:        All    right.        Very good.


19               Good morning,               Mr.    DiRuzzo;     good morning,          Mr.    Gelfand;


20   and good morning to               you,    Mr.    Teman.


21               You may         all    be    seated.


22               All      right.        I have       a number       of matters        to take up


23   before we have            jury    selection this morning.                  You    should know


24   that   while    I had anticipated that                   we might       have     a delay in       jury


25   selection because            another          case,   a large      case,    was    going to be



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     Case 21-1920, Document 79, 05/25/2022, 3321481, Page124 of 224
                                A-140


                                                                                                          3
     KILVTEMl       corrected



 1   picking a jury today,                due to reasons           specific to that          case,

 2   that    case apparently is               not    going forward today.             So my

 3   expectation          is   that we     are batting first,              if you will,       in terms

 4   of what the          jury clerk will            do.


 5                  So    it will    be    a little while.               The    jurors have to       show

 6   up;    they need to be          inculcated in the process                   of being a juror.

 7                  But    once they       are ready to dispense                 jurors to    a court,

 8   I think we come            first.        So hopefully we'll be making productive

 9   use    of time today.

10                  All    right.       There       are    quite   a number of things          to take

11   up this morning.             And     I have      a bench ruling which will               address

12   both the proposed instructions                        that you gave me on the            check

13   stub and the RCC issues;                  and will       also resolve what            are now two

14   additional,          effectively,         sets       of motions      in    limine that    I have


15   had letter briefed over the                     course of the week.              I then have a

16   number    of    other      issues     I want to raise with you.

17                  Before      I embark       on the bench ruling,               let me    just   take

18   stock with counsel             if there's            anything that         I need to be

19   attentive to today.                Any    issue you want            to raise?

20                  (Counsel      conferred)

21                  MR.    BHATIA:        Your Honor,         you may have         noticed in the

22   briefing on the motion to                  quash there         is    reference to a

23   subpoena to the defendant --                     if- as- or- when         subpoena to the

24   defendant.           Previously we have --

25                  THE    COURT:       This    is    a motion to quash the grand                  jury



                               SOUTHERN DISTRICT REPORTERS,                    P.C.
                                         (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page125 of 224
                                A-141


                                                                                                        4
     KILVTEMI      corrected



 1   subpoena?

 2                 MR.      BHATIA:     That's       right.


 3                 THE      COURT:     I'm ignoring that             until      after the trial.

 4                 MR.      BHATIA:     So what       I wanted to         say    is   I wanted to --


 5   with leave of the              Court,    I'd like to give the defendant the

 6   if- as- or- when         subpoena that we were               intending to        serve    on him

 7   previously.

 8                 THE      COURT:     With respect          to this      trial.

 9                 MR.      BHATIA:     With respect to this trial.

10                 THE      COURT:     You're welcome to do               so,    of   course.

11                 And to be         clear,    defense,       while the grand           jury

12   subpoena      is       something I will         reserve resolution on until                 after

13   the trial,         so that there's            no doubt,       the   if- and- and- when

14   subpoena,         if   I've    got that right,          is    a separate beast.            That's


15   not being suspended.               The    obligations that            attach to a

16   defendant's production of documents,                          when and if he testifies,

17   are not      suspended merely because there's                       a separate grand jury

18   controversy afoot.

19                 So take         a look    at that    subpoena.          I don't know whether

20   or not      there are         any issues       I need to deal with;              but understand

21   that   it    is    a completely         separate    issue       from the grand           jury

22   matter that's been tabled.

23                 MR.      GELFAND:        Your    Honor,    we    appreciate that.

24                 We do       anticipate that         there are         completely      separate

25   issues,      in particular regarding the                     nature of the        subpoena and



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     Case 21-1920, Document 79, 05/25/2022, 3321481, Page126 of 224
                                A-142


                                                                                                   5
     KILVTEMl    corrected



 1   what   it requires       of Mr.       Teman,       the defendant       in this       case.

 2               With the permission of the                  Court,       we'll do       our best by


 3   the    end of today -- obviously not                  the    court    day,    but by

 4   midnight    tonight -- to            file    anything that we believe is


 5   appropriate.       But    I just wanted to raise that with the Court.

 6               THE   COURT:        That's       fine.     I'm not going to resolve

 7   anything without hearing your response.                         If you can get me

 8   something tonight,            that would be great.

 9               I will    need a copy,            of    course,    of the       subpoena that

10   was    just hand- delivered by the AUSA to the defense.                              So why

11   don't you    attach      it    to your       letter.

12               MR.   GELFAND:           Yes,    your Honor.        Thank you.

13               THE   COURT:       All right.            Very good.

14               Anything else to raise?

15               MR.   BHATIA:        Yes,       your Honor.

16               Just regarding that               subpoena,       we'll provide a copy of

17   it to the Court today.

18               And in addition,            I wanted to          just    note    for the record

19   that we    sent   it electronically to defense                      counsel    on January

20   12th to ask       if they would accept               service.        We didn't hear

21   anything back.        And then we            saw on our -- their motion to quash

22   on Friday.

23               THE   COURT:       All right.            Look,    defense,       just    so that we

24   don't have any delays,               while    I appreciate that             there may be

25   colorable    objections         to    aspects       of the    subpoena,       maybe the



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                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page127 of 224
                                A-143


                                                                                                  6
     KILVTEMI     corrected



 1   whole thing,       be prepared,        nevertheless,      to produce       in response

 2   to   it,   so that    if   I disagree with whatever arguments                you are

 3   going to be making,           we don't    have   a situation where we             are

 4   then -- only then engaged in document                   collection.        Okay?


 5               MR.    GELFAND:      Yes,    your Honor.

 6                THE   COURT:      All right.

 7               Anything else to raise?

 8               MR.    BHATIA:      Nothing else       from the      government.

 9               MR.    GELFAND:      Not    for the defense,         your Honor.

10                THE   COURT:      All   right.

11                Let me    just    quickly take      care    of    a few discrete things

12   before getting into the bench decision.

13               First     of all,    I just want to make            sure,    I believe we

14   covered this       at a prior        conference,    but the defense         is    not

15   making an     advice of       counsel    defense    in this      case;    correct?

16   There's    been no notice        of that      and I haven't       seen anything to

17   that   effect.

18                (Counsel      conferred)

19               MR.    DiRUZZO:      Your Honor,       we   are.    And although --

20                THE   COURT:      When did you give         notice of that?

21               MR.    DiRUZZO:      I don't      believe that Rule          12.1,    2,    or   3

22   requires     advanced notice of          an   advice of       counsel    defense.

23                THE   COURT:      Tell me what      the    advice of       counsel    defense

24   consists     of;   in other words,        who and what.          I want to make          sure

25   that   there's --      I read through the government               exhibit binder.



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     Case 21-1920, Document 79, 05/25/2022, 3321481, Page128 of 224
                                A-144


                                                                                                      7
     KILVTEMI          corrected



 1   There are a lot of documents                        where Mr.       Teman has    threatened

 2   lawsuits          and the    like.       I didn't       see       any reference to counsel.


 3   I wasn't          aware that there was               an advice of         counsel defense

 4   here.        Go    ahead,    tell me      about       it.


 5                     MR.    DiRUZZO:       Your Honor,          in the documents        the

 6   government has produced in discovery,                              there's been emails        from

 7   a Mr.       Ariel Reinitz,          who works         for the       law firm -- is     a partner

 8   of the       law firm of FisherBroyles.                      Mr.    Reinitz   is Mr.   Teman's

 9   attorney.           And Mr.       Reinitz      is    and has been intimately involved

10   with,       among other things,               the    collection efforts           of GateGuard's

11   to GateGuard's             customers,         including some of the              customers    that

12   are    at    issue in this          case.

13                     Does    that    answer your Honor's               question?

14                     THE    COURT:     And did you give notice to the government


15   that    there was          a potential advice               of    counsel defense here?

16                     MR.    DiRUZZO:       No,    your Honor.           We didn't believe the

17   rules       contemplate that.             We believe that             constitutionally we

18   are not       required to do            so.

19                     THE    COURT:     All right.

20                     And it's       your   expectation that Mr. -- give me the

21   spelling of that person's                     name?

22                     MR.    DiRUZZO:       R E I N I T Z.

23                     THE    COURT:     And is      it    your       expectation that he may be

24   called as          a witness       on the defense            case?

25                     MR.    GELFAND:       Yes,    your Honor.          We   anticipate       calling



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                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page129 of 224
                                A-145


                                                                                                      8
     KILVTEMI    corrected



 1   him as    a witness.        I would also          note that       he was      included on

 2   the    joint proposed witness             list    for the voir dire that was

 3   submitted by the parties.

 4               THE    COURT:     Okay.        Government?


 5               (Counsel       conferred)

 6               MR.    BHATIA:        Your Honor,          we haven't       received any

 7   notice    of an advice       of    counsel defense.              I'll    also note that          I

 8   don't believe there's             any    joint witness          list    in this    case.       We

 9   submitted a list          of the names       and entities that might                   come up

10   during the       course    of trial.        So we       certainly haven't had notice

11   of    calling an attorney as             a defendant -- as             a witness.

12               THE    COURT:     Was       the defense obligated to do                so?

13               (Counsel       conferred)

14               MR.    BHATIA:        Your Honor,          as    an affirmative defense,             we


15   do believe they are required to do                      so and they haven't provided

16   any notice of it.           In addition,          we've received Rule             16

17   discovery,       but we haven't          received any discovery               involving

18   attorney- client      communications             between Mr.       Teman and

19   Mr.   Reinitz.

20               THE    COURT:     All right.

21               Look,    obviously this          is    something that requires                  letter

22   briefing;    so    I would welcome a letter tonight                      from the

23   government with its views                about the          advice of    counsel defense:

24               A,    whether    or    not there was            required notice;           B,   what,

25   if any,    discovery at       this       stage    is    required of the defense;               C,



                          SOUTHERN DISTRICT REPORTERS,                      P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page130 of 224
                                A-146


                                                                                                            9
     KILVTEMI       corrected



 1   assuming that the witness                is    to go forward,             what,   if   any,

 2   discovery would later be provided.

 3                  I don't think       I saw,       defense,       in your proposed jury

 4   charge    an instruction on the                advice    of    counsel       defense.


 5                  Was    there one?

 6                  MR.    GELFAND:     There wasn't          one.

 7                  THE    COURT:     Why was       there not       one?

 8                  MR.    GELFAND:     Because when the             jury       instructions       were

 9   due,    we were,       candidly,       still receiving discovery from the

10   government.           Within the past week,             your Honor,          we received

11   5,000    new pages         from the government,           and we were             still making

12   strategic decisions.

13                  THE    COURT:     I appreciate that.

14                  But    as   you well know,        when you submit proposed


15   charges,       you are      supposed to be        inclusive,          not    exclusive.           It

16   looks    like that's          an act    of hiding the ball,                when apparently

17   you were       considering it          all    along and didn't             include it       in the

18   proposed       jury    charges.

19                  MR.    GELFAND:     Your Honor,          our    intention          certainly

20   wasn't    to hide the ball.


21                  The other thing          I would note,          and    I would point the

22   Court's    attention to          a Second Circuit             case    called Scully,          which

23   clearly and accurately             states that          advice       of    counsel     is   not    an

24   affirmative defense             in the       criminal    context;          it's    a way to

25   defeat    or    otherwise       challenge the       mens rea.


                                SOUTHERN DISTRICT REPORTERS,                   P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page131 of 224
                                A-147


                                                                                                         10
     KILVTEMI    corrected



 1               THE    COURT:       I understand that.                And I didn't take

 2   Mr.    Bhatia's    characterization as              an affirmative defense as


 3   changing that          fundamental principle.               The    issue      is    always

 4   whether or not          the government        can establish beyond a reasonable


 5   doubt the mens          rea requirement        of the       statute.          That's    not the

 6   point.

 7               The issue here          is whether notice was required of the

 8   intention to       call    a -- to      invoke that defense;                 and what,       if

 9   any,    implications       there    are    from the        failure of the defense to

10   include an instruction             along those        lines       in   its    request to

11   charge.

12               You were,       I take      it,   at    least    considering such a

13   defense at the time you submitted the request to                               charge?

14               MR.    GELFAND:        Considering,           yes.     But    given that that


15   obviously -- it          comes with the possible arguments                         of waiver       and

16   implied waiver,          etc.    We did not         include an         instruction.           We

17   will    submit    a supplemental          instruction for the                Court's

18   consideration.

19               THE    COURT:       Yes,    please do         so tonight.

20               Look,       I will wait       for the government's                letter    as    to

21   addressing this point,             and I'll        give you       a brief opportunity to

22   respond.     But       as you can      see,   I,    reading through the Rule                  16

23   materials,       immediately recognized that                 this      case had at       least

24   the potential          to implicate advice           of    counsel       issues,      because

25   your    client    is    repeatedly threatening legal                   action.        I couldn't



                             SOUTHERN DISTRICT REPORTERS,                   P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page132 of 224
                                A-148


                                                                                                      11
     KILVTEMI    corrected



 1   tell    whether he's          doing that       on his       own dime or with the advice

 2   of    counsel,    but    it    leapt     off the page         as    an obvious    issue.

 3               Government,            have you asked the defense                 in writing or

 4   orally whether          it would be pursuing an                advice of       counsel


 5   defense?     I mean,          it   leaps     off the page          from the discovery you

 6   have provided as          a subject that             a court would be          curious    about.

 7   I assume you must             have thought          about   this.

 8               MR.    BHATIA:         No,      your Honor,       I don't believe --          I know

 9   in our    initial       discovery        letter we make            certain requests.        I

10   don't recall --          I don't believe that               the     advice of    counsel    was

11   one    of those.

12               THE    COURT:          In your     letter to me tonight,             you    should

13   concretely address whether or not                      the government         explicitly or

14   implicitly has          asked the defense             about    that    subject.        It may


15   well    be that    any obligation the defense had may have been                            only

16   in response to          a question by the government.                    I don't know the

17   law in the area enough to                   opine    confidently,       but    I expect    a

18   comprehensive letter on this point.

19               I would also welcome each of your                         submitting the

20   proposed instruction as                to    advice    of    counsel    along with your

21   letter.

22               So,    government,           get me      a letter tonight.

23               Defense,          get me     a letter      as    quickly as possible

24   thereafter,       but no       later than tomorrow night.                 Okay?

25               MR.    GELFAND:          Yes,     your Honor.



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     Case 21-1920, Document 79, 05/25/2022, 3321481, Page133 of 224
                                A-149


                                                                                                              12
     KILVTEMI          corrected



 1                     THE    COURT:     All right.

 2                    Next.      Just    raising issues             here.


 3                     It    appears    to me that          Count    One embraces          checks   from

 4   three entities:                 Entities    1,    2,    and 3.


 5                     Count    Two embraces          checks       from two    entities:        Entities

 6   3 and       4.

 7                     It    strikes me    as    entirely          likely that,       at    a minimum,

 8   there will             need to be    an    instruction with respect                   to unanimity,

 9   lest there be a risk that                   six       jurors    convict       as to Entity      1,

10   and six          convict    as    a Entity       2,    and there's       no unanimity as          to

11   any of       them.

12                    Beyond that,        though,          there    is    a substantial       question

13   of whether             or not    the verdict          form,    which,    as    submitted by the

14   government             and acquiesced then by the defense,                      simply answers


15   yes    or    no,       guilty or    not    guilty,       for    each count,       ought    to take

16   account          of the    fact    that the       counts       bundle together multiple

17   victims          that may have multiple                entities       that may have different

18   narratives             associated with them.

19                     It    seems    to me there's          a substantial          argument here

20   that    the verdict form ought                   to    inquire more       specifically of the

21   jury with respect                to particular entities.                 I'd welcome       each

22   side giving thought                to that.           I don't       need to decide that         now;

23   but,    again,          in preparing for today,                that    leapt    out    at me as      a

24   relevant question.

25                    All right.         Government,          you have moved to dismiss



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                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page134 of 224
                                A-150


                                                                                                     13
     KILVTEMI    corrected



 1   Counts    Five    and Six;    is    that       correct?

 2               MR.    BHATIA:     That's          correct.


 3               THE    COURT:     All right.

 4               Defense,    I take          it,    no objection?


 5               MR.    GELFAND:        No    objection.

 6               THE    COURT:     All right.              Then    I will dismiss       Counts

 7   Five and Six on the          government's motion.

 8               All    right.     With that,             I want    to read aloud some bench

 9   rulings    to you.

10               All    right.     As before,            there's     not    going to be a

11   written opinion.        The rulings                I'm about    to make will be

12   reflected in the transcript here.                       And so    if    you need the text

13   of the ruling,       you'll need to order the transcript.

14               I should ask,          counsel,          I assume you've ordered or plan


15   to order daily       copy?

16               MR.    BHATIA:     That's          right.

17               THE    COURT:     All right.             Very good.

18               I will need that,             because obviously it's               likely to be

19   a relatively       short trial.           And when the          jury goes      out,     if they

20   ask    for excerpts    of testimony,                I want to make       sure that we all

21   have the transcript handy                so that       you can very promptly             search

22   the transcripts       for responsive material.

23               All    right.     I have received,                counsel,    your    joint

24   letter dated January          15th,       docketed at          Docket    80.     That    letter

25   sets    out the parties'       views          as   to potential        instructions       as   to



                          SOUTHERN DISTRICT REPORTERS,                      P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page135 of 224
                                A-151


                                                                                                            14
     KILVTEMI       corrected



 1   two discrete points.                 I had asked for your               input    as    to these        in

 2   my bench ruling on January                  10,    resolving the various motions                       in


 3   limine.        Here    is how I presently            intend to address                each

 4   subject:


 5                  First,    as    to the      check    stock found in Teman's

 6   possession at the             time   of    his    arrest,    I asked counsel             for " a

 7   proper    limiting instruction regarding the purposes                                 for which

 8   the    jury may and may not               consider the       check       stock    seized from

 9   Mr.   Teman's        office    on July 3rd,         2019."        That    is    a direct quote

10   from my bench opinion.

11                  Counsel,       what   you submitted is             not    at    all responsive

12   to what    I asked you to do.                You have,       instead,          agreed upon a

13   completely generic proposed instruction setting forth                                    legal

14   principles       governing similar act               evidence       in general which does

15   not   refer     at    all to the      check       stock.     With all respect,                the

16   instruction you gave me               is    unhelpful       for that purpose,                it   is

17   useless;       indeed,    it    is   arguably worse than unhelpful,                      because

18   it    states    to the    jury at the            outset,    before       setting out these

19   general generic principles,                  and I quote: " The                government has

20   offered evidence tending to                  show that       on    another occasion,                the

21   defendant       engaged in conduct               similar to the          charges       in the

22   indictment.

23                  That    statement      is,    to my knowledge,             factually          false.

24   I cannot       imagine what the two of you were thinking or                              all      four

25   of you were thinking about                  in asking me to tell the                   jury that.



                             SOUTHERN DISTRICT REPORTERS,                     P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page136 of 224
                                A-152


                                                                                                             15
     KILVTEMI    corrected



 1               The government            has       not   given Rule        404(b)    notice,         and

 2   the Court has         not    been    informed of          any evidence that might be

 3   offered at trial            that    Teman ever deposited or tried to deposit

 4   unauthorized checks               other than those             charged.        I do not      know


 5   what   counsel    were thinking in proposing that                         I tell      the    jury

 6   that   effectively there             is    such evidence.

 7               To defense            counsel       in particular,          I note that         the

 8   statement      in the       joint proposed instruction could affirmatively

 9   harm your      client       in    inaccurately          implying that          there has been

10   evidence at      trial       of    his deposit          of unauthorized checks               other

11   than those charged in the                  indictment,          or that the       check      stock

12   found in his      office had been used to create                         other unauthorized

13   checks.

14               I have taken it upon myself                        to draft    an alternative


15   instruction which            I will       read to you for your views.                      But,

16   counsel,    I expect         better of you and you need to do better when

17   the Court      asks    you for       a proposed instruction.                    The   instruction

18   you proposed was both nonresponsive                        and misleading.

19               With that,            here goes          as to the proposed instruction.

20               "You have heard testimony that                        at the time         of    the

21   defendant's      arrest          on July 3rd,          2019,    blank    check    stock was

22   seized from his         office.           It    is    for you to decide whether or                  not

23   to credit      this    testimony.              If you do,       I want    to    instruct you as

24   to the    strictly limited purposes                     for which you may consider

25   this   check    stock.



                            SOUTHERN DISTRICT REPORTERS,                      P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page137 of 224
                                A-153


                                                                                                               16
     KILVTEMI         corrected



 1                    "Specifically,             you may consider this              evidence to the

 2   extent,         if any,       that    you    concluded it bears            on the defendant's

 3   knowledge;         in particular,                whether he had the knowledge                  and

 4   capability to            create the          checks      at    issue    in this    case.       You may


 5   also      consider this             evidence to the extent,               if   any,     that you

 6   conclude that            it bears          on the defendant's            intentions       in

 7   connection with respect                     to the use of the            checks    at    issue       in

 8   this      case.

 9                    "However,          you may not         consider the       check      stock     found

10   in the defendant's                  office       for   any other purpose.             Specifically,

11   you may not            consider       it    as    indicating that the defendant

12   engaged in any unlawful                     conduct      other than that          alleged in the

13   indictment.             You may not          consider this         evidence as          indicating

14   that      the defendant had a criminal personality or a bad


15   character.             This    evidence          instead was      admitted for much more

16   limited purposes               and you may consider               it    only for these

17   purposes."

18                   Are there           any objections            to that    instruction?

19                   MR.     DiRUZZO:           No,    your Honor.

20                   MR.     BHATIA:        No,       your Honor.

21                    THE    COURT:       All right.

22                    I will       ask    counsel to         alert me when counsel             believes

23   it   is    an    appropriate time                for me to      give that      instruction.

24                    Now,    as to the          instruction as         to remotely created

25   checks,         or RCCs,       I propose to give the               following instruction to



                               SOUTHERN DISTRICT REPORTERS,                     P.C.
                                         (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page138 of 224
                                A-154


                                                                                                           17
     KILVTEMI       corrected



 1   the    jury:        As    you will       see,       it    draws    on both sides'         proposed

 2   instructions             on this      point.         The main point          I want to         leave the


 3   jury with is             that    RCCs    are       a lawful thing,        while making clear

 4   that    the issues          in this       case do          not    involve technical


 5   compliance with the regulatory definition of RCCs.

 6                  Here goes:

 7                  "You have heard reference to                         something called a

 8   remotely       created check,             also known for             short      as    an RCC.     A

 9   remotely       created check             is    a check that          is   not    created by the

10   paying bank          and that         does     not bear          a signature         applied or

11   purported to be applied by the person on whose                                       account    the

12   check is       drawn.

13                  "I    instruct         you that the banking                laws       in this    country

14   do permit       the use          of remotely created checks                     under    certain


15   circumstances,             provided,          of    course,       that the      customer       on whose

16   account the          check       is   drawn has           authorized the         check.        However,

17   this    case does          not    involve whether or not                  the    checks    in

18   question here meet the technical definition of                                       a remotely

19   created check,             and you       should not          concern yourself with that.

20                  "The question             for you will be whether                     or not the

21   government has proven beyond a reasonable doubt the                                       elements    of

22   the    offenses          charged,       which,       again,       are bank      fraud and wire

23   fraud.     I will          instruct you on the elements                      of those offenses

24   later    in the trial,                after    all       of the    evidence has         been

25   received."



                                SOUTHERN DISTRICT REPORTERS,                      P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page139 of 224
                                A-155


                                                                                                                    18
     KILVTEMI       corrected



 1                  Are      there       any    objections          to    that    instruction?


 2                  MR.      BHATIA:           No    objection.


 3                  MR.      GELFAND:           No    objection.


 4                  THE      COURT:        All       right.


 5                  Then here,            too,       I'll    ask    counsel       to    alert me when


 6   counsel      believe          it's    an       appropriate          time    for me       to give that


 7   instruction.


 8                  MR.      DiRUZZO:           Judge,       I already know.              I'd ask       that


 9   instruction be              given directly              after       openings.


10                  THE      COURT:        No,       there won't          be -- my       instruction,          as


11   you   just     heard me         say       is --       it's    going to       be    triggered by


12   evidence.          Once there's                some    evidence       in the       case,    I'll    be glad


13   to give that            instruction.


14                  MR.      DiRUZZO:           Oh,       okay.


15                  THE      COURT:        In other words,                I don't       know who the       first


16   witness      is    going to          be,       but    I will wait          until    there's      a factual


17   basis    for      it.


18                  MR.      DiRUZZO:           Okay.        Understood,          your    Honor.


19                  THE      COURT:        It       just    seems    to me       otherwise       it's    sitting


20   out   there       in    the    air    unconnected to                specific       evidence.        But


21   given the         nature       of    the       case,    I expect       we'll       get   there     soon.


22                  All      right.        I'm next          going to       turn to       Teman's       motion


23   to preclude            the government                from calling as          a witness       Karen


24   Finocchiaro            of   Bank     of America.              I previously denied Teman's


25   motion    to preclude her                  from being called,                which was       based on



                                 SOUTHERN DISTRICT REPORTERS,                          P.C.
                                                     (212)    805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page140 of 224
                                A-156


                                                                                                   19
     KILVTEMI       corrected



 1   the    incorrect         claim that her testimony would be that                 of an

 2   expert witness.             In my January           10th bench ruling,       I held that

 3   she    is    a pure      fact witness who would testify based on her                    job

 4   experience as            a senior      investigator      at   the bank on Bank of

 5   America's       handling of chargebacks                and the    like.

 6                  Teman now moves,             see Docket    81,    to preclude

 7   Ms.    Finocchiaro's         testimony on           a separate    ground.     Teman

 8   contends       that the      government        has violated its       Giglio

 9   obligations by            failing to turn over records relating to

10   approximately            seven different        lawsuits      in which Bank of America

11   has been       sued either by federal               regulators     like the    SEC or FTC

12   or CFPB,       or   in    civil   litigation.          The government       opposes    this

13   motion.        It   notes    that      it   has provided Jencks Act material             for

14   Ms.    Finocchiaro and has              conducted a full         Giglio inquiry as       to


15   her.        See Docket      82.

16                  I deny Teman's motion.                 I regard it,    frankly,    as

17   frivolous.          The defense has           not    indicated that       the lawsuits

18   have any connection or                 anything whatsoever to do with

19   Ms.    Finocchiaro.          The defense has           not represented that       she was

20   a party or a witness              to    any of these matters.             The defense has

21   not    represented that            she has personal knowledge of any              of them.

22   The defense has            not    articulated any theory under which              she

23   received some form of benefit                   from the resolution,          if any,    of

24   any    of these cases.

25                  Teman's motion appears to proceed from the premise



                               SOUTHERN DISTRICT REPORTERS,              P.C.
                                         (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page141 of 224
                                A-157


                                                                                                       20
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 1   that because Ms.               Finocchiaro works          at Bank of America            and is    in

 2   position       from her         employment      there to offer testimony as                  a fact

 3   witness,       the door         is    therefore     open to      impeach her based on

 4   unrelated business practices                     and unrelated litigations                and

 5   investigations            regarding Bank of America.                   Teman's motion may

 6   also proceed from the premise that                        ostensible          impeachment

 7   material       that might            attach to other persons             at    Bank   of America

 8   may be used to            impeach Ms.         Finocchiaro        in this       unrelated

 9   matter.

10                  Teman does            not   recite   any evidence         supporting either

11   of these remarkable propositions.                         Taken to       its    logical

12   extreme,       Teman's theory would open the                     floodgates       to vast

13   productions          relating to wholly unrelated controversies                           under

14   the   ostensible rubric of                  Giglio for     any bank witness            called by

15   the government            in a criminal          case   in which a bank was             a victim,

16   even,    say,       the bank teller who             identifies      the bank robber.

17   Again,    there's         no    legal      authority     for that.        Teman does       not

18   offer any reason for the Court                      to doubt     the     government's

19   representation that                  it has   fully     searched for          and produced all

20   Jencks material            and       Giglio material,       if    any,    for

21   Ms.   Finocchiaro.

22                  As    an   aside,       I would note that          conceptually,         if Bank

23   of America,          as   one of the          alleged fraud victims here,              had

24   received a benefit               from the      government        in connection with this

25   case,    for    example,         as    a condition of producing documents                    or



                               SOUTHERN DISTRICT REPORTERS,                   P.C.
                                         (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page142 of 224
                                A-158


                                                                                                       21
     KILVTEMI       corrected



 1   making a witness             available      for testimony,         the government would

 2   have a possible --             if not      likely --     constitutional disclosure


 3   obligation with respect                to that.      Whether that would be

 4   conceived of as          Giglio or Brady would depend on the                        specific


 5   facts,    as    would whether          it would rise         in connection with

 6   Ms.    Finocchiaro's          testimony as       a fact witness          as   opposed to         in

 7   some other context.

 8                  But   there has        been no    suggestion whatsoever that

 9   anything like that happened here.                      The   lawsuits that          the

10   defense cites have             nothing --       zero -- to do with Teman               or the

11   landlords       whose checks          he   allegedly created and deposited with

12   the    authorization he allegedly pretended to have.                            Whatever the

13   circumstances          are under which a benefit to Bank of America

14   might be disclosable as                Giglio for one        of    its   fact witnesses,

15   those circumstances             are    not present       here.

16                  And for much the            same reasons,       under Rules          of Evidence

17   402    and 403,       I would not permit the defense to                   cross-examine

18   Ms.    Finocchiaro about unrelated disputes                       or   litigations        or

19   investigations          involving Bank of America,                 if that     is   the use to

20   which the defense had             in mind       in   seeking      such materials.              Such

21   matters    are       irrelevant       to the    issues    to be tried here.               And

22   even    if they were          glancingly relevant,           which they are not,                any

23   probative value to             such    inquiries would be vastly outweighed by

24   the potential          for    confusion created by           inquiries        at this

25   criminal       trial    into    other unrelated areas              in which Bank of



                             SOUTHERN DISTRICT REPORTERS,                   P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page143 of 224
                                A-159


                                                                                                           22
     KILVTEMI       corrected



 1   America has had business               controversies.                    Bank of America is          not

 2   on trial here;         Mr.    Teman    is.        And he          is    on trial    on    specific

 3   charges       that do not         implicate Bank of America's                      unrelated

 4   regulatory and litigation history.


 5                  Finally,      as   a separate basis                 for denying the          Giglio

 6   motion here,          I note that the         Giglio obligation extends                      only to

 7   the prosecution team.                There    is       no basis to believe that the

 8   U.S.    Attorney's       Office here has               any knowledge or records                of the

 9   lawsuits       cited by the defense.                   Thus,       even if    Giglio applied --

10   and it       does   not -- there would be                nothing that          the government

11   here would be obliged to produce.

12                  Turning next to the            final          issue.

13                  The government moves               to    limit          the defense's

14   cross-examination of two witnesses:                               Joseph Soleimani          and Elie


15   Gabay.        Each was    a landlord or            a representative of a landlord

16   and,    as    such,   each was       a customer          of Teman's.           The parties have

17   filed letters         as to this       issue;          the    government's          is dated

18   January       19th,   the defense's          is    dated January 20th.                   Neither

19   party's       letter has been filed on the public docket                                 of this

20   case.

21                 At    the outset,       I direct both parties to                      file these

22   letters publicly on the docket                     of this             case by tonight.        On the

23   face of the parties'              letter,     there          is    no    apparent    justification

24   for    this motion to be            litigated outside of public view.                          The

25   matters discussed in the               letters          are       in the    nature of lawsuits



                             SOUTHERN DISTRICT REPORTERS,                        P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page144 of 224
                                A-160


                                                                                                      23
     KILVTEMI       corrected



 1   and publicly disclosed complaints.                    The    allegations       in these

 2   lawsuits       and complaints may be unflattering to witnesses                         or


 3   perhaps       to Teman,       but there    is    no basis    to override the

 4   public's       right    to    access    litigation on this motion             in limine.

 5                  In the event       counsel believe there             are discrete       facts

 6   contained in these             letters that       are properly redacted,             I will

 7   authorize you to publicly file the                   letters with narrow

 8   redactions       keyed to       genuinely       confidential matters.           I will

 9   then determine whether there                is    a basis    for    such redactions.

10   Because the request             for    filing under       seal    originated with the

11   government,          I will direct       that    the government make          its public

12   filing    first.        The defense       should then       follow with its

13   redactions until             the Court has       ruled respecting the          areas,       if

14   any,    in which the government             continues       to    assert    a basis    for

15   filing under         seal.

16                 Now,     as to the       content    of the    government's motion,

17   Soleimani       is   a principal        of ABJ Properties.           Teman allegedly

18   deposited into          accounts he       controlled 24          checks    of ABJ's,


19   totaling $ 264,000,            allegedly without ABJ's             authorization.

20   Gabay    is    a managing director of Coney Management LLC,                         which

21   manages properties             in the New York       area.

22                  Teman    is    alleged to have deposited             into    accounts    he

23   controlled a check             for $ 18,000,      and later three          checks    totaling

24   $33,000,       each drawn on the          account    of    a company managed by

25   Coney,    again,       without    Coney's       authorization.



                             SOUTHERN DISTRICT REPORTERS,                P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page145 of 224
                                A-161


                                                                                                       24
     KILVTEMI      corrected



 1                 The testimony of these witnesses                   appears         likely to be

 2   important      at trial.           The government's         core allegation as             to


 3   each    set   of    checks    is   that     Teman pretended he had authorization

 4   to deposit         checks    drawn on the          customer's    account         into his bank


 5   account,      whereas,       in fact,       he did not.        A key factual            issue,

 6   therefore,         appears to be whether Teman had been authorized or

 7   believed he had been authorized by ABJ and/or Coney to                                   create

 8   and deposit         checks drawn on their               accounts.

 9                 Fulsome cross-examination is therefore                        in order as          to

10   the    course of dealings            that    Teman had with these companies,

11   including these two witnesses,                     to   enable the    jury to take          into

12   account the         full measure of the relationships                  that Teman had

13   with these customers,              which may shed light             on whether to credit

14   the government's            claim of      a lack of       authorization or          Teman's

15   defense of authorization.                   The    Court will permit         searching and

16   thorough cross-examination as                     to Teman's    dealings         with these

17   customers.

18                 To    its   credit,     the government's          letter      is    not    seeking

19   to restrict         cross-examination about               communications          or dealings

20   between these customers               and Teman.          Instead,    the government

21   seeks    to preclude         inquiry into          extrinsic matters         involving

22   these companies which did not                     involve Teman,      such as       complaints

23   or lawsuits brought            by or      on behalf       of tenants.        The government

24   disclosed these matters               to the defense          and what      the Court       takes

25   to be an appropriate               excess    of    caution.



                               SOUTHERN DISTRICT REPORTERS,               P.C.
                                         (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page146 of 224
                                A-162


                                                                                                     25
     KILVTEMI    corrected



 1               The government does            not represent --             and nor does

 2   Teman -- that the claims            of    improprieties made             against       these


 3   two   customers have     any direct bearing on the                     customers'

 4   dealings with Teman.          Teman does          not    allege,       for example,          that


 5   the tenants'    grievances         towards these          customers bears             on

 6   whether the    customers      gave Teman permission to                   create and

 7   deposit the    checks    in question.             Instead,       Teman's       theory of

 8   relevance is    instead solely that               Soleimani's          and Gabay's

 9   conduct towards tenants bears                  on their    character       for

10   truthfulness.

11               I will   begin with Soleimani.

12              With one narrow exception,                   I will    exclude all          the

13   evidence that the       government's            letter puts       at    issue with

14   respect to him.


15               Specifically,      the government             seeks    to preclude

16   examination    of him as      to    lawsuits       and tenant          complaints          largely

17   about the physical       conditions            of housing his          company provided

18   or that    caused slip- and- falls             and the    like.        These    complaints

19   are   inadmissible.     Whether or not             Soleimani       is    a punctilious

20   landlord or    a negligent         or    cruel    or thoughtless          landlord does

21   not bear on his      credibility.

22               Relatedly the New York Public Advocate                        last month

23   included Soleimani       on   its       list    of the    city's worst          landlords

24   based on the number of         open violations with the                   city's

25   Department    of Housing Preservation and Development,                           or    HPD.



                          SOUTHERN DISTRICT REPORTERS,                  P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page147 of 224
                                A-163


                                                                                                      26
     KILVTEMI       corrected



 1   These violations relate to vermin,                   defective doors,           and the

 2   perpetuation of hazards.              These regulatory violations                   or

 3   alleged violations          do not,       however,    bear on       Soleimani's

 4   character       for truth- telling.          They are       inadmissible to          impeach


 5   his    trial    testimony.

 6                  Notably,    Federal    Rule    of Evidence          609    addresses       the

 7   limited circumstances under which a much more                            serious bad

 8   act --    a criminal       conviction -- can be used to                   impeach a

 9   witness.        Where the    conviction       is    not    one   like perjury that

10   intrinsically goes to credibility,                   it    is    inadmissible as          a tool

11   of impeachment,          unless   the offense was           a felony committed

12   within the last ten years.                 The regulatory violations                that    are

13   pending or       open against       Soleimani      do not rise or come close to

14   this    level.


15                  The government,       in    fact,   represents          that   it has

16   confirmed that         neither    Soleimani        nor Gabay has          a criminal

17   record.        The Court will       therefore       exclude      all     evidence    of

18   violations       or alleged violations             of housing codes           such as      those

19   tracked by HPD          and all   evidence of tenant             complaints      against

20   these landlords.

21                  And for avoidance of doubt,                obviously that means,

22   defense,       there    should not    be    a peep    about      this     in your

23   addresses       to the    jury.

24                  I do    so for two    independent          reasons      under the rules           of

25   evidence:        First,    allegations       of mismanagement,             negligence,          or



                             SOUTHERN DISTRICT REPORTERS,                P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page148 of 224
                                A-164


                                                                                                        27
     KILVTEMI      corrected



 1   being a rotten         landlord are             irrelevant       to    credibility under

 2   Rule   402.     Second,       even if          such allegations          had some bearing on


 3   Soleimani's      credibility,             their probative value would be vastly

 4   outweighed by various               countervailing factors                   under Rule    403.


 5   Inquiry into these            alleged housing code- type violations                        would

 6   tend to    confuse the            jury,    prolong the trial,                and invite a trial

 7   within    a trial      as    to these          separate       incidents.        Such evidence

 8   would also      create       a grave risk             of unfair prejudice to the

 9   government      and the public             insofar       as    the    jury might be       led to

10   exonerate Teman of            frauds       of which the          evidence might          otherwise

11   establish his         guilt       because they were             swayed by such testimony

12   to loathe the landlords                 whose     checks       Teman deposited.

13                 There    is,    however,          one    allegation that          is   different     in

14   nature.       The government's             letter discloses             that    Soleimani's

15   company,      ABJ Housing,          was    fined by the New York Housing Court

16   in   connection with a tenant,                   Stanley Howell,             who refused to

17   leave his      apartment          in exchange          for monetary payment.

18                 In the housing court                case    involving ABJ and Howell,

19   the Court      found in an October                2018 decision,             that    because ABJ

20   initiated negotiations with the tenant,                              ABJ's    conduct

21   constituted harassment within the meaning of the New York City

22   Administrative Code.                This       conduct too,          to the    extent    I've

23   addressed it      so far,          is   also     not    a proper       ground for

24   impeachment.          Harassment          is   distinct        from lying.

25                 However,       as    Teman points          out    in his       response,    the



                            SOUTHERN DISTRICT REPORTERS,                      P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page149 of 224
                                A-165


                                                                                                      28
     KILVTEMI      corrected



 1   housing court            judge,    Jack    Stoller,   found in his written

 2   decision the following:                   Referring to ABJ Housing as               the

 3   petitioner         and Howell       as the respondent,             Stoller wrote:

 4                 "Petitioner did not             dispute respondent's            testimony


 5   that petitioner's               employees    stated that petitioner would not

 6   renew respondent's               lease    if respondent       did not    surrender the

 7   subject premises,               an empty threat       against       a rent- stabilized

 8   tenant who is            entitled to       a lease renewal         by operation       of   law.

 9   Misleading a tenant               into believing that the tenant has                  no   other

10   option but to vacate               a rent- stabilized apartment voids                 an

11   out- of- court          surrender."        See Exhibit A to the          government's

12   letter,      at    4.        And I have    eliminated the case          law citations           in

13   Judge      Stoller's          opinion.

14                 Judge          Stoller's    opinion does       not   disclose whether

15   Soleimani personally was                  one of the ABJ employees who

16   misleadingly told Howell that his                     lease would not         be renewed if

17   he did not         surrender the premises.              If    not,    there   is    no basis

18   to use      another          employee's misleading statement             as   a means      at

19   this    trial      to impeach Soleimani.              Soleimani's trial            testimony

20   here would not be meaningfully discredited merely because                                  of    an

21   employee of his misled a tenant.

22                 But       it    is possible that    Soleimani was          among the

23   employees         who personally made that misrepresentation to Howell.


24   If   so,    although the          question under       403    is    a close   one under

25   which a court            could rule either way,          I would then permit the



                                  SOUTHERN DISTRICT REPORTERS,             P.C.
                                            (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page150 of 224
                                A-166


                                                                                                29
     KILVTEMI    corrected



 1   defense at this       trial,    as   a means   of    impeachment,      to establish

 2   through a single question or two put                to   Soleimani     that     a judge

 3   found that    in    2017,    he had misled a tenant to believe wrongly

 4   that his    lease    could not be renewed.            To be    sure,    I would not


 5   permit under Rule          403 more extended inquiry           into this matter,

 6   nor would I permit          extrinsic evidence of this           incident       to be

 7   received,    for example,       testimony by Howell or examination                    of

 8   Soleimani    regarding what happened and whether he                    agrees    or not

 9   with Judge    Stoller's       finding.

10               But    a targeted leading question that              elicits       from

11   Soleimani    the    fact    of this discrete        finding by a judge that he

12   misled a tenant on this          subject would assist           the    jury to assess

13   Soleimani's       credibility without turning this              proceeding into a

14   trial within a trial about the             episode relating to           landlord ABJ


15   and tenant    Howell.

16               And so,    government,       I will     ask you to please inquire

17   of   Soleimani     whether there was       evidence      in the housing         court

18   case that he was       among the ABJ personnel who dealt with Howell.

19   If his    answer    leaves    any doubt    in your mind,        you need to          follow

20   up and do    so immediately.          Then promptly report back to the

21   Court    and the defense.        I expect that        if the    answer is       yes,

22   that    Soleimani    was    among the ABJ personnel who dealt with

23   Howell,    that    Soleimani will have no difficulty on the                    stand

24   here answering yes          to a question      from defense      counsel       about

25   whether    a judge so       found.   Obviously the government             is    at



                          SOUTHERN DISTRICT REPORTERS,              P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page151 of 224
                                A-167


                                                                                                             30
     KILVTEMI       corrected



 1   liberty to pull the poison and ask the                           question on direct               as

 2   well.     Cross-examination will then move on to other                                 issues.


 3                  For    a voidance of doubt,                though,      defense       counsel,      in

 4   your opening statement,                you    are    not    to refer to            such matters,


 5   and you are not to                inquire    into them in court unless                  and until

 6   I have given you the                affirmative green            light       to do    so.

 7                  That    ends my ruling as             to    Soleimani.

 8                  The bottom line          is that,          at most,         a single question or

 9   two    about    the housing court             finding of misleading a tenant may

10   be put    to the witness;             and then,       only upon confirmation that

11   Judge    Stoller's          opinion was       referencing ABJ personnel that

12   included Soleimani personally.                      Otherwise,             Soleimani's       conduct

13   as    a landlord,          including court          actions      and complaints             and

14   statements by the New York Public Advocate,                                 is    excluded under

15   Rule    403.

16                  As    to Gabay,       I will exclude the evidence proffered by

17   the government.              There    is much       less    of   it    as    to Gabay than as

18   to    Soleimani.           But that which is          addressed in the government's

19   letter does          not    involve    false    statements            or    falsehoods.

20   Significantly,             too,   unlike the        incident      involving ABJ and

21   Howell,    addressed by Judge                Stoller,       there      is    no    indication that

22   any    finding of dishonesty or untruthfulness has                                 ever been made

23   as    to Gabay.

24                  In questioning Gabay,                Teman would therefore be trying

25   to prove up heretofore unestablished claims                                 of    sharp business



                                SOUTHERN DISTRICT REPORTERS,                     P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page152 of 224
                                A-168


                                                                                                      31
     KILVTEMI      corrected



 1   practices       such    as   rent    overcharges that           on their own terms have

 2   nothing to do with the bank                and wire       fraud charges here.              Rule


 3   403   clearly precludes             such an inquiry,        which would be in the

 4   nature   of     a trial within         a trial,     into    extrinsic         acts    of


 5   possible bad behavior.                Whatever     slight probative value might

 6   be yielded by this             exercise    is vastly overcome by the risks                     of

 7   confusion,      delay,       distraction,        and unfair prejudice.

 8                 Finally,        I reject    as    frivolous       Teman's      claim that

 9   precluding this          evidence      somehow violates           his   Confrontation

10   Clause   constitutional             rights.      Teman does       not have a

11   constitutional         right     to probe       into unrelated business practices

12   of the witnesses             against him,      even if     such inquiry might tend

13   to dirty up the witness by making them look                           like    a careless       or

14   callus   landlord.            Teman notably does          not    cite   any authority


15   supporting that proposition.

16                 All   right.       Therein ends       the ruling.

17                 Government        counsel,       I saw a lot       of   ferment    at    your

18   table.     Is   there        something you need to bring to my attention?

19                 (Counsel        conferred)

20                 MR.   BHATIA:         Your Honor,     we will       inquire with

21   Mr.   Soleimani        about more of the          facts    surrounding this

22   incident.       But we wanted to           clarify that          if Mr.      Soleimani     was

23   not   involved in making the misrepresentations to Mr.                               Howell,

24   then no inquiry would be made of him on the topic.

25                 THE   COURT:       Correct.



                             SOUTHERN DISTRICT REPORTERS,                  P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page153 of 224
                                A-169


                                                                                                                 32
     KILVTEMI       corrected



 1                  The   issue     is whether because the                    judge's      opinion

 2   refers    to people          at ABJ,     personnel without                 name,     it's   left


 3   unclear to me whether               Soleimani was             among those people.                 To be

 4   sure,    the    issue    is    not whether what Mr.                 Soleimani tells           you


 5   now,    the    issue    is    whether there was               evidence         at the proceeding

 6   before Judge         Stoller that          he    interacted with the tenant.                       If

 7   there was       evidence that he            interacted with the tenant,                      this       is

 8   coming    in.

 9                  MR.   BHATIA:        Evidence that             he    interacted with the

10   tenant    in    any --

11                  THE   COURT:        Okay.        More precisely,               that   he   interacted

12   with the tenant with respect                     to the       issue      of    renewal.      I expect

13   that you will          not    credulously take Mr.                  Soleimani's point             of

14   view on this.           Mr.    Soleimani may or may not have denied in

15   front    of Judge       Stoller that            he personally made those

16   statements.          Realistically,             if he    is    among the people

17   interacting with the tenant,                     I think the          safer      course here           is

18   to -- would be          for the      Court       to permit         the     line of -- that

19   single question or two,                  rather than          creating an open appellate

20   issue about whether you too                     aggressively took               Soleimani's        side

21   in denying --          in perhaps         arguing that             although he dealt with a

22   tenant,       it was    somebody else            in his       company who made the

23   misrepresentations.                The    judge's       opinion       is      indistinct     if

24   Soleimani       is   among the people dealing with the tenant,                               given

25   his    role at ABJ.           It   seems    to me the          safer       course here       is    to



                             SOUTHERN DISTRICT REPORTERS,                          P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page154 of 224
                                A-170


                                                                                                               33
     KILVTEMI       corrected



 1   permit    that       line    of    impeachment       which will be             over    and done


 2   within    the    context          of this    proceeding          in    a matter       of    a few


 3   seconds.


 4                  MR.    BHATIA:        Understood.


 5                  We'll    inquire with Mr.             Soleimani          and we'll          give    an


 6   update    to    the Court.


 7                  THE    COURT:       Very     good.        Thank    you.


 8                  All    right.       Anything further              from the       government          as    to


 9   the   range     of    rulings       I've    just made?


10                  MR.    BHATIA:        Your    Honor,       nothing regarding the                   oral


11   ruling you made.              But we do       have       another point          regarding the


12   advice    of    counsel defense.


13                  THE    COURT:        Yes.


14                  MR.    BHATIA:        Do you want          to   hear     that    now or --


15                  THE    COURT:        Let me    just       tidy up the       ruling here.


16                  Defense,       anything       about       the   range     of rulings          I've       just


17   made?


18                  MR.    GELFAND:        No,    your    Honor.


19                  Just    to make       sure we're          on the       same page,       we will          not


20   address    the       issue    regarding       Soleimani          in    any way,       shape,       or


21   form until       the    Court       gives    us    the    green       light.


22                  THE    COURT:        Bingo.


23                  MR.    GELFAND:        The    Court will          only give us          the    green


24   light    if Mr.       Soleimani       was    involved with these                interactions.


25                  THE    COURT:        Right.        If there       is    evidence       that    he was



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                                (212)    805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page155 of 224
                                A-171


                                                                                                       34
     KILVTEMI       corrected



 1   interacting personally with                  a tenant,    I think the          factual

 2   predicate       for the    limited inquiry exists.                   But,    to be clear,


 3   until    I've given the green light,                  let's    not    go there.

 4                  MR.   GELFAND:     Understood.           Thank you,          Judge.

 5                  THE   COURT:     All right.

 6                  So with that,      yes,       Mr.    Bhatia,    you had       something about

 7   advice    of    counsel.


 8                  MR.   BHATIA:     Yes,       your Honor.

 9                  As we understand it,            the    advice of       counsel defense

10   requires       several    elements         to be met.     Among them,          that    the

11   defendant       sought the      legal       advice relevant to the             conduct       at

12   issue in the trial;            whether he provided all the relevant                      facts

13   to his    counsel;       whether his         counsel    considered those             facts    and

14   then relayed relevant            advice;       then whether the             client took the

15   advice;    and then,       of course,         that    he consulted prior             to taking

16   action.        The Court's      familiar with those elements.

17                  THE   COURT:     I am.

18                  MR.   BHATIA:     Here,       there's    nothing that          appears    to be

19   relevant to the conduct               at    issue    in this trial.           If the lawyer

20   was   involved in assisting with collection efforts,                            then it

21   might not be relevant            at    all    to the    conduct       at    issue in this

22   trial,    which is       whether the defendant had authorization to file

23   the   checks     in question.

24                  And so at this         point we'd ask          for    a proffer       from the

25   defense about what            facts might          establish that defense.              That



                            SOUTHERN DISTRICT REPORTERS,                   P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page156 of 224
                                A-172


                                                                                                             35
     KILVTEMI       corrected



 1   will    help the government,                  sort    of,    think       about --

 2                  THE    COURT:          Well,    listen -- thank you.                 You may be


 3   seated.

 4                  It    goes without            saying that          the mere       involvement       of a


 5   lawyer    in    a situation does               not    establish the             advice    of    counsel

 6   defense.        I think       in generic terms,               Mr.       Bhatia's description

 7   broadly       captures the            essence       of the    advice       of    counsel       defense,

 8   which requires          that      all material             facts    be    disclosed and that

 9   the    attorney's       advice then cover essentially the                           conduct       at

10   issue here.           The   actual          terms    of the       advice    of    counsel       defense

11   are    familiar       ones.

12                  Whether      an    advice of          counsel       instruction is          given to

13   the    jury obviously will depend on whether the                                 facts permit

14   that.     The defense            is    obviously running a grave risk if it

15   tries    to    suggest      an    advice of          counsel       and ultimately the             advice

16   of    counsel       elements      are not made out                here.     In that       case you

17   are    running a risk of               an    instruction to the             jury that you          can't

18   possibly meet          on the         facts,    which,       if    anything,       could prove

19   unhelpful       to the defense.

20                  So    I'm assuming that               all    the defense          is doing at       this

21   point    is    exploring the possibility of                        an    advice    of    counsel

22   defense       and is    not      committed to give                one.

23                  MR.    GELFAND:          Your Honor,          I don't know if this

24   addresses       the Court's            inquiry,       but we're well             aware    of what      in

25   the    Second Circuit            is required for             an advice of          counsel



                             SOUTHERN DISTRICT REPORTERS,                        P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page157 of 224
                                A-173


                                                                                                                36
     KILVTEMI       corrected



 1   instruction          as    far   as    foundation on             an evidentiary basis.                We

 2   anticipate that the               evidence will                establish that.


 3                  THE    COURT:          You're          saying that Mr. -- the             evidence is

 4   going to       show that Mr.               Teman disclosed to Mr.               Reinitz       all


 5   relevant dealings with respect                           to    each of    the   customers       in

 6   question before he               created and negotiated each of                        the    checks?

 7                  MR.    GELFAND:             Yes,       your Honor.

 8                  THE    COURT:          And did he do that                in writing?

 9                  MR.    GELFAND:             No,    your Honor.

10                  THE    COURT:          Is    there       any memorialization that he did

11   that?

12                  MR.    GELFAND:             Your Honor,          I apologize.       There was

13   frequent       communication by email                     and other       channels.

14                  THE    COURT:          I want that produced to me tonight.                            We'll


15   see    about    it being produced to the government,                             but    I want       all

16   of that documentation produced to me tonight.

17                  Surely if you've been planning all                           along to         consider

18   this    defense,          you've got            it.     I want    all that documentation

19   from lawyer          and client produced;                     because    I do not want         to have

20   a situation where because the                           issue was       raised late      in the day,

21   we need to take an adjournment                           of    the trial where         I work

22   through these issues.                      So    I want that produced to me in                  full

23   tonight.

24                  MR.    GELFAND:             Yes,       your Honor.

25                  THE    COURT:          But you're          saying that Mr.          Teman -- and I



                                SOUTHERN DISTRICT REPORTERS,                     P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page158 of 224
                                A-174


                                                                                                       37
     KILVTEMI    corrected



 1   don't pretend to know the range of dealings with the relevant

 2   customers    that precedes Mr.                Teman's    creating and negotiating

 3   checks,    if he,    in    fact,       is    the person who did that         in each

 4   case.     I don't pretend to know what                   all those were.


 5               But you're telling me that you have checked with the

 6   lawyer,    and the lawyer             is prepared to testify that            as    to the

 7   narrative -- the relevant parts                   of the    narrative with each

 8   customer,    Mr.    Teman made          a full disclosure?

 9               MR.    GELFAND:           Yes,    your Honor.

10               THE    COURT:        So    if the    customer,    for    example,      disputed

11   that    a debt was       owed,    Mr.       Teman faithfully disclosed that              in

12   advance to his       counsel?

13               MR.    GELFAND:           Yes,    your Honor.

14               And to even take that                one    step further,      this    lawyer


15   was    the corporate       counsel --          I'm using that       term loosely,        was

16   Mr.    Teman's    lawyer with respect to these matters                     for    over   a

17   year prior to the          alleged criminal             conduct.     And to be      clear,

18   we have disclosed to the government                      in discovery written

19   communications       from the          lawyer    on Mr.    Teman's behalf to two              of

20   the three    entities,       to       Coney and ABJ.

21               THE    COURT:        Right.        Sorry.

22               But    the    involvement          of the    lawyer,    a lawyer can be           a

23   collection agent,          a lawyer may or may not             have    access      to oral

24   communications       between Teman and the customer,                   a lawyer may or

25   may not have access          to       email    communications       between Teman        and



                          SOUTHERN DISTRICT REPORTERS,                   P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page159 of 224
                                A-175


                                                                                                      38
     KILVTEMI    corrected



 1   the   customer;     and yet those may be quite material to an advice

 2   of counsel defense.              If the    question is put          at   one     level,      does

 3   the   contract     allow the       creation of remotely created checks,

 4   that's    one thing.        Another       issue    is does the --          am I allowed to

 5   unilaterally go and cut             a check for          a debt that the          customer

 6   denies    owing.

 7               And the question is             going to be whether the                  full    range

 8   of communications,          for    example,       was    showcased to the            lawyer,

 9   and the    lawyer's    advice       specifically addressed that,                     and

10   whether the       lawyer under oath is             going to      come here        and say

11   that.

12               MR.    GELFAND:        Yes,   your Honor.           And what       I'm

13   proffering --

14               THE    COURT:        Is he going to do that?


15               MR.    GELFAND:        Yes,   your Honor.

16               THE    COURT:        All right.        Well,    let's    get me       all the

17   evidence on that.

18               Are you preparing to -- you haven't                      given prior notice

19   of an advice of counsel defense.                    I take      it you're not

20   proposing to open on that.

21               MR.    GELFAND:        Your Honor,          to be clear,       there is         no

22   notice requirement          as    a matter    of    constitutional          law.

23               THE    COURT:        But you didn't          even   include     it    in your

24   requests    to    charge;    in other words,             you misled me.           The point

25   is,   you know,     requests       to   charge     are    supposed to       anticipate the



                          SOUTHERN DISTRICT REPORTERS,                   P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page160 of 224
                                A-176


                                                                                                                     39
     KILVTEMI       corrected



 1   issues      that might           come up.        You've been sitting on this                         as    a

 2   possibility.

 3                  How the government missed this                            issue       and didn't raise

 4   it with me before                is   beyond me.            But    any       first- year      law student


 5   reading the Rule                16 disclosures          can       see that          the    case -- that

 6   the defense          is    going to hint          at    an advice             of    counsel defense

 7   here.       Whether        or not       it makes       it    or not,          I don't       know.     I

 8   don't know how you didn't disclose that.                                      It    looks    as   if you're

 9   hiding the ball.

10                 MR.     GELFAND:          Your Honor,           we're          not    hiding the ball

11   per   se.     As     a practical matter,                Rule       12    lists       three    specific

12   defenses       that have to be disclosed;                         this       isn't    one of them.

13   There's       case    law that          expressly says             that we don't have to

14   provide       advanced notice of this                   defense          in advance of trial.

15   There    is    some       cases where the --                I'm sorry,             where the

16   prosecution has                actually       affirmatively moved in limine or

17   otherwise       raised with the                court    aspects          of this          defense.        And

18   courts      have ruled in different ways                          on that.           But    that didn't

19   happen here.

20                 And so as           a practical matter,                   we're       entitled to put             on

21   a defense.

22                  THE    COURT:          I agree with you.                  I'm troubled by what

23   looks    to be this             strategic excision of                   it    from your requests                to

24   charge here.              It    looks    as   if you were trying to                       avoid a motion

25   in    limine being raised by not                   including it                in your requests             to



                                SOUTHERN DISTRICT REPORTERS,                            P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page161 of 224
                                A-177


                                                                                                    40
     KILVTEMI    corrected



 1   charge.     When       I asked for requests to              charge,    I don't want you

 2   to hide the ball             and leave out       the ones that would suggest

 3   motions    in limine.          And the problem is             that presumably,         had you

 4   included that          in your requests          to   charge,     the government would

 5   have been       sensitized to the            fact that this         issue was       there and

 6   we    could have ventilated whether this                     is   a case    in which advice

 7   of    counsel    is viable       or not pretrial.            And because you didn't

 8   include    it    in the requests to             charge,     we    can't do that.

 9               MR.    GELFAND:           Your Honor,      I appreciate what            the Court

10   is    saying.

11               THE    COURT:        It's      a sharp practice.          You're not       from

12   the    Southern District             of New York.          I can tell you in the

13   Southern District            of New York        a lawyer who        leaves    out    something

14   like that       that    they    are    considering would be regarded as


15   significantly below the                standards      of   ethics that we       anticipate

16   from lawyers       here.        I'm going to be very blunt with you.

17   That's    not good.

18               MR.    GELFAND:           Your Honor,      I can represent that that               is

19   certainly not          our    intention.

20               THE    COURT:        Let me      ask you this:          Did you think about

21   including an advice             of    counsel    instruction        in your requests          to

22   charge to me?          Was that        something that         crossed your mind?

23               MR.    GELFAND:           In   an academic way,        yes,     but we hadn't

24   fully --

25               THE    COURT:        So when you,         in an academic way,            thought



                             SOUTHERN DISTRICT REPORTERS,                 P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page162 of 224
                                A-178


                                                                                                             41
     KILVTEMI         corrected



 1   about      it,    tell me what            your academic thinking was                in deciding

 2   not   to    include         it,    when you       included the other things,               like


 3   unanimity.             In   other words,          what was       your thinking academically

 4   in not      including that?


 5                    MR.    GELFAND:          First    of    all,    not yet    having the

 6   totality         of discovery.             Second of          all --

 7                    THE    COURT:       Sorry.        Wait       a minute.

 8                    You're an officer of the                     Court.

 9                    MR.    GELFAND:          Yes,    your Honor.

10                    THE    COURT:       You know what the             allegations       are here.

11   The discovery as to                 an advice of counsel defense                   is uniquely

12   within the defendant's                    custody and control;             it   involves     your

13   client's         communications            with his       lawyer.       Whether     or not there

14   is    a defense to the              allegations          in the    indictment       does   not bear

15   on whether         or not         there    is    a potential       advice of       counsel

16   defense that            you are reserving the right to make.

17                    I understand that               if the       government's      discovery

18   teaches      you that there's               something blatant that                your client

19   didn't disclose to his                    lawyer you may think twice                about going

20   for that defense,                 I get    that.        But    it was   clearly very much           a

21   plausible possibility                 at the time             in an academic way you

22   decided not            to tell me that this might                  be   a defense.

23                    I've drafted the proposed                     jury charge      in this    case

24   already,         subject to         editing it          depending on how the          case comes

25   in.     I don't have              an advice       of    counsel defense because you had



                                 SOUTHERN DISTRICT REPORTERS,                   P.C.
                                           (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page163 of 224
                                A-179


                                                                                                              42
     KILVTEMI       corrected



 1   not    indicated you want                one.

 2                  Thank you.


 3                  I mean,       you know,          you've    got to elevate your game

 4   here.     That's       sleazy.


 5                  MR.    GELFAND:           Your Honor,       what    I can    say       is    that's

 6   certainly not my             intention.           That's       not how    I practice.

 7                  THE    COURT:        That's       all    great    and good,       but       it    looks

 8   like    it was.        Just because you                say that doesn't mean                it's     true.

 9   You thought          about    it    in an academic way;                you decided not to

10   include    it.

11                  I want the full             scope       of documentary evidence                   from

12   Mr.    Teman    and his       lawyer.           I want    it produced to me tonight.

13   And I want       you ready to produce                   it to the       government          the moment

14   that    I so    authorize          so that there's             no delay.

15                  Understood?

16                  MR.    GELFAND:           Yes,    your Honor.

17                  THE    COURT:        So    I want       you to have --       in       addition to

18   being produced to me,                have       a full pair       of hard copies                in   court

19   tomorrow morning             so that       if    I conclude       it    needs    to be produced,

20   you    can hand it over to the                   government       table.

21                  MR.    GELFAND:           Yes,    your Honor.

22                  THE    COURT:        All    right.

23                  Government,          anything?

24                  MR.   BHATIA:         Your Honor,          we    note that       at   this point

25   the defendant          still       has    not waived privilege over these topics,



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page164 of 224
                                A-180


                                                                                                   43
     KILVTEMI    corrected



 1   so we    couldn't    request    discovery.        These       are documents          we'd

 2   request,    but    even as    of today of    jury      selection,           there's been


 3   no waiver    of privilege.

 4               THE    COURT:     Sorry.     Did you ask          for documents          relating

 5   to    communications    between Mr.       Teman    and his          counsel?

 6               MR.    BHATIA:     So that was       actually the          next       topic    I was

 7   just    about to get    into.

 8               We    served grand    jury    subpoenas,          as you know,          in

 9   December.        And for those    subpoenas,       we requested the basis                   for

10   any believed authority to deposit                these    checks,          among other

11   things.

12               THE    COURT:     Right.     Sorry.

13               But    that was    a grand    jury    subpoena that             you    submitted

14   a few weeks before the trial was             scheduled.              And    I have

15   determined that,       given the date on which you                   submitted them,

16   right before Christmas,          weeks before the trial,                   I respect       that

17   you represent there's          a bona    fide basis       for       seeking a

18   superseder and will          assess that    for    sure       after the end of the

19   trial.     That's    a grand    jury    subpoena;      that's        not    about    the

20   charges brought here.           Bottom line       is   it wasn't           realistic to

21   get    that material    in time.

22               MR.    BHATIA:     Your Honor,       I think       it    goes    to the idea

23   they knew we were       asking about       the perceived authority.                       And I


24   think to get       to this    trial,    immediately after your Honor's

25   ruling,    I believe    it was    January    10th,       we    served trial



                          SOUTHERN DISTRICT REPORTERS,                   P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page165 of 224
                                A-181


                                                                                                 44
     KILVTEMI    corrected



 1   subpoenas.

 2               THE       COURT:     Right.


 3               MR.       BHATIA:     We    served them electronically to defense

 4   counsel,    who had accepted them electronically in the past.


 5   This   time they        just    never    got back to us      on whether they were

 6   accepting service.              And we    found out     Friday that      they weren't

 7   accepting service.

 8               THE       COURT:     Defense    counsel,      is that true?

 9               Sit       down.     One moment.

10               Is    that true?

11               MR.       DiRUZZO:     Yes.     But    I just want     to make     sure --

12               THE       COURT:     Are you telling me that           on January       10th,

13   having previously accepted service of                     subpoenas,     you declined

14   to accept    service?

15               MR.       DiRUZZO:     Your Honor,       I don't believe we've ever

16   accepted service previously on                a grand      jury   subpoena.

17               THE       COURT:     I'm not    talking about the         grand jury

18   subpoena,    and you know that.              Mr.   Bhatia has      said they       served

19   you trial    subpoenas,          after    I made   it    clear that      the grand    jury

20   subpoena wouldn't             be resolved until         after this    trial   is   over.

21               Yes       or no,    did you receive trial         subpoenas       from the

22   government       on or after       January    10th?

23               MR.       DiRUZZO:     Yes,    we received --

24               THE       COURT:     Did you accept         service   of those trial

25   subpoenas,       as    I gather    counsel had been accepting service



                             SOUTHERN DISTRICT REPORTERS,              P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page166 of 224
                                A-182


                                                                                              45
     KILVTEMI       corrected



 1   throughout,          yes    or no?

 2                  MR.    DiRUZZO:        No,    we did not    accept    service.


 3                  THE    COURT:     All right.

 4                  Government,       please       serve Mr.    Teman with those


 5   subpoenas       right now.           Defense,    those    are to be responded to by

 6   5:01 p.m.       today.

 7                  Defense counsel,             you are    in the process      of blowing

 8   your credibility with the                   Court.     Did you tell    government

 9   counsel -- when did you tell                   government    counsel that you would

10   not    accept    service of the             subpoenas that were       served?

11                  MR.    DiRUZZO:        Your    Honor,    I don't want       to make a

12   misrepresentation to the Court.

13                  THE    COURT:     Good.

14                  MR.    DiRUZZO:        We had numerous phone calls between the

15   four    attorneys          before you.        I can't    say for    sure when exactly

16   the    conversation was,             but    I know for    sure that we never made

17   representations             that we had the authority on behalf               of   our

18   client    to    accept       service.

19                  THE    COURT:     Look,       do you dispute that       on or about

20   January    10th,       Mr.    Bhatia emailed you trial             subpoenas?

21                  MR.    DiRUZZO:        That    I do not    dispute.

22                  THE    COURT:     And did you          say anything to him indicating

23   that you were not             accepting       service    of those?

24                  MR.    DiRUZZO:        I believe that we had email

25   correspondence,             and we    indicated that we were not            authorized to



                                SOUTHERN DISTRICT REPORTERS,             P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page167 of 224
                                A-183


                                                                                                   46
     KILVTEMI    corrected



 1   accept    service.

 2               THE    COURT:     What      day was       that?


 3               MR.    DiRUZZO:       Your Honor,          I would have to check my

 4   emails.     I can't       say for      sure.


 5               THE    COURT:     Mr.      Bhatia?

 6               MR.    BHATIA:       Your Honor,          my recollection of the

 7   timeline is       this:     On January         10th,    which was the day of the

 8   Court's    conference,       I think        now maybe     a little      over a week      ago,

 9   we   served the     subpoenas.          Your    Honor,    at that      conference,      had

10   requested the defense to respond to the grand                          jury   subpoena

11   petition to quash by          last      Friday.        So that was      the   17th.

12               THE    COURT:     I understand.             That relates      to the grand

13   jury.     I'm focused on this            trial here.

14               MR.    BHATIA:       So,    your    Honor,    it's    relevant because


15   that was    the    first time we had heard in their filing that                         they

16   weren't    accepting service.

17               THE    COURT:     When was         that,    on what    day?

18               MR.    BHATIA:       I believe January             18th,   this   last Friday.

19   So we    saw in a filing that defense counsel                     said we had

20   attempted to       serve    subpoenas.          And    so that prompted in        our

21   mind,    maybe    for the    first      time defense          counsel may not be

22   serving these       subpoenas.         At    that point we emailed defense

23   counsel    to    say,   Do you    accept       service?       Please    let us   know

24   promptly.

25               THE    COURT:     All right.



                             SOUTHERN DISTRICT REPORTERS,               P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page168 of 224
                                A-184


                                                                                               47
     KILVTEMI       corrected



 1                  MR.   BHATIA:     And we heard at that point --

 2                  THE   COURT:     Mr.    Gelfand,    is   government's        factual


 3   representation         correct    that    it wasn't until the -- what did you

 4   say,    the    18th or the      17th?


 5                  MR.   BHATIA:     The    18th,    your Honor.

 6                  THE   COURT: --        it wasn't    until    the    18th that you

 7   expressly conveyed you weren't                  accepting    service?

 8                  MR.   DiRUZZO:     I have no reason to doubt                or contest   the

 9   government's         representation       at    this point,       Judge.     I don't have

10   the    emails    in front      of me.     I just --      I can't     say no.     I have

11   to    say --

12                  THE   COURT:     Government,       please,    I'm going to take a

13   two-minute recess.             Government,       serve the defendant          right   now.

14                  (Recess)


15                  (Continued on next page)

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                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page169 of 224
                                A-185


                                                                                                       48
     K1L7TEM2



 1               THE   COURT:        Government,            have you now served the trial

 2   subpoenas    on the defendant?

 3               MR.   BHATIA:        Your Honor,            to be   clear,    at    the beginning

 4   of the    conference when         I asked to            serve   a subpoena,          that's   when


 5   I served the      if- as- when        subpoena,         and at the      second break          I

 6   served the three trial            subpoenas            on the   corporate       entities,

 7   which we had sent --

 8               THE   COURT:       Very good.              And that's      separate.

 9               MR.   BHATIA:        All    four       of them have        now been       served --

10   and we    can give you         a copy,       your Honor -- three trial

11   subpoenas,    three      corporate entities,                 and one    if- as- when

12   subpoena to the defendant.

13               THE   COURT:        Defense          counsel,    Mr.   Gelfand,      you    are

14   telling me now that the defendant                       is   going to be defending on


15   grounds    of advice      of    counsel,          correct?

16               MR.   DIRUZZO:        Yes,       your Honor,        that's what we          intend.

17               THE   COURT:       All right.              You are,    I take      it,    therefore

18   waiving the privilege            as    it    relates to         communications with his

19   counsel    on this      subject.

20               MR.   DIRUZZO:        I believe we have to.                  I believe that's

21   the nature --

22               THE   COURT:        There       is    no   attorney/client privilege now

23   that   survives    as    it    relates to the defendant's                 communications

24   with his    counsel Mr.         Reinitz          with respect      to the      issues    in this

25   litigation --      in this       case.



                          SOUTHERN DISTRICT REPORTERS,                      P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page170 of 224
                                A-186


                                                                                                          49
     K1L7TEM2



 1                     MR.   DIRUZZO:       With that      important         caveat,      the    issues

 2   in this       litigation,         because   obviously my client has                   extensive


 3   dealings with other               litigations,       other       simple    stuff.

 4                     THE   COURT:     Attorney/client privilege                  is    a subject


 5   matter       concept.       The    subject matter here                involves Mr.         Teman's

 6   dealings with the            customers who were denominated as                        entities       1,

 7   2,    3 and       4.    I take    it   that's the      scope of the waiver.

 8                     MR.   DIRUZZO:       Right.

 9                     THE   COURT:     And obviously therefore the                     checks

10   purportedly drawn on the                 accounts      of those entities              that    are at

11   issue in this            case,    you agree that too             is   within the       scope of

12   the waiver.

13                     MR.   DIRUZZO:       Right.

14                     THE   COURT:     All right.        Here     is what      I would like to


15   do.     It's       10   o'clock.       I think we      are    safe,     Mr.     Smallman tells

16   me,    for a half hour            just while the           jury gets      acclimated.          If no

17   one has       anything else to raise,                I will      be back here         at,    let us

18   say,    at    10:25.       I invite      counsel to do whatever research you

19   can    in the interim with respect to the                        advice of         counsel

20   defense.

21                     One of the      immediate     issues       for me      involves      the

22   defense's          opening statement.           It    is   not    crystal       clear to me

23   whether the government                 has done      anything to date that has

24   created an obligation on the defense to disclose the potential

25   advice       of    counsel defense here.              It's    not      clear to me either



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                                         (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page171 of 224
                                A-187


                                                                                                             50
     K1L7TEM2



 1   what    if any       free-standing obligation the defense might have had

 2   with respect to that point.                     A natural           issue    is    under the


 3   circumstances here where the defense did not volunteer                                      the

 4   advice    of    counsel      defense       or    include       a proposed instruction to


 5   that    effect,      whether the defense                should be permitted to open on

 6   that point.           I'm not      expressing a view one way or the other,

 7   but    I would welcome          some   legal       guidance on that point.                   I will

 8   see you in       25 minutes.

 9                  MR.   BHATIA:        Your Honor,          I just want to             say on the

10   topic of timing of when the                     advice of          counsel    could present

11   itself,    the government            expects       that       it    could close --         I should

12   say it    could rest         its    case as       early as          tomorrow afternoon.             So,

13   I think nothing you have               said about            timing,        briefings      and

14   discovery would get             in the way of that,                  but we       just wanted to

15   give your       Honor    some      notice that          it    could be as          early as --

16                  THE    COURT:       Well,    I appreciate that,                and that's         good

17   to know,       and obviously the defense                     needs    to have       its   witnesses

18   here at the          close   of the government's                   case.

19                  The immediate         issue,       given the emergence                of a possible

20   or apparently          committed advice            of    counsel       defense       is   whether

21   there has       been    some breach with respect to notice                           and what      if

22   any implications there               are    for the defense opening.

23                  I want to reserve on that.                      One possible          outcome here

24   is    that we defer openings               until    tomorrow morning                just to make

25   sure that       I get this         right.        It has       somehow gone unaddressed by



                             SOUTHERN DISTRICT REPORTERS,                        P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page172 of 224
                                A-188


                                                                                                      51
     K1L7TEM2



 1   all    counsel.

 2                  Again       I will    see you at       10:30,     and please be prepared


 3   to give me guidance on that then.                       Thank you.

 4                  Mr.    Imperatore?


 5                  MR.    IMPERATORE:           I just want to raise              an issue with

 6   respect to notice             on advice       of   counsel.       It's    still       not   crystal

 7   clear to the government                   from what   defense has         said -- even

 8   assuming that what they've disclosed on the record today

 9   constitutes          notice -- whether the             advice that was              sought really

10   goes    to the       central    issue       in this    case,     which is whether Mr.

11   Teman had authorization to deposit the                         checks,        as    opposed to

12   some    collateral         issue that the          lawyer   could have been involved

13   in,    for    example,       collection efforts with respect                       to Bank of

14   America.


15                  So we're asking for whether,                 in    connection with notice

16   here,    did the defendant                actually    seek before        acting a lawyer's

17   advice with respect             to depositing the           checks       at    issue in this

18   case.        It's    not   clear to us        from what has        been       said whether

19   that    actually took place.

20                  THE    COURT:        That    is what    I understood to be the

21   central       issue here.           The    central dispute        is whether or not Mr.

22   Teman had the authority to                   create    and deposit these              customer

23   checks,       and the intent          to defraud element,           that       is,    the mens

24   rea with respect to             essentially both bank              and wire fraud

25   centrally turns            on that        issue.



                                SOUTHERN DISTRICT REPORTERS,              P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page173 of 224
                                A-189


                                                                                                           52
     K1L7TEM2



 1                  The defense          appears    to be representing that                a lawyer

 2   told Mr.       Teman       on a full presentation of the                facts       that he had

 3   the    legal    right to do what he did.                 And,    defense       counsel,

 4   that's    the question             I am putting to you.             The documents           you


 5   will    be producing to me                at the    close of the trial             today    I

 6   expect will          shed more       light    on whether that         really happened.                  I

 7   will    see you at          10:30.

 8                  (Recess)

 9                  THE    COURT:       All right.         Back on the record.                 It's

10   10:40.     I am told that             the    jury venire will         be here        at    about

11   10:45,    so we will          be getting going with             jury selection             shortly.

12   Let me    just       ask if       in the    short    interim period if             counsel       have

13   found any apposite                legal    authority that bears          on whether there

14   was    either    in general          or on the       facts   here     a notice       obligation


15   on the part          of the defense.           Yes?

16                  MR.    DIRUZZO:        Your Honor,       moments       ago we       e-mailed your

17   chambers,       cc'ing counsel             for the government,          the    case United

18   States    v.    Wilkerson,          388    F.Supp.    3rd 969,      a 2019     case out          of

19   the Eastern District                of Tennessee that          addressed a government

20   motion    in    limine       in    a healthcare       fraud case where the

21   government       attempted to move             in limine to require the defendant

22   to disclose          an    advice of       counsel    defense    in    advance       of trial.

23   Your Honor,          that    case we       submit    is well    reasoned,          with

24   citations       not       only to the       Second Circuit       case of       Scully but

25   also to the          Supreme       Court's    decision in Wardius             v.    Oregon,       412



                                SOUTHERN DISTRICT REPORTERS,               P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page174 of 224
                                A-190


                                                                                                          53
     K1L7TEM2



 1   U.S.    470    at    476,       a 1973    case.        We believe this         case    stands      for

 2   the proposition that                an advice          of   counsel defense,          one,    is   not

 3   an affirmative defense,                   as   that     concept    is   known under          the

 4   civil rules,          under Federal Civil Procedure                     8,    and that       it would


 5   be unconstitutional to require                         a defendant to         affirmatively

 6   require him to provide this                      information       in advance of trial              to

 7   the government,             and that       in particular Rule            16,    Rule    12.1.2.3

 8   do not provide             or    impose that       obligation upon a criminal

 9   defendant.

10                  The    court       in that       case    further    notes that         a criminal

11   defendant might make up their minds                           and tell       everyone ahead of

12   trial.        On the       other hand,         the defendant        could wait         and decide

13   what defenses          if any to raise once they see what                        evidence the

14   government presents.

15                  So we       submit that this             case the Court         should adopt         and

16   it    stands    for the proposition that what happened here,

17   especially given that the government did not                                 affirmatively move

18   in    limine,       even though the Court                   in the Wilkerson case

19   addressed in that                context       and denied the government's motion                    in

20   limine,       that    it    just    adds       to we believe this            Court will be

21   settled position to                allow us       to not      only raise       an advice of

22   counsel defense but what happened here was                              appropriate under

23   the    circumstances.

24                  THE    COURT:        May    I ask you if Wilkerson identifies                       any

25   contrary authority?



                                SOUTHERN DISTRICT REPORTERS,                  P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page175 of 224
                                A-191


                                                                                                           54
     K1L7TEM2



 1                  MR.    DIRUZZO:     Yes.        Wilkerson did say that                      this   issue

 2   was    not without different views,                      and Wilkerson          at    the bottom of

 3   page    4 of the West.Law pdf does                      cite to    a D.C.       District Court

 4   case,    U.S.    v.    Crowder,    325 F.Supp.             third    131.        It's       a 2018


 5   case.        And it    cites to    also United States v.                   Meredith,          a

 6   Western District of Kentucky case.

 7                  THE    COURT:     Very good.              Thank you.

 8                  All    right.     Government,             anything?

 9                  MR.    BHATIA:     Your Honor,             I think    at    least upon a quick

10   review Wilkerson might             be different             in the    sense that here the

11   government --

12                  THE    COURT:     I will       ask you       if you found any authority

13   supporting an application to preclude the defense                                     from pursuing

14   an advice       of    counsel    defense either             in general          or    in their


15   opening.

16                  MR.    BHATIA:     No,    your       Honor.

17                  THE    COURT:     Are you asking me to preclude that?

18                  MR.    BHATIA:     At this point we're                not    asking your Honor

19   to preclude          it,   but we do have           a different       specific request

20   related to the             advice of    counsel defense.

21                  The government,          of    course,       has    conferred with people

22   in the       office and thought          about this          issue.        At this point the

23   government doesn't have                a lot       of    facts    about    it.        As    you know,

24   we    just    learned about       it.        The    government       is    therefore

25   requesting an adjournment                of    jury       selection       for    24    hours.       The



                                SOUTHERN DISTRICT REPORTERS,                   P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page176 of 224
                                A-192


                                                                                                           55
     K1L7TEM2



 1   purpose of that          is    that we're          concerned about          swearing   in    a

 2   jury and having          jeopardy attach prior to really knowing

 3   anything about          this    defense       and what       the trial might         look    like,

 4   what    the    scope    of discovery          is.     I don't       know    if -- we're


 5   prepared it          take on    a heavy       lift,    your Honor,          of   course,    to

 6   review this          and ensure that          the Court       and the parties'

 7   schedules       are not       interrupted unduly,             but    at    the   same time       it

 8   does    raise    some concern about having a panel                         sworn while      at    the

 9   same time there might be dozens                      or hundreds          of thousands      of

10   pages    of discovery out             there.        There might be obligations               that

11   we have to put          on a case       in which we're responding to this

12   advice    of    counsel       defense,       which    itself       could -- we      just don't

13   know a lot,          your Honor,       and so       for that       reason we would request

14   an adjournment          for    24   hours     to    select    a jury,       and that will

15   allow the Court and the government to evaluate whether                                 there

16   might be a need for a further adjournment                            or whether      there       is   a

17   need for motion practice.                    It will       give us    those options,         and

18   we believe that          swearing       in    a jury now is          going to preclude            a

19   lot    of those options.

20                  THE    COURT:        Defense?

21                  MR.    DIRUZZO:        Your Honor,          we don't believe that's

22   called for under the                circumstances,          given that       the defense

23   doesn't have an obligation to                      front    this    information under the

24   rules,    and given that the             government          just    last week produced

25   over    5,000 pages       of documents.



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page177 of 224
                                A-193


                                                                                                                 56
     K1L7TEM2



 1                  THE   COURT:        I'm sorry.           Wait    a minute.              Maybe you're

 2   right    and maybe you're wrong.                   And    let's       assume even that


 3   you're more          likely right than wrong that there                           is    no

 4   obligation.          What    is   the harm in waiting 24                    hours?           In    other


 5   words,    I could have had more opportunity to reflect                                       on this

 6   issue had,       for    example,      you    included this             in your request                 to

 7   charge.        The only reason this               issue       came up was because when                      I

 8   read the Rule          16   binder    it    leapt       out    at me    as    something that

 9   had gone unaddressed but                  I thought       it's    obvious that                the

10   defense must be considering                  such a motion.                 Had    I not raised

11   it,   we would have been off to the races.                             What       is    the practical

12   harm in waiting 24 hours?                   I mean your          client       is way within his

13   speedy trial rights.                The trial has been -- the                      indictment was

14   of relatively recent vintage.                      My    job    is to get things                   right.


15   What's    the harm in a 24 hour delay?

16                  MR.   DIRUZZO:        Your Honor,          may    I have one minute?

17                  THE   COURT:       Yes.      Your client          is    not    in custody.

18                  MR.   DIRUZZO:        Your Honor,          we would defer to the Court.

19                  THE   COURT:        I mean,       look,    I'm listening,                as    you can

20   tell,    but    on the one         side    of the equation             is    the       incremental

21   inconvenience and extra night                     in    a hotel room for                counsel,        the

22   trial    starting a day            late.     On the       flip    side -- but                there     is

23   not   a lot     else --      on the       flip    side this       is    a consequential

24   issue,    and the risk            of picking a jury now --                   if there             is

25   perhaps    going to be            a longer       adjournment          for    some reason



                             SOUTHERN DISTRICT REPORTERS,                        P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page178 of 224
                                A-194


                                                                                                                57
     K1L7TEM2



 1   unexpected,       if the    jury has             been    impaneled we have all                  sorts      of

 2   double    jeopardy issues.

 3               Mr.    Bhatia       is    right       if    I pick       a jury      and swear          a jury

 4   that    in practice puts us                on    a time gun.              I still      expect the


 5   trial will begin tomorrow,                      but    this    gives      us    a chance this

 6   afternoon to work through the                         issues,       the volume of materials

 7   in question,       to determine whether                   or not you have               an obligation

 8   to produce those materials                      in response to the               subpoenas.           It

 9   seems    to me that better to make those decisions without the

10   artificial urgency of                an    impaneled          jury.

11               Do you have          a counter             argument?

12               MR.    DIRUZZO:           No.

13               THE    COURT:        Counsel,             I think what          I'm going to do is

14   as   follows:      I think we will                adjourn       jury selection to               9:30

15   tomorrow,    but    I want       to       see you this          afternoon.             May    I suggest

16   that we reconvene          at    2 p.m.?              I know you're            free.     And I really

17   want    to work through the                full range          of    issues      here.        I want to

18   understand --       off the record.

19               I will    see you at                2 p.m.    but       I want      to work through

20   the range    of issues.              I was       about    to,       Mr.    Gelfand,      go through

21   those -- Mr.       DiRuzzo.

22               MR.    DIRUZZO:           Your Honor,             given the Court's              ruling

23   regarding the production of documents                               at    5 o'clock,         just    after

24   5 o'clock today,       we       are going to have our                      client dilligently

25   work on that       and pull the             stuff together to                  comply.



                          SOUTHERN DISTRICT REPORTERS,                              P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page179 of 224
                                A-195


                                                                                                              58
     K1L7TEM2



 1   Obviously -- well,                not   obviously --        it's    going to take             a little

 2   bit    of time       and we're          concerned about meeting the Court's

 3   deadline.        So,       we would like the Court             to    consider          if Mr.      Teman

 4   could be excused from the                   2 o'clock hearing.                 That way he         can


 5   get    right    on    it    and there won't be          any delay          in meeting the

 6   Court's    deadline.              I just want       to bring that          to the Court's

 7   tension.

 8                  THE    COURT:        I'm sorry.        Don't    you have          a legal

 9   assistant       at    one of your offices who                could do that?              This      is

10   important.           This    involves       the    attorney/client             advice.       Mr.

11   Teman    is --       counsel,       when    I speak to you please don't                      speak to

12   somebody else.

13                  Mr.    Teman ought to be part                of the brain trust here

14   that    considers          what    I am going to be raising at                   2 o'clock.

15   There will be          issues       about whether or not            there        is    anything         in

16   the rules       or    your    correspondence that precludes                      this    issue from

17   being raised in opening or pursued at trial.                                   Thus    far    I'm not

18   seeing anything that precludes                      that,   but     I want       to be       careful

19   about    it.     I want to be             sure that    I'm making a thoughtful

20   judgment       about       the production of documents,                   if    any,    that    is

21   required here.              And    it    seems    to me that the discussion we have

22   may be    informative to Mr.                Teman as to the risks                and rewards            of

23   pursuing this          line of defense.

24                  I am certainly aware of                cases    in which defendants have

25   regretted running up the flag pole                      advice       of    counsel defenses



                                SOUTHERN DISTRICT REPORTERS,                   P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page180 of 224
                                A-196


                                                                                                         59
     K1L7TEM2



 1   only to find that             the facts         did not bear out          the predicates         for

 2   that.     That's       a risk that         a defendant who pursues                this   route

 3   runs.     There may be a real value for Mr.                        Teman as       I gather      a

 4   nonlawyer to hear counsel's                     colloquy with the Court.

 5                  MR.    DIRUZZO:       OK.        How about this,       your Honor,         for

 6   your    consideration?             We believe that we will                be able to produce

 7   to the government             some documents by the Court's deadline.                           I

 8   want    to build in a little bit                  of    slack    so that we       could produce

 9   a couple hours             later   just    to make       sure we have       all the

10   documents       that       the government wants               and that way alleviate my

11   concern that          if we don't have            strict       compliance with the

12   Court's    order by          5:01 that we might               subject my client to           some

13   type of    contempt proceeding or what                        have you.

14                  THE    COURT:       Mr.    DiRuzzo,       you are prepared to produce


15   to the    court pursuant to my request,                        and to the government

16   pursuant to          its    subpoena,      at    5:01    a good amount       of the

17   responsive materials,               but    given       just    the press    of business         you

18   would ask       for leave to         continue the rolling production                     into the

19   evening.

20                  MR.    DIRUZZO:       Yes.       And we        anticipate the production

21   would come to the             government via            like a Drop Box type vehicle

22   manner.

23                  THE    COURT:       OK.     But the       concept    here    is    that   the

24   government will            receive the          full production this             evening;      it's

25   just    that    it may come         in    several tranches          beginning at         5



                                SOUTHERN DISTRICT REPORTERS,               P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page181 of 224
                                A-197


                                                                                                  60
     K1L7TEM2



 1   o'clock.

 2               MR.    DIRUZZO:     Exactly.


 3               THE    COURT:     But what you're not            going to be doing is

 4   objecting to the obligation to produce.


 5               MR.    DIRUZZO:     Correct.

 6               THE    COURT:     OK.     Can you estimate for me what              the

 7   volume    of the    communications          of the documents here looks            like?

 8               MR.    DIRUZZO:     May    I inquire with my client?

 9               THE    COURT:     Yes,    of    course.

10               MR.    DIRUZZO:     Your       Honor,    it's my understanding that

11   it's   hundreds     of e-mails       spread over a timeframe of multiple

12   years,    and it would not          surprise me that multiple            of   these

13   e-mails    have embedded attachments                in them.    We believe that          a

14   good majority of these          e-mails       are already in the possession of

15   the government because these e-mails                   were directed to ABJ,

16   Coney and DiRuzzo.

17               THE    COURT:     And who were the parties            to these       e-mails?

18   These are    e-mails    that would,          you    say,   be privileged but       for

19   the waiver of the privilege,                or not?

20               MR.    DIRUZZO:     No,    I'm referring to the            subpoena

21   directed at       the corporations,          where the Court      ordered for us         to

22   produce those       corporate documents,             records that      are    subpoena to

23   subpoena duces       tecum by       5:01.     Those responsive documents              would

24   be e-mails between Mr.          Teman and individuals            at    GateGuard,

25   mainly Mr.    Teman,    Mr.    Teman attorney Mr.            Reinitz    and the



                          SOUTHERN DISTRICT REPORTERS,               P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page182 of 224
                                A-198


                                                                                                           61
     K1L7TEM2



 1   individuals      associated with ABJ,                Coney   and Mercer.

 2              THE    COURT:        Let me break this down.                   There      are really


 3   two distinct document            issues       here.       There    is    likely

 4   considerable overlap among them,                    but    just    to be precise one


 5   issue involves         the government's trial                subpoenas which they

 6   thought they had effectively                  served on you on January                    10    and

 7   which you notified them on the                     18th or   so you were not

 8   accepting service         of    and therefore          I ordered be            served today

 9   and be responded to today,               given the disappointing gamesmanship

10   at the back table         about       those    subpoenas.

11              MR.    DIRUZZO:        That's what          I was referring to,                 correct.

12              THE    COURT:        Right.        As   to those,       will those materials

13   contain attorney/client               communications with the                  attorney at

14   issue here Mr.         Reinitz?


15              MR.    DIRUZZO:        No.     We have Mr.         Reinitz -- during the

16   break   I was    on the phone with him -- that                     being Mr.         Reinitz --

17   letting him know he needs               to pull       together      all    of the e-mails

18   between Mr.      Reinitz       and Mr.    Teman,       and he      is working on that.

19   That was   not what       I was       referring to.          Because       I believe your

20   Honor   said that we had produced those to you tonight                                and be

21   prepared to produce those.

22              THE    COURT:        OK.     But    are those responsive?                  Because

23   they're coming         from Reinitz,          you're      saying they are not

24   responsive to the         government's             subpoenas to the company?                     I

25   mean Reinitz      is    an agent       of the company,            right?        He   is    an



                            SOUTHERN DISTRICT REPORTERS,                     P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page183 of 224
                                A-199


                                                                                                              62
     K1L7TEM2



 1   employee.     So if the          subject matter of the government's                           trial

 2   subpoena    includes      employees        or    agents       of the    company,

 3   presumably it       covers       Reinitz.        Is    he outside       lawyer         or    is    he an

 4   employee of the company?


 5               MR.   DIRUZZO:         Outside       lawyer.

 6               THE    COURT:        But he    is    an    agent    of the       company?             He    is

 7   a client?     The principal          is the          company;    he    is    their agent?

 8               MR.   DIRUZZO:         Mr.    Reinitz       would be Mr.             Teman's      and

 9   Gate Guard's       agent,    yes.

10               THE    COURT:        And does the          subpoena       from the government

11   require the production materials                      in the    company's          custody,

12   possession and control?

13               MR.   DIRUZZO:         With the Court's             indulgence.              Yes,      your

14   Honor,   paragraph 3.


15               THE    COURT:        All right.           By definition,             the   agent       is

16   controlled by the principal.                    It    seems    to me that          you      can't

17   claim that Reinitz          is    outside the          company's       control.             He is

18   their lawyer.        If the       client    says       give me your reports,                  the

19   lawyer has    to produce those.

20               So,   with the benefit              of this       colloquy       and you're now

21   having focused a little more on the                      subpoena,          is    it your         still

22   your view that materials physically possessed by Reinitz                                          are

23   outside the       scope   of the government              subpoena?

24               MR.   DIRUZZO:         No,    your Honor.           But    if    I may clarify,                  I

25   was   looking for     a little bit more time                   for my client Mr.                  Teman



                          SOUTHERN DISTRICT REPORTERS,                      P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page184 of 224
                                A-200


                                                                                                          63
     K1L7TEM2



 1   to provide the documents                  to the government that                  are responsive

 2   to the trial         subpoena served on the                  entities.           Separate and

 3   apart,    Mr.    Reinitz      is    working as --

 4                  THE   COURT:        But    it's   not    separate          and apart,       Mr.


 5   DiRuzzo.        If Reinitz         is    an agent      of the    company and the

 6   government       subpoena to the              company picks up documents possessed

 7   in the    company's       control.            That    includes the          agents    that the

 8   company    controls;       that         includes      Reinitz.

 9                  And you're      not disagreeing with that.                         You're nodding.

10                  MR.   DIRUZZO:           No,   I agree there          is    a substantial

11   overlap.

12                  THE   COURT:        So    let's put      aside my request             for    advice

13   of   counsel     related documents.                  Let's    focus       simply on the

14   government       subpoena.          In terms         of the    content          of that    subpoena

15   does -- any reason to think                    it doesn't       reach communications

16   between Reinitz         and the          company,      including its             Officer    Teman

17   relating to the matters                  at   issue    in this       case.        I assume it

18   must   reach that.         I haven't           seen the       subpoena.

19                  MR.   DIRUZZO:           I would agree.          There may be          some

20   exceptions but         for the most part               I agree.

21                  THE   COURT:        If that's         really the       case,       we are really

22   talking about         attorney/client            communications             I take    it    that

23   are --    or    communications relating to                    advice       of    counsel    that    are

24   both responsive to the                  government's         trial    subpoena and to my

25   oral   court     order.



                            SOUTHERN DISTRICT REPORTERS,                       P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page185 of 224
                                A-201


                                                                                                        64
     K1L7TEM2



 1                 MR.    DIRUZZO:        Exactly.

 2                 THE    COURT:        So,    let's    focus    on government       subpoena


 3   here.     You with waived privilege with respect to the

 4   attorney/client            communications          bounded by the       subject matter of

 5   this    case.

 6                 MR.    DIRUZZO:        Correct.

 7                 THE    COURT:       You have        agreed to produce materials

 8   responsive to the            subpoena to the          government       today beginning at

 9   5 o'clock       and then rolling in the               evening,    correct?

10                 MR.    DIRUZZO:        Correct.

11                 THE    COURT:        So QED,       to the    extent that       attorney/client

12   communications         are responsive to the                subpoena,    those will         be

13   produced today whether               from the       servers    of the    company directly

14   or    from its      agent    Reinitz,       correct?

15                 MR.    DIRUZZO:        Correct.

16                 THE    COURT:       OK.      And so your       application is       simply         for

17   grace on my part to relieve you from the obligation to produce

18   all    that   at    501.     You are prepared to produce                as much as       you

19   can by 5:01         and the balance rolling in the evening as                        fast     as

20   you    can.

21                 MR.    DIRUZZO:        Exactly.

22                 THE    COURT:       But to be        clear,    in effect that       is    going

23   to discharge,         it    sounds       like,    the production obligation of my

24   separate oral         order       about    advice of       counsel,    because it doesn't

25   sound like there            are    advice    of    counsel documents         other     than



                            SOUTHERN DISTRICT REPORTERS,                   P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page186 of 224
                                A-202


                                                                                                           65
     K1L7TEM2



 1   that    are possessed by the                company or         its    legal    agent Reinitz,

 2   correct?

 3                  MR.   DIRUZZO:         Correct.

 4                  THE    COURT:       OK.      So    I think we're dealing with one


 5   issue,    not two,       and       I would welcome then receiving on the                        same

 6   schedule as          the government the documents that you are producing

 7   to the government.

 8                  MR.   DIRUZZO:         OK.

 9                  THE    COURT:       I am just           trying to make this            easy,    but    I

10   think working through this,                      given the privilege waiver,                  given

11   that    the attorney          is   an agent           of the   company,       and given that

12   the government's             subpoena       is    broad enough to pick up the

13   attorney/client          communications                here,   it    seems    to me    all this

14   stuff gets produced tonight pursuant                           to the    subpoena.        You are

15   not    disagreeing with that,                are you?

16                  MR.    DIRUZZO:        No.        My    concern      I want to make       sure my

17   client    is    not held in contempt                   because we      couldn't get

18   everything out          at    5:01.

19                  THE    COURT:       Before        I bless what         sounds    like a

20   reasonable proposal,               let me hear           from the      government.        Mr.

21   Bhatia?

22                  MR.   BHATIA:        May we have           just      a moment?

23                  THE    COURT:       Yes.

24                  MR.   BHATIA:        So,     to be       clear,      we understand that          the

25   subpoenas       will    cover records             sufficient to establish the                  advice



                             SOUTHERN DISTRICT REPORTERS,                     P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page187 of 224
                                A-203


                                                                                                              66
     K1L7TEM2



 1   of   counsel defense,          the one       at    trial,       but we do reserve --

 2              THE    COURT:        Does       your    subpoena -- without perhaps


 3   literally saying those words,                     because       it    sounds       like you

 4   haven't given thought to the                  advice       of    counsel defense until                   I


 5   raised it -- does         the    subpoena nevertheless                      in    its verbal

 6   formulation,      is    it broad enough to pick up materials                            that       are

 7   responsive to the         advice of          counsel defense?

 8              MR.    BHATIA:        The       subpoena       could pick up             some records

 9   that   are responsive -- that would implicate the                                  advice   of

10   counsel defense -- but               it may not       encompass             all of them.

11              THE    COURT:        Look,       you may sit          down.           I just want       to be

12   able to    look at Mr.         DiRuzzo.

13              Counsel,       I am trying to be                a force          for    clarity and

14   good here.       It    seems    to me that          given the privilege waiver here


15   what   I don't want       to have happen             is    that because the

16   government's      formulation          in    its    January          10    subpoena may have

17   not picked up the words " advice of                       counsel"          the defense winds

18   up making an incomplete production.

19              Mr.    Bhatia,       if    it    is your       intention to broaden the

20   subpoena that you wrote on January                        10    and served today to pick

21   that up,   may I suggest             you take the          subpoena back,             handwrite in

22   "sufficient"      to pick up the balance                   of those documents,                so

23   there is   no technical          issue here under which the defense is

24   able to    claim that      certain documents                   fell       outside    of the

25   subpoena    calls.



                            SOUTHERN DISTRICT REPORTERS,                         P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page188 of 224
                                A-204


                                                                                                           67
     K1L7TEM2



 1                  Mr.   DiRuzzo     is    helping you here because he                  is

 2   acknowledging his             expectation on            a first read that the             subpoena

 3   already picks          that    stuff up,       but      just    so we don't have          any

 4   verbal    gamesmanship here,             the better            course --    and I will          take


 5   a five minute recess             now --       is    to modify the         subpoena to

 6   explicitly pick up communications                        bearing on advice          of    counsel

 7   with respect         to the matters           at    issue      in this    case.

 8                  MR.   BHATIA:      We will.

 9                  THE   COURT:      I think that            solves    our -- that       closes

10   that    gap,    correct?

11                  MR.   BHATIA:      That's       right.

12                  THE   COURT:      Mr.    DiRuzzo?

13                  MR.   DIRUZZO:         Your Honor,         we would be       amenable to

14   counsel    for the government                amending the e-mail            because       it's      an


15   e-mail,    and that way it's             documented.

16                  THE   COURT:      Why don't we do this:                   We will take a five

17   minute recess.           Government          counsel will write out what                  it

18   purposes.        They will       run    it   by you.           I am sure you will

19   agree -- because you have been                      agreeable to the            idea of

20   proposing this --             and we will put            it    on the transcript          of    the

21   hearing when we resume                in five minutes.             That way you've got                it

22   in writing too.

23                  Look,    in the meantime when                  I come back       in five minutes

24   let's    talk through about what                   is   happening at       2 o'clock.           I

25   just want       to make sure          collectively we're            issue       spotting.        It



                             SOUTHERN DISTRICT REPORTERS,                     P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page189 of 224
                                A-205


                                                                                                                  68
     K1L7TEM2



 1   doesn't          sound like the volume of documents                         here -- although             it

 2   will       give    a late night          to    government          counsel --       is    so


 3   foreboding as             to require further             adjournment,          but we will            see.

 4   But    there       obviously       is    going to be          an    issue    about whether there


 5   is    something that precludes the defense from proceeding as                                           to

 6   advice       of    counsel.        I am not       hearing it          yet.     I'm not          seeing

 7   anything on             first   read anything in the Federal Rules                             or the

 8   parties'          back- and- forth that           in any way precludes                   it.     It   looks

 9   as    if    it's    a tool      in the defense tool box.                     They    can       choose to

10   use    it with          all the risks          and rewards that doing                so    entails.           I

11   am not       finally resolving that,                   but    it's my first          initial

12   instinct,          but    I will want          to make       sure that we take that up                   so

13   there       is    complete      clarity beginning this                 afternoon at to

14   whether          or not    that's       in play.        I want       you all to know what                is


15   fairly       in play       in terms       of    opening       statements.           I will       see you

16   in five minutes.

17                     (Recess)

18                     THE    COURT:     All right.           Be       seated.

19                     Government       counsel,       have you worked up an annotation

20   to your trial             subpoena that          is    sufficient       to    comfortably

21   embrace the             advice of       counsel documentation that you are

22   seeking and that Mr.                DiRuzzo       is    said       it's prepared to produce

23   today?

24                     MR.    BHATIA:        Your Honor,          we    actually    just       finished

25   formulating the proposal.                      We have not           talked about          it with



                                SOUTHERN DISTRICT REPORTERS,                      P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page190 of 224
                                A-206


                                                                                                      69
     K1L7TEM2



 1   defense    counsel.

 2                 THE   COURT:     I will      stay on the bench.              Take    a moment


 3   with the defense.

 4                 MR.   GELFAND:     Your      Honor,    we're    fine.


 5                 THE   COURT:     So,   defense,       Mr.    Gelfand,       you are       fine

 6   with what       the government       is    articulating as          its    addition to the

 7   terms    of the      subpoena that was        served in person today?

 8                 MR.   GELFAND:     Yes.

 9                 THE   COURT:     Great.

10                 Mr.   Bhatia,    would you kindly            slowly for the benefit                of

11   the   court     reporter put     that      language on the record.

12                 MR.   BHATIA:     Yes,      your Honor.        So we propose to put                at

13   the end of the         subpoena a phrase that              states " For         avoidance       of

14   doubt,    this      subpoena   calls      for the production of             any and all

15   documents       relating to     communications            with attorneys          and

16   documents       reviewed by attorneys             relating to the allegations                   in

17   the   indictment,       business dealings           with the entities             listed in

18   the   indictment,       contracts,        terms    and conditions          and payment

19   terms,    the    checks   listed herein,           including but          not    limited to

20   any   communications with Mr.              Teman    about,    or documents provided

21   by Mr.    Teman,      and any documents           that    could    support       an advice       of

22   counsel    defense.

23                 THE   COURT:     Very good.          And we    all    agree --       I think

24   defense    counsel has -- that the                subpoena runs       to employees             and

25   agents    of Mr.     Teman's    companies         which specifically includes                   at



                            SOUTHERN DISTRICT REPORTERS,                P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page191 of 224
                                A-207


                                                                                                            70
     K1L7TEM2



 1   least the    agents part          attorney Reinitz,              right?

 2               MR.    GELFAND:        Yes.


 3               THE    COURT:        I think we're then at peace with respect

 4   to the    scope of the document production obligation.                                And,    Mr.


 5   DiRuzzo,    I appreciate your proposal                     essentially to make a first

 6   production at       five    and then rolling productions                     thereafter.

 7               If    you're    able to make            a first production before                 five,

 8   I know that       all    concerned -- the government                  as well     as    the

 9   Court -- would appreciate                it.

10               MR.    DIRUZZO:        Understood,         your Honor.

11               THE    COURT:        I will       ask that --        I don't     know how

12   voluminous       this will       be.     In the end I will            need this        in a

13   binder    form.     I don't know what               sort    of   a legal     support network

14   you have here in New York.                    That will help me.             I will     give you


15   a little bit       of    leave on that,            but ultimately         it's hard for me

16   on the bench to consult                something electronic.               I proceed more

17   the    old fashioned way,          as    the government has            in its Rule           16

18   binder,    so please       get to that.

19               MR.    DIRUZZO:        Understood.

20               THE    COURT:        OK.     So    I think this        leaves us      then with

21   what we're taking up at                2 o'clock.          This has    all happened all

22   of    a sudden.     I raised this             at   the very outset         of   the

23   conference,       and it turns          out    that   I awoke      a sleeping giant               of

24   an issue here,          and so    I want       to make      sure that      together we have

25   covered all       the angles       at    2 o'clock         so that there        aren't       any



                             SOUTHERN DISTRICT REPORTERS,                  P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page192 of 224
                                A-208


                                                                                                                  71
     K1L7TEM2



 1   surprises.

 2                  One potential          issue    is    whether,       as    I said,          the defense

 3   is -- is       there    something that precludes                the defense                from

 4   opening on advice             of    counsel.        I'm not    seeing          it,    but    I want          to


 5   make    sure    I have the parties'                respective views                on that.        I

 6   would like each of you to                   commit to whether there                   is    any legal

 7   basis    for the defense to be precluded from doing that.                                         Again,

 8   I'm not    seeing       it,    but    I think       it's responsible                for me to       ask

 9   for your views.

10                  A second question --                and I offer this                really    for the

11   benefit    of Mr.       Teman --       is    what happens,          the defense opens                   on

12   advice    of    counsel,       then ultimately the             facts          at    trial    do not

13   make out       the prerequisites             of that.        I have       a memory that what

14   winds up happening in effect                   is    that    there       is    an instruction by

15   the    jury that       advises       them that       advice    of    counsel          is    not

16   available here,          in effect          that    you have heard references                      to    it,

17   that    a requirement          is    that    all material       facts          be disclosed.                 If

18   there    isn't    a factual basis             on which the          jury could so             find,

19   there might be          a basis       for me to          instruct    the       jury explicitly

20   that    it doesn't       apply here,          although the          jury may consider the

21   communications         with        counsel    for what       they're worth in

22   evaluating the broader                issue of       intent.        But       the    issue here          is

23   in effect what happens                and how       it    could redound to Mr.                Teman's

24   detriment       if he opens          on advice of          counsel       and ultimately can't

25   keep the promise.              And I want to make             sure that             your    client --



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page193 of 224
                                A-209


                                                                                                               72
     K1L7TEM2



 1   who has    obviously been             a consumer          of    legal talent          over    the

 2   years,    as    the discovery reflects,                   is mindful          of the risks          and

 3   rewards    of going to this place.

 4                  In    other words,          it's    not    at    all    surprising to me would


 5   have thought          about    an advice of          counsel defense -- it                   leaps    off

 6   the page reading the Rule                   16 material -- but                it's    another       story

 7   when you decide to go there.                       I just want         to make        sure that we

 8   have a discussion about what                      happens       if Mr.       Teman can't keep

 9   the promise that you are perhaps proposing to make in opening.

10   I want him either             out    of    solicitude          for him to be          aware of what

11   the    consequences might             be.     So,    I welcome          counsel's         opining on

12   that.     Again,          I will make       a final decision as to any

13   instructions          later    in the       case when there             is    a factual

14   predicate,          but    I think    given the          apparent       importance of the

15   issue    I want       to make       sure we have          covered this.

16                  I will       also want       a clear       statement          from the defense

17   that    the only advice of                counsel that we             are talking about             comes

18   from Reinitz          and not       from somebody else.                 I don't want          this    to

19   be an Oh Henry             story where there             is    another       surprise ending on

20   the    last page and it             turns    out    there       is    another mystery lawyer.

21                  I am understanding from what you have proffered that

22   the    advice of          counsel turns defense,                such as       it    is,   turns

23   solely    on    an advice       from Reinitz.                 I want   to make        sure that

24   there is       clarity about          that.

25                  Government,          are there       any other          issues that         you think



                                SOUTHERN DISTRICT REPORTERS,                      P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page194 of 224
                                A-210


                                                                                                    73
     K1L7TEM2



 1   are profitably addressed at                2 o'clock?

 2               MR.    BHATIA:        Your Honor,      nothing else       for   2 o'clock.


 3   I will    say we would ask to the             extent the defense has              any

 4   documents    already marked as             exhibits    that might be relevant                 to

 5   the   attorney/client defense,              that   they produce those now.                It

 6   might help all       of us    to    sort    of get    started on this.

 7               THE    COURT:     I agree.        Defense      counsel,      as you    can

 8   tell,    I'm disappointed to          say the      least    at the way the trial

 9   subpoena was       in my view sandbagged.              Under those        circumstances

10   I think    it's    absolutely right          for me to ride you to produce

11   everything you       can as       soon as you      can,    and so to the extent

12   you've got materials          now or before          2 o'clock     and before       5

13   o'clock,    these    should be produced forthwith.

14               To be    sure,    the government          could have raised this

15   issue and been       explicit       about    advice of      counsel earlier.             It's

16   obvious    from the Rule          16 material that Mr.           Teman has    had

17   lawyers    drafting       legal documents,         and he    is referencing

18   lawsuits.        This was    a spottable       issue to      say the      least.        I'm

19   certainly not       inclined to put          over the trial        further on account

20   of the production of documents                that may be        coming today,          but

21   I'm also not       inclined to give you any               incentive or      interest          in

22   delaying the production.

23               At    least    some    of these materials were --               should have

24   been produced shortly after the January                     10   subpoenas -- trial

25   subpoenas    that    the government          served,      and only because         of what



                          SOUTHERN DISTRICT REPORTERS,                 P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page195 of 224
                                A-211


                                                                                                        74
     K1L7TEM2



 1   I regard as       described to me            as    sharp practice were those

 2   productions       not made      earlier.           So,    I want    you to    jam on that


 3   and get    it going promptly.

 4               MR.    GELFAND:          I would       just    represent    for the


 5   government's       benefit      is    that       I am 99.9 percent       sure --       and will

 6   be    100 percent       sure   after we break             for this morning -- that

 7   anything that       is premarked as               a defense exhibit has been

 8   disclosed to the government.                      Obviously --       including,       by the

 9   way,    documents,       for example,            e-mail    correspondence,          from

10   Mr.    Reinitz    to various people,               which were disclosed early                on    in

11   this    case.     So,    we will double            check to Mr.       Bhatia's      request

12   and make    sure that that's               the    case,    and if    something fell          by

13   the wayside,       we will      certainly          follow up with that.

14               THE    COURT:       So when you          say predisclosed,          does       that

15   mean materials          that   are    not    in the government's             exhibit binder

16   but which have been produced by the defense?

17               MR.    GELFAND:          Yes,    your Honor.

18               THE    COURT:      And what's the volume of that?

19               MR.    GELFAND:          The    amount       of documents    that we have

20   disclosed --

21               THE    COURT:       Disclosed meaning produced,                   right?

22               MR.    GELFAND: -- produced                   in discovery --       fall       into

23   thousands       of pages,      are    anticipated potential             exhibits which

24   will    obviously depend on what the                     government    does    in    its    case

25



                             SOUTHERN DISTRICT REPORTERS,                  P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page196 of 224
                                A-212


                                                                                                 75
     K1L7TEM2



 1                THE   COURT:     Of    course.

 2                MR.   GELFAND: --        is    a much    smaller    sub set.


 3                THE   COURT:     Right.        But,   in other words,          you've

 4   produced thousands          of pages       already to the government.                Have

 5   you within that universe done                anything to tag the documents

 6   that    are apt    to be    and if    not    certain to be defense             exhibits?

 7                MR.   GELFAND:        In the    context    of    some discussions          that

 8   we had with        stipulations,      we e-mailed them plus             or minus       about

 9   ten    or   so premarked defense           exhibits -- the       earliest possible

10   defense exhibits -- that were marked as                      exhibits.        And as

11   hopefully the Court          can appreciate,          some of what we have marked

12   as    exhibits     are actually duplicative of government marked

13   exhibits.

14                THE   COURT:     Sure.        When    I read through the

15   government's       exhibit    binder       I can't    say that    I remember.           I had

16   no idea who Reinitz          specifically was,          but    I can say       I remember

17   seeing communications with him.

18                Presumably      if you are       going to pursue          an advice of

19   counsel     defense and are         claiming that there was             comprehensive

20   disclosure of all material             issues,       some of that       I guess      you

21   would contend is memorialized in documents.                       And       I take it

22   those would be        among the documents that               you would be also

23   intending to offer          at trial       if you go that       route?

24                MR.   GELFAND:        Your Honor,       to be    clear,    our    intention

25   with the advice of          counsel defense          at trial    is    to   elicit     it



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                                     (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page197 of 224
                                A-213


                                                                                                               76
     K1L7TEM2



 1   primarily through testimony                      and through e-mail                correspondence

 2   that    is    not privileged that                has    been disclosed to the

 3   government          and in some          cases    disclosed by the government.

 4                     THE   COURT:      The testimony would be                      of Reinitz       and/or


 5   Teman.        Are there          other people who                are privy to the          alleged

 6   advice       of    counsel?

 7                     MR.   GELFAND:         No,    your Honor.

 8                     THE   COURT:      All    right.           So    it's ultimately Mr.             Teman's

 9   decision whether to                call    a witness             and whether to testify

10   himself,          but what       you're    saying is             if you're       committing to an

11   advice       of    counsel       defense,       since there          is    presumably nobody

12   else who          can authenticate written communications --                               let    alone

13   oral    communications -- between Reinitz                            and Teman,          one or both

14   of them needs            to testify        in order          for you to get that             out    there

15   before the          jury.

16                     MR.   GELFAND:         Yes,    your Honor.              But    to be    clear,    we

17   don't have an intention at                      least       at this point          of    introducing

18   any documents            that     are    communications between Mr.                      Reinitz    and

19   Mr.    Teman.           The communications             at    issue    are written

20   communications             as    opposed to testimonial --                      anticipated

21   testimony          of Mr.       Rinitz    are    communications between Mr.                      Rinitz

22   and,    for example,             Elie    Gabay and Jospeh Saleimani.

23                     THE   COURT:      And those would -- would those be relevant

24   to advice          of    counsel    or    something else?

25                     MR.   GELFAND:         Only    in    a very circumstantial                way.     It's



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                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page198 of 224
                                A-214


                                                                                                           77
     K1L7TEM2



 1   not    the    core of the      advice of       counsel defense,            but they clearly

 2   establish that prior to the dates                    at    issue Mr.       Teman had legal

 3   counsel      in    connection with this           issue.      So    I would say

 4   circumstantially            it's relevant.


 5                 THE    COURT:     Well,       they're relevant,         you    are    saying,

 6   insofar as         they    show the existence of            a counsel       relationship.

 7   That may not ultimately be                  in dispute.       But the       substance          of

 8   the    communications that Reinitz                allegedly had with,              let's       say,

 9   @Mr.    Gabay,      does the    content       of that      bear    on an advice          of

10   counsel      defense?

11                 MR.    GELFAND:        It   does,   because the        content       of that --

12   but    circumstantially -- the               content      of that    is Mr.       Reinitz

13   explaining to Mr.            Gabay and Mr.        Soleimani --        and    I am

14   paraphrasing -- that            they were         contractually bound by the                   same


15   contracts         that    form the basis       of what we         anticipate       is    the

16   authority to issue the RCCs.

17                 THE    COURT:     All right.         And so to the           extent       it bears

18   on the       advice of counsel defense,              it    documented communication

19   between Reinitz,            let's    say,    and Gabay --         I will    just use Gabay

20   as    an example -- would tend to                 corroborate that          if Reinitz was

21   speaking with Gabay            about      contractual       authority,       it    stands       to

22   reason he was            speaking with his        client     about    contractual

23   authority to         create    an RCC.

24                 MR.    GELFAND:       Yes,     your Honor.          If that's       all   we had,

25   there is      no    advice of       counsel defense.          I said if that's                all    we



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                                         (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page199 of 224
                                A-215


                                                                                                           78
     K1L7TEM2



 1   had,    then there is         no    advice of          counsel defense,             but    I think

 2   it's    relevant       in that      it    corroborates --


 3                  THE   COURT:        Just    explain to me -- because you

 4   understand the          facts      of the    case better than                I -- what would it


 5   take then -- without               limiting you to             it -- what more would it

 6   take in your view for there to be                        a viable          advice    of    counsel

 7   defense here?          What would need to be disclosed?

 8                 MR.    GELFAND:        Testimony --             or    other    events,       but   I

 9   anticipate it would be testimony -- that Mr.                                 Reinitz       had all    of

10   the relevant material               information to give                   advice.

11                  THE   COURT:        Right.        I mean       just    again because you

12   understand the back             story      and    I don't,          but    in general what

13   might that be beyond the existence of                              a contract       that    says what

14   it    says?


15                 MR.    GELFAND:        First       of    all,    Mr.    Reinitz was          the

16   counsel       for the company for            a substantial                amount    of time prior

17   to this.

18                  THE   COURT:        Right.

19                 MR.    GELFAND:        And    so he personally had access                      to the

20   records       of Gate Guard.             He who was          involved in       some       capacity in

21   various       instances    of revising or editing them.                            He personally

22   communicated with two of the three                           customers --          in particular

23   Mr.    Soleimani       and Mr.      Gabay -- that             are    at    issue of the three

24   entities       listed in this            indictment,          with respect to their

25   obligations          for the money,         the       fees    if you will,          that were



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                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page200 of 224
                                A-216


                                                                                                           79
     K1L7TEM2



 1   ultimately deposited into Bank                  of America through the RCCs                      that

 2   are   at   issue in this         case.     He had communications                with Mr.


 3   Teman,     in particular oral            communications           that    I anticipate he

 4   would testify to.              He had further        communications            subsequent         to


 5   the   act -- which         I don't think would be relevant                     at    all -- with

 6   a lawyer     for Mr.       Soleimani,      when Mr.        Soleimani retained

 7   counsel.       I think the Court           can obviously address                the relevance

 8   of that     and the admissibility of that                      later.

 9               As     a practical matter --

10                THE    COURT:       Yeah.     I mean        I'm not       sure -- it's        not

11   obvious    to me what the          communications              between outside           counsel

12   and outside        counsel      are.     The   issue      is    really what         is

13   communicated to the defendant                  as   it    informs       the defendant's

14   state of mind,           because   in the end the              issue    is whether       the


15   defendant did or didn't have the mens                          rea called for by the

16   bank and wire         fraud statutes.

17               MR.     GELFAND:       And to be        clear,       I agree generally

18   speaking --        obviously we        can take up         specific       language        from the

19   jury instruction           standpoint -- with what Mr.                   Bhatia represented

20   to the Court        are the      elements      in essence of reliance of

21   counsel.       It's      set   out pretty clearly in the                 Scully      case.       In

22   any   event,     we believe that Mr.            Reinitz's testimony will

23   establish      an evidentiary          foundation         for the       jury to      conclude,

24   if it wants        to,    sufficient      grounds --

25                THE    COURT:       Will Mr.      Reinitz's         testimony be able to



                              SOUTHERN DISTRICT REPORTERS,                   P.C.
                                        (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page201 of 224
                                A-217


                                                                                                                80
     K1L7TEM2



 1   place in time the          communications             he had with Mr.                Teman?

 2               MR.    GELFAND:        Yes,    I believe             it will.           These were


 3   ongoing communications             for over       a year.

 4               THE    COURT:     Sure.        But the          question is             at    some point


 5   is    something left       out before Mr.             Teman       creates       and deposits              the

 6   check?     In other words,             I have read through the exhibit binder.

 7   In at    least    one of the       contracts there                appears       to be a written

 8   provision    authorizing the             creation of RCCs.                    There is          a

 9   separate issue       of under what          circumstances.                    Let's       suppose a

10   customer disputes          that    they owe money                and conveys             that    to Teman

11   such that    there is       a clear dispute between the                         customer            and

12   Teman as    to whether or          not    a debt       is    owed.           Right?        The

13   question is whether -- where                it's       not       an undisputed debt but

14   it's    a disputed one -- whether                Teman has             conveyed to his                lawyer

15   the    customer's    denial       of    a legal --          of    an obligation to pay the

16   debt    and the    customer's          factual    basis          for    same.

17               Again,    I don't know whether that's                            all that's          going on

18   there,    but that    at    least was -- on the                   face       of the government's

19   exhibits,    it    seems to me          apparent       that       at    least       to    some of the

20   asserted debts       here the          customer --          it's       not    like       it's    an

21   undisputed debt that Mr.                Teman    is    using his             asserted

22   contractual       authority to          cause to be paid.                    There       appear to be

23   disputes with the          customers,       and even             statements by Teman that

24   his    company is    shutting down,             and then          at    some point          afterwards

25   I gather Mr.       Teman uses          that purported contractual                         authority.



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                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page202 of 224
                                A-218


                                                                                                      81
     K1L7TEM2



 1   The question with respect           to    advice      of     counsel    is   did counsel

 2   know before Mr.      Teman did that            all   of that which the          customer


 3   said,    including denying the           existence of the debt,               and in the

 4   face of that did the         counsel      then       say you may nevertheless


 5   create    a check to pay yourself              a debt that the          customer denies

 6   having.

 7               MR.   GELFAND:      Yes,     your Honor.           I anticipate that the

 8   testimony would be that he did have                    all   of that       relevant

 9   information.

10               THE   COURT:     That   the       lawyer knew exactly what               the

11   customer was      saying and denying,            and in the         face of that told

12   Mr.    Teman go ahead and write           a check on the            customer's       account

13   without notice to the           customer?

14               MR.   GELFAND:      Yes,     your Honor.           I don't want to --            I


15   mean the    specificity of the words may be                    a little different but

16   in    substance yes.

17               THE   COURT:     OK.    Well,       we'll      see.     That's helpful.

18   But,    in other words,      I take      it   that    you are       acknowledging that

19   it    isn't merely the     face of the words               of the    contract but          the

20   course    of dealings between Teman              and the       customer that         inform

21   what    needed to be disclosed before                an advice of          counsel    defense

22   could get    to a jury.

23               MR.   GELFAND:      Yes,     your Honor,          for the      advice    of

24   counsel    issue.    I think       separate      and apart        from the     advice of

25   counsel    issue there     is    just    a general         lack of mens rea defense



                         SOUTHERN DISTRICT REPORTERS,                    P.C.
                                   (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page203 of 224
                                A-219


                                                                                                     82
     K1L7TEM2



 1   on the    contract    itself which doesn't                  require --

 2               THE    COURT:        Sure.     And you      are       at   liberty to argue


 3   that    even if there       is    never    a lawyer         involved,        that Mr.   Teman

 4   read the contract       to       empower him to do            all      sorts   of things   and


 5   that    those documents          are not    consistent with finding intent to

 6   defraud beyond a reasonable doubt.                      You are         at   liberty to make

 7   that    argument,    and I fully anticipated that                       from the review of

 8   the discovery materials.                 What was unclear to me                from them was

 9   whether you       intended to       add to       it   the    advice of counsel          defense

10   with all    that    it requires.           And    I now know that the             answer is

11   barring a change of heart,                yes.

12               MR.    GELFAND:        Yes,    your Honor.             And I think this might

13   help,    because    I gather what          the Court         is    asking in substance is

14   did Mr.    Reinitz have more than                just the documents,             more than


15   just    the contracts.           And the    answer      is    abundantly yes.

16               (Continued on next page)

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                          SOUTHERN DISTRICT REPORTERS,                      P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page204 of 224
                                A-220


                                                                                                83
     KILVTEM3



 1               THE    COURT:     But more than that,            there   is   a narrative

 2   presumably that exists with each of these                     customer


 3   relationships.        I'm ill- positioned at this point to define what

 4   parts    of that narrative       are material         as    opposed to background


 5   noise.     But    there    are -- whatever the material              components      of

 6   the business       disputes    or business       relationship        are,   you're

 7   representing to me that Reinitz               knew them,       knew that -- that

 8   Teman had made       sure Reinitz       knew them before         asking Reinitz           for

 9   his   advice on whether he           could create/negotiate the             checks.

10               MR.    GELFAND:     Yes.     Or   just    to be even more precise,

11   that Mr.    Reinitz's       source    of knowledge         in some   instances was

12   from his    own personal       interactions.          In other words,        he's    a

13   fact witness       as well.

14               THE    COURT:     Sure.     But Mr.      Teman needs       to know that

15   Mr.   Reinitz     knew those    facts    for the      advice    of   counsel      defense

16   to apply.

17               MR.    GELFAND:     Of    course.

18               So,    for example,       there's    instances where Mr.           Reinitz,

19   at Mr.   Teman's     request,    communicates         directly with,        for

20   example,    Joseph Soleimani          about the      contractual       obligations.

21   So obviously Mr.          Teman directs Mr.       Reinitz      to do that.         I think

22   that he obviously knows that Mr.                Reinitz      did it.

23               And Mr.       Reinitz,    I anticipate,        would testify to

24   those -- within the rules             of evidence,         but to those

25   interactions       and how that,       you know,     was     communicated to



                          SOUTHERN DISTRICT REPORTERS,               P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page205 of 224
                                A-221


                                                                                                            84
     KILVTEM3



 1   Mr.    Teman.        Because       obviously -- and I want to be                      clear.     Our

 2   intention is          not to       elicit testimony directly about what


 3   Mr.    Reinitz believed,                other than as       it was       communicated to

 4   Mr.    Teman.


 5                  THE    COURT:        The       advice of    counsel defense requires                   the

 6   attorney -- the client                   to have       ensured that       the material

 7   information was          communicated to the                lawyer.        I'm not       aware that

 8   there's       any means       of    communication that's                needed.        So whether

 9   it's,    Read these documents,                   or,    Hear my       story,    or,   here,     Speak

10   to the    counterparty             and report          back to me,       I can    imagine any

11   number    of different ways,                   but the    central       ingredient here          is

12   that    the    client,    Teman,             assured that    his       lawyer knows       the

13   material       facts    before asking for                legal    advice on them.              And

14   you've    charted out          a confident position that,                      presumably with

15   respect to each set                of    entities,       the attorney was             known by

16   Mr.    Teman to know all                of the material          facts    and nevertheless

17   gave him an unambiguous                      green light to       engage       in the    conduct

18   that    the government             says was          unlawful.

19                 MR.     GELFAND:           That's what       I anticipate the testimony

20   would be,       your Honor.

21                  THE    COURT:        What       is Reinitz's       legal    expertise?

22                 MR.     GELFAND:           He's    a partner       at    a law firm called

23   FisherBroyles.           He    is       a,   kind of,     general       corporate       lawyer who

24   also,    as    I understand it,                has    somewhat    of    a subspecialty in

25   intellectual property,                   but doesn't       limit his       practice to that.



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page206 of 224
                                A-222


                                                                                                               85
     KILVTEM3



 1               And he       served as          corporate --          I at the very             least use

 2   the word corporate             counsel,       meaning counsel to Mr.                      Teman and

 3   some of the       entities       at    issue,      not     limited to GateGuard,                   going

 4   all    the way back to,          I believe          it was,       2014    or    2015.        GateGuard


 5   didn't    even    exist    until       2016,       and that was          at    a prior       firm that

 6   he was    at.     And then he became               GateGuard's           counsel over --             I'll

 7   get the exact date,             but    over    a year before the                alleged

 8   allegations.

 9               THE       COURT:     And the       conduct       at    issue       is    in    2019.     From

10   the Rule    16 --       excuse me,          from the government                exhibit binder,

11   it    looked as       if there was          some    issue with respect                to GateGuard,

12   I suppose,       in    2018?     You don't have to                answer,       but       if you're

13   able,    since we're talking about                   it,    I'm    just       curious       what --

14   does    GateGuard have business                issues?          Does     it    go under?           What


15   happens    with it?

16               MR.       GELFAND:        No,    your Honor.           There's          a single email

17   that we actually intended to                   introduce the response to the

18   email,    if the Court          is    referring to          an email          from Mr.       Teman to

19   Ben    Soleimani       and Joseph       Soleimani,         the principals                 of ABJ.

20               THE       COURT:     I think that            this     is   referenced actually

21   in one    of the government's                letters       on a motion          in limine,          that

22   there had been          some business          reversal         or Mr.        Teman had

23   represented to          one or more of the               customers that             his     company

24   was having issues          in 2018,          I thought.           I may be misrecalling.

25               MR.       GELFAND:        Your Honor,          I don't believe that you're



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page207 of 224
                                A-223


                                                                                                         86
     KILVTEM3



 1   misrecalling.        I think there          is    a dispute within --             as    to what

 2   that    factual narrative       actually is            between the parties              and what

 3   the documents bear out.              But,    no,       GateGuard continued to

 4   operate to this       day.


 5               THE    COURT:     Were there ever               any civil     litigations             that

 6   actually were brought with respect to                        any of the victims              in

 7   this -- not victims,          the customer,            the    alleged victims -- the

 8   alleged nonbank victims             in this       case?

 9               MR.    GELFAND:     To my knowledge,                your    Honor,    none of the

10   victims    initiated -- the          alleged victims,             initiated any civil

11   litigation,       and GateGuard did not                initiate --

12               THE    COURT:     Mr.    Teman repeatedly threatens                   legal

13   action    in the documents.           Did he or his             companies      ever     initiate

14   any with respect to          any of the          customers       at    issue here?

15               MR.    GELFAND:     May    I confer about             that?

16               THE    COURT:     Yes,    of course.

17               (Counsel      and defendant           conferred)

18               MR.    GELFAND:     Your Honor,            no    litigation was           actually

19   filed.

20               THE    COURT:     May    I ask you,          before       I just   turn to the

21   government,       and then    I'll    give you a break                so that you       can all

22   think    about    these   issues before           2,   today you have          articulated

23   very confidently the          existence          of what      you contend to be a

24   checkmate    advice of counsel defense here.

25               Accepting,       for argument's             sake,    that that       is    so,    with



                          SOUTHERN DISTRICT REPORTERS,                      P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page208 of 224
                                A-224


                                                                                                            87
     KILVTEM3



 1   all    the time that          there was had between the                   complaint         and the

 2   indictment       and then          after the          indictment,       why would you put


 3   Mr.    Teman through the rigors                   of    going to trial          if   you thought

 4   that    there was          a winning advice of             counsel       argument here?


 5                  One of the reasons                I'm a little          surprised at this          turn

 6   of    events    is    that while          it    seemed to be          clear that there must

 7   be a counsel          in the picture here,                if    the    advice of       counsel

 8   defense was          as    clear    as    it    is,    the government has            a history        of

 9   nolle'ing cases when they                      are persuaded that,             unbeknownst       to

10   what    they thought when they                   charged       it,    they were wrong,         why

11   not    take a whack          at    that.        I don't want          to get    into plea

12   discussions          or    anything like that,             but that would seem to me,

13   if    you're right,          would have been             a natural       course      for    counsel

14   to at    least       raise.

15                  MR.    GELFAND:           Your Honor,       without       obviously getting

16   into any privileged communications between our                                  clients      and us,

17   what    I can represent             is    that    over the       course of this            case --

18   and I understand that to                   some extent          there's    just      a natural

19   evolution       of    this    happening,          the government's             entire theory          of

20   prosecution has             consistently changed.

21                  And for example --                and I think this will perhaps                   shed

22   some    light    on       some of the          strategic decisions,             if you will --

23   as    a practical matter,                the government          initially arrested

24   Mr.    Teman    literally without                looking at -- much             less   reviewing

25   or knowing -- the             existence          of the    contracts       that      are at    issue.



                                SOUTHERN DISTRICT REPORTERS,                   P.C.
                                          (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page209 of 224
                                A-225


                                                                                                     88
     KILVTEM3



 1   And they arrested him on a bank                     fraud allegation on a criminal

 2   complaint      out    of    state.        That's    a fairly unusual          set    of

 3   circumstances.             No    federal    agency involved in the

 4   investigation.             I'm not       saying there's       anything improper with


 5   that,   but    I'm    just       saying it      is unusual.

 6                 When we brought the existence                   of the    contracts         to the

 7   attention      of the U.S.            Attorney's Office,           the theory       of

 8   prosecution         just kept         changing,     where    it was    basically no

 9   matter what        the defense brings              to us,   we'll     just basically

10   draft    a narrative that              isn't --     I'm not      saying maliciously,           but

11   that    essentially isn't,               You're right,      we     should have looked at

12   these    contracts         in advance;       we    should have understood these

13   contracts      in advance.

14                 And furthermore,             we weren't       fully confident          that we


15   were intending to proceed on an advice                        of    counsel    defense until

16   very recently.             And one of the reasons why is because the

17   government         announced that          they were    intending to          supersede,

18   which they have the right                  to do.     They ultimately          superseded on

19   January    2nd.       They told us          in broad    strokes       that there would be

20   additional         counts       by our    fraud counts,       etc.

21                 At   that point we knew there was                    going to be a new

22   operative      charging document.                 And we didn't       even have the

23   charging document               and these    specific       allegations       in the

24   indictment,        which,        of   course,     would inform the decision of what

25   to raise and when to raise with the prosecutors.                               To    state the



                            SOUTHERN DISTRICT REPORTERS,                   P.C.
                                      (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page210 of 224
                                A-226


                                                                                                  89
     KILVTEM3



 1   obvious,    we need to know what the              charges          are before any

 2   defenses    are    committed to.

 3               That,    to be     clear,    was   January 2nd,           approximately

 4   three weeks       ago.   And    so    it's been a moving train.                 We believe

 5   that Mr.    Teman    obviously has        announced to this             Court    that,     you

 6   know,    he is    exercising his        right to    a trial.           And,   you know,

 7   we've prepared accordingly.

 8               THE    COURT:      Fair    enough.

 9               I was    eager to understand the                 context    for not

10   attempting to get         the government to drop the                  charges.       For

11   better    or worse,      you've explained what               the    series    of events

12   was,    and I appreciate        it.

13               MR.    GELFAND:      Thank you,       your       Honor.

14               THE    COURT:      All right.


15               Is    there anything we need to take up before                       I see you

16   at   2 o'clock?

17               MR.    BHATIA:      Nothing.

18               THE    COURT:      All right.

19               MR.    DiRUZZO:      Just    one thing,          your    Honor.

20               I assume that we           can leave    our       stuff here in the

21   courtroom;       it will be     locked.

22               THE    COURT:      Mr.    Smallman?

23               THE DEPUTY CLERK:            It won't       be    locked.

24               THE    COURT:      It won't be       locked.           I think    it's

25   historically proven a safe place,                 but    I think you'll          need a



                          SOUTHERN DISTRICT REPORTERS,                   P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page211 of 224
                                A-227


                                                                                                         90
     KILVTEM3



 1   GateGuard or          something to protect             it.     I can't    give you

 2   lock- solid assurance,               but    I think    it's pretty       safe.


 3                  MR.    DiRUZZO:           Okay.    Thank you your Honor.

 4                  THE    COURT:        Very good.        I'll    see you at       2 o'clock.

 5                  Thank you.

 6                  But,    look,       do,    everybody,    issue    a spot       here.        I want

 7   to make    sure that          once we proceed to trial,                we don't have

 8   unexpected surprises.                    I want   counsel     always    to know what          the

 9   ground rules          are.

10                  See you       at    2 o'clock.       Thank you.

11                  (Luncheon recess)

12                           A F T E R N O O N               S E S S I O N

13                                                2:07   P.M.

14                  THE    COURT:        All right.


15                  Be    seated,       counsel.       Welcome back.

16                  Thank you for             gathering this       afternoon       just    to    follow

17   up on the       colloquy that we began to have                   about    the emergence of

18   advice    of    counsel       as    a potential       issue    in the    case.

19                  I should note that having reviewed                      some of the          case

20   law during the break,                I am reminded that the             shorthand locution

21   that we all          tend to use          in an advice of       counsel defense is,                in

22   fact,    not    correct;          and as    Scully makes       clear,    the proper

23   formulation relates to                   advice of -- to       evidence of advice             of

24   counsel    as bearing on the                government's      burden in establishing

25   the   intent requirement.



                             SOUTHERN DISTRICT REPORTERS,                   P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page212 of 224
                                A-228


                                                                                                            91
     KILVTEM3



 1                  In    any event,         to the extent            that   I --       and presumably

 2   everybody else here --                  slips    into using the              locution " advice of

 3   counsel    defense,"         I will take             it   as mutually understood that

 4   that's    just       a shorthand,            and what we         all mean to         say,


 5   consistent with Scully,                  is    advice     of     counsel      as    a component       of

 6   the   jury's        analysis      as    to    intent.

 7                  All    right.       Before we broke,               I identified at            least

 8   three issues          that   I thought would be worth raising with you.

 9   Let me go through the                  issues    I have        in my mind --          I've    come up

10   with a fourth -- and then                     see what      else you         all have.

11                  The first       issue         is whether there           is    any application by

12   the government          or   any basis          to preclude or            limit what the

13   defense can do          in opening with respect                    to   advice of          counsel.

14                  MR.    BHATIA:          No,    your    Honor,      there's      no    application


15   from the government               at    this point        to preclude          any opening on

16   advice    of    counsel.

17                  THE    COURT:       Very good.

18                  I didn't think there would be,                       but      I wanted to give


19   you the opportunity.

20                  MR.    BHATIA:          Thank you.

21                  THE    COURT:       All right.

22                  Defense,      is    there       anything you want              to bring to my

23   attention       vis -a -vis opening             statements with respect                    to this

24   issue?     You're not          required to do              so,    but   I'm always          eager

25   to -- nobody wants             to get         a sustained objection.                  If    there's



                             SOUTHERN DISTRICT REPORTERS,                         P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page213 of 224
                                A-229


                                                                                                            92
     KILVTEM3



 1   something you feel you need to                        or would benefit by alerting me

 2   to,    I'm happy to consider               it.

 3               MR.    DiRUZZO:           Sure,      your       Honor.

 4               Just    conceptually,             I think            advice of       counsel,

 5   self-defense,       defense of          others,         duress,             all of those are

 6   appropriately made to the                  jury       in opening.

 7               THE    COURT:        You're       not      going to be making a

 8   self-defense --

 9               MR.    DiRUZZO:          No,    no,       no.

10               THE    COURT:        I'm sorry.

11               MR.    DiRUZZO:          But    just those -- what we typically

12   think of    as    reasons why they call                     it    an affirmative defense,

13   why you call       it as       bearing on the               jury's          consideration    of

14   intent    or mens    rea is          appropriately --                  appropriate for       defense

15   counsel to raise          it    at    opening;         and then,            you know,     it becomes

16   part    of the    case.        But   there       is    nothing that,             from my view,

17   precludes    a defense counsel                from doing that before the                     jury.

18               THE    COURT:        And    I'm in agreement.

19               I think the case               law that          I have          seen,    based on an

20   early peek,       does    suggest that there                     are    sometimes       situations     in

21   which there's been a government motion                                 in    limine and in which

22   one    can reliably make             a judgment beforehand whether there                          is   a

23   basis    or not    for    such       a defense.             And in the case             in which one

24   could actually get to clarity before the opening,                                       that might

25   have implications.              We're      not    in that          case.



                          SOUTHERN DISTRICT REPORTERS,                              P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page214 of 224
                                A-230


                                                                                                           93
     KILVTEM3



 1                  Quite to the       contrary,          defense       counsel has proffered

 2   that they have          evidence that will                check    all the boxes with

 3   respect to an advice of                counsel       instruction,          we'll    see.     But

 4   there's       certainly no basis             for precluding your referencing it


 5   in opening.

 6                 All    right.      The    second issue             involves --       and again,

 7   this    is    entirely conjectural,                but    I like to plan.           One    scenario

 8   is    that there will be          sufficient             evidence       for the    jury to       find

 9   that    all    the ingredients          of    an    advice of       counsel defense are

10   met.     If that       is the    case,       Scully certainly provides                a very

11   useful       template for what          an    advice of          counsel    instruction might

12   look like.

13                  The alternative          scenario though involves                   one where the

14   Court    can determine          essentially as                a matter of    law that

15   material       facts   were not        shared with             counsel.     Again,    no reason

16   to assume       one way or the other whether that will                            be true here.

17   But    just    for   the purposes        of making sure that the Court                      is

18   prepared,       I am interested in your                   judgment       about what happens


19   if the defense          opens,    in effect,             on    advice of    counsel,       and the

20   evidence then doesn't permit                   a jury to          find all the

21   ingredients,         for example,        material disclosure,                disclosure          of

22   all material         information to the              lawyer       are met;       or that,    for

23   example,       the   client     didn't       abide by the          lawyer's guidance             as   to

24   how to proceed in the             face of those disclosures.

25                  I'd welcome       counsel's          judgment       as   to what the



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page215 of 224
                                A-231


                                                                                                        94
     KILVTEM3



 1   instruction          looks    like to the Court under that                  situation.

 2                  MR.    BHATIA:        Your Honor,       it's    something we would have


 3   to give more thought                to on the wording of            an instruction.           But

 4   we do believe that             it    is within the       Court's discretion to give


 5   an instruction to the kind that                      you referenced before,            saying

 6   it's    not    for the       jury to       consider the       advice of      counsel,       and

 7   then elaborate          on that.           I think there       are different ways            to

 8   give that       type    of    instruction;       but we do think            it's within the

 9   Court's       discretion to give that.

10                  THE    COURT:        My memory is       that    even where         an advice       of

11   counsel       instruction       is    inappropriate,          the   conversations       with

12   the    lawyer,       nevertheless,          are received and may be               considered as

13   they bear       on the defendant's             intent.        The   issue    is   really how

14   to package that          for the       jury in a situation where there have

15   been noises made             about    an    advice of    counsel defense.            And I

16   would want to make             sure that       the    jury was      well- instructed that

17   that defense doesn't                apply.

18                  So,    look,    it's premature to          solicit      an instruction             for

19   a fact pattern that has                not been factually triggered,                  but    I

20   want    each    of you to do          your homework on that            so that when          and


21   if we get       there,       and there's       a scenario under which the trial

22   moves    quickly,       I immediately get             something in writing            from you.

23   So both       sides    are    charged with being prepared in the event that

24   we wind up in that place to be                   able to       give me      your written

25   guidance.



                             SOUTHERN DISTRICT REPORTERS,                  P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page216 of 224
                                A-232


                                                                                                               95
     KILVTEM3



 1                  Yes.

 2                  MR.    GELFAND:         And we'll          certainly do          so,    your    Honor.


 3                  Just    as,   kind of,          food for thought,               for    lack of       a

 4   better way of putting it,                     I think that         there's       a basis       to


 5   include additional             language         in    a general         good- faith

 6   instruction,          which was         submitted by both parties                     outside of

 7   advice    of    counsel,       that would basically draw the                          jury's


 8   attention       as    to what      they       can and can't            consider.

 9                  THE    COURT:       Right.        The      issue    is    you are making a --

10   you    are going out         not       on    a limb,      but    you    are making a

11   judgment -- you are essentially putting advice                                   of    counsel      out

12   there in       a way that may or may not require                          some       commentary for

13   the Court,          if ultimately the evidence doesn't permit                             that      form

14   of    a defense.        That's         a choice.          We'll    see.        And you'll       guide

15   Mr.    Teman    as    to how far            it makes      sense    strategically          for the

16   defense to go in             an opening on this point.

17                  My    concern      is    that with you going there,                     I want to

18   make    sure that       I am ready to            instruct the            jury    in a way that

19   corrects       any misapprehension,                  if   needed.        And    I agree with you

20   that    one forum in which to do that might be under the

21   good- faith header           or    it might          not.       But there       is    a scenario

22   under which          I need to         say    something,         and    I want       you all    to be

23   at work on what that would be on that                             scenario.

24                  MR.    GELFAND:         Absolutely,          your Honor.

25                  The other thing               I just wanted to            just    offer    for the



                             SOUTHERN DISTRICT REPORTERS,                       P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page217 of 224
                                A-233


                                                                                                          96
     KILVTEM3



 1   benefit    of the Court          and the record is                 that we have discussed

 2   this   issue with our           client.           And    I believe that he understands

 3   the ramifications          of    anticipating that we will                     lay a sufficient

 4   evidentiary       foundation for             an instruction;            and that       the Court


 5   could theoretically             conclude otherwise based on what                        actually

 6   happens    at trial.

 7               THE    COURT:        The ramifications                 being what?        Without

 8   probing into attorney- client                     communications,         if    you    could

 9   proffer what       the ramifications,                   as you refer to them,            are,    I

10   would welcome that.

11               MR.    GELFAND:           Yes,    your Honor.

12               First    of    all,       that the Court -- that there                     is --    just

13   to back up 30,000          feet,       that       there       is   such a thing as       an advice

14   of   counsel    instruction within the                    Second Circuit.             That the


15   language is       obviously          subject to the Court,               but    generally

16   includes pretty well- settled ingredients.

17               That there          is    a possibility that,               first    of    all,    the

18   Court would not give that                   instruction based on the evidence

19   that   actually     comes       out    at trial,          regardless      of what we

20   anticipate the       evidence          is    going to be.            And that     in the event

21   that   the Court does           not    give that          instruction,         there's    also

22   certainly      a possibility,           if    not       a probability,         that    the Court

23   would instruct       the    jury       so    as    not    to permit      the    jury to

24   essentially go down             a road that             the    law doesn't permit         them to

25   go down.



                          SOUTHERN DISTRICT REPORTERS,                        P.C.
                                    (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page218 of 224
                                A-234


                                                                                                        97
     KILVTEM3



 1                  THE    COURT:     And depending on what         counsel have                said in

 2   their    opening,       there may be       a need to be more pointed in

 3   instructing them why the advice of                     counsel defense doesn't

 4   apply.

 5                  MR.    GELFAND:     Yes,    your Honor.

 6                  THE    COURT:     I mean,      again,    we're dealing with

 7   possibilities.

 8                  All    right.     May   I take    a moment    and    just       inquire       of

 9   your    client?

10                  MR.    GELFAND:     Yes,    your Honor.

11                  THE    COURT:     Mr.   Teman,    good afternoon.

12                  THE DEFENDANT:          Good afternoon,       your Honor.

13                  THE    COURT:     You've been obviously         listening

14   attentively to this.              I want      to make    sure though that you                are


15   well-informed,          so as    in conjunction with your            lawyers,          to guide

16   how they       choose to defend you in their               jury addresses             in

17   particular.

18                  Have you had an opportunity to discuss                     so    far    at

19   length with your counsel the pros                  and cons    of    anchoring your

20   articulation of the             case to the      jury at trial heavily on an

21   advice    of    counsel " defense"?

22                  THE    DEFENDANT:       Yes,    your Honor.

23                  THE    COURT:     All right.       Very good.

24                  And without       getting into the detail,            have       counsel

25   advised you          of what,    in their      judgment,    the pros       and cons          of a



                             SOUTHERN DISTRICT REPORTERS,               P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page219 of 224
                                A-235


                                                                                                            98
     KILVTEM3



 1   trial    defense along those                lines would be?

 2                  THE DEFENDANT:           In great       detail,    your    Honor.


 3                  THE    COURT:     Okay.        Very good.        I'm glad to hear             it.

 4                  I don't have       anything further to             inquire       about that.


 5                  Again,    just,    counsel,          be prepared.

 6                  I'm not    sure,       Mr.    DiRuzzo,       if you're the right          one to

 7   ask,    but    I'll    turn the       floor to you          and you    let me know.

 8                  I just want       to    confirm that          the only    lawyer relevant

 9   to the    advice of counsel             instruction is,          in    fact,    Mr.   Reinitz;

10   there's       no other lawyer          as to whom this          instruction pertains.

11                  MR.    DiRUZZO:        Correct.

12                  THE    COURT:     Okay.

13                  Final    question for me,             and then    I'll    open the       floor      if

14   there's       anything else worthy of                consideration,       involves       jury

15   selection tomorrow.              I don't       think the       existence of       a potential

16   advice    of    counsel    issue       in the       case    changes    anything       I would

17   say to the venire          about       the    case or       any questions       I would ask.

18                  The description of the                case,    which    I've    lightly

19   modified,       but not    in consequential ways,                I don't think          is

20   changed by the potential                of    a " defense"      along these       lines.           I

21   already was          going to be       asking the          jury about,    you know,

22   lawyers       in their family          and friend group          and    legal    knowledge on

23   their part.           I don't    think       it's    necessary to       start probing

24   further their views             generically of             lawyers.

25                  But    since the       case has taken this turn,                let me    just



                             SOUTHERN DISTRICT REPORTERS,                   P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page220 of 224
                                A-236



     KILVTEM3



 1   ask    counsel         if    anyone thinks               there's       anything         I ought       to be


 2   sensitive         to    in voir dire,               now that we           know that           this    is part


 3   of    the   case?


 4                 MR.       BHATIA:           Nothing,         your     Honor.


 5                 I think the               questions          prior       remain the         same.        Maybe


 6   the weight         and the way we                  think       about    them as         far    as    cause


 7   challenges might                  change,         but    I think       the    questions         should


 8   remain      the    same.


 9                 THE       COURT:          Defense?


10                 MR.       GELFAND:             Your       Honor,     I agree.


11                 And the             one   thing --          and     I think      this     would be


12   included in            the Court's            voir dire           anyway      is   we    had included


13   Ariel Reinitz's                  name   as    a name       that     they --


14                 THE       COURT:          Right.


15                 MR.       GELFAND:             Obviously we            just want          to make       sure no


16   one has      been       represented by Mr.                     Reinitz       or --


17                 THE       COURT:          Yes.        His    name will          be   on the       list    and


18   I'll    leave      it       at    that.


19                 He's          a New York            lawyer,       right?


20                 MR.       GELFAND:             He    is.     He's with          a firm called


21   FisherBroyles,               which has --


22                 THE       COURT:          Fisher,          last     name?


23                 MR.       GELFAND:             Broyles,          B- R- O- Y- L- E- S.


24                 THE       COURT:          Is    that       on the      list     of   entities?


25                 MR.       GELFAND:             It    is    not    on the       list.



                                  SOUTHERN DISTRICT REPORTERS,                          P.C.
                                                       (212)    805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page221 of 224
                                A-237


                                                                                                                 100
     KILVTEM3



 1               THE    COURT:        Okay.           Then    let me       add    it    to    the      list


 2   alphabetically.              Fisher,       spelled B- R- O- Y- L- E- S?


 3               MR.    GELFAND:           Correct.


 4               THE    COURT:        How big a firm is                   that?        It's    not      one


 5   that's    familiar          to me.


 6               MR.    GELFAND:           He    had       said    a couple       hundred lawyers --


 7               THE    COURT:        Oh,       wow.


 8               MR.    GELFAND: --              based       around the          country.


 9               He was          previously --             I don't       know if the          Court      cares


10   about    this,    he was       previously with Lowenstein                         Sandler.


11               THE    COURT:        Is    that       name       going to       come up?


12               MR.    GELFAND:           Only       if    he was       going to       say,       I


13   previously worked here,                in       a very background way.


14               THE    COURT:        But       he wasn't          at    Lowenstein when he


15   advised Teman          in    connection with this                   case?


16               MR.    GELFAND:           His       relationship with Mr.                   Teman began


17   when he was       at    Lowenstein.              However,          with respect          to    the very


18   concrete    advice relevant                to    this    case,       he was       at    FisherBroyles.


19               THE    COURT:        Anyone want me                to    ask    about       Lowenstein


20   Sandler?     It    sounds       like       it   will     come up       only       as part         of his


21   professional       background.              Sounds       unnecessary.


22               MR.    BHATIA:           I don't          think    we    need to       reference         it.


23               MR.    GELFAND:           I would          agree with the             Court.          I just


24   wanted to raise that.


25               THE    COURT:        Fine.



                             SOUTHERN DISTRICT REPORTERS,                         P.C.
                                                (212)       805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page222 of 224
                                A-238


                                                                                                      101
     KILVTEM3



 1               Look,       then    I'll    just    say the FisherBroyles             law firm,

 2   just    so that they have             some    idea what type of          entity we are

 3   talking about.

 4               Okay.        And    I take       it there's    nothing,       defense    counsel,

 5   you know -- there's             nothing about Mr.          Reinitz's practice or

 6   something that's             going to    come    out that would be

 7   attention- getting or the kind of thing that                           either   side would

 8   want    to know with respect             to the       jury's    reaction to?        His

 9   practice    sounds pretty meat- and- potatoes.

10               MR.    DiRUZZO:           For example,       it's    not    like he represents

11   Mr.    Avenatti    or    some other famous --

12               THE    COURT:        Just    to choose       a random person          on the    13th

13   floor    of this    courthouse.

14               MR.    DiRUZZO:           Right,    right.     Something along those

15   lines.     He doesn't          represent,       as    far as    we're aware,       any person

16   of public    fame       or    anything like that          that would generate             some

17   type of    feelings          one way or the other from the                jury.

18               THE    COURT:        All right.           Very good.

19               All    right.        So those       are    all the    questions       I have for

20   you.     And you've got          your homework          assignment       about both the

21   instruction       and the       instruction in the             event    the elements

22   aren't met.

23               Let me       just    go    around the horn and,             beginning with the

24   government,       ask if there's             anything else,       given all       the ferment

25   this morning,       that you wanted to raise.



                             SOUTHERN DISTRICT REPORTERS,                   P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page223 of 224
                                A-239


                                                                                                             102
     KILVTEM3



 1               MR.    BHATIA:     No,       your       Honor.        I think       once we get to

 2   take a look       at    the documents,          we might         have more thoughts                to

 3   provide;    but    for right       now,       we'll       take    a look and then we'll

 4   see where we go from there.


 5               THE    COURT:     Great.           Look,       I'm happy for you to give

 6   more thoughts          at that point.           Given the preview that

 7   Mr.   Gelfand gave though,              it    sounds       as    if the way in which they

 8   intend to    establish the elements                   of    advice of       counsel         relies

 9   substantially more on oral testimony than the documents.                                           So

10   the documents may give you                   some    insight,       but    it    sounds      like

11   they're really not          going to          allow you to answer the question

12   whether there will          or won't be             evidence allowing all                  the

13   pillars    of an advice       of    counsel          instruction to be met.

14               MR.    BHATIA:     Understood.


15               THE    COURT:     All right.

16               Defense,       anything from you?

17               MR.    DiRUZZO:        No,       your Honor.          Although           I did want to

18   provide,    with my opposing counsel,                      a flash drive with our                  first


19   tranche of document production.

20               THE    COURT:     Great.           I'll       let    you give my copy to my

21   law clerk,    and the government's                   to    it.

22               MR.    DiRUZZO:        Sure.

23               THE    COURT:     Let me          ask,    we're       going to have the              jury

24   come in at    9:30       tomorrow or as             soon thereafter             as   the    jury

25   assembly --       jury clerk       is    able to pull             names    and bring them



                             SOUTHERN DISTRICT REPORTERS,                      P.C.
                                       (212) 805-0300
     Case 21-1920, Document 79, 05/25/2022, 3321481, Page224 of 224
                                A-240


                                                                                                                  103
     KILVTEM3



 1   over here.           I expect       that will          be    in short      order.

 2                  So the question             is    does       anybody expect -- what              is   the

 3   likelihood that we'll have business                            to take up tomorrow morning

 4   that will       last more than             a half hour?             You are    obliged to be


 5   here,    per my usual practice,                   at    9.     The question         is   ought you

 6   be here earlier?

 7                  MR.    DiRUZZO:        Your Honor,             from Mr.      Teman's behalf,              I

 8   don't believe that we're going to have much;                                 although,         as    a

 9   matter    of    full       disclosure,          we're       still -- " we"     being the

10   attorneys       writ       large,    still working on               some    stipulations

11   regarding bank documents                   and the          like.

12                  THE    COURT:        Does    it make          sense to,      just    in   an    excess

13   of   caution,        have you here          at    8:30       tomorrow?       And    I say that           not

14   wanting to punish you,                but       given that the            government      is    going

15   to be reviewing a bunch of documents                            into the evening,              heaven

16   knows what might get                stirred up with that.                   Once the      jury

17   venire    is    here,       we're going to             get    started with them.

18                  I have a little voice here --                        not    literally -- that              is

19   saying to me it's prudent                   for us to have            an extra bit            of time

20   together in          case    something else             comes up.

21                  MR.    DiRUZZO:        We have          no problem with that,              Judge.

22   Half an hour          is    not    going to move the needle.

23                  THE    COURT:        All right.              Then why don't we plan on

24   being here at          8:30       in the morning.

25                  Counsel,       if there's          anything of         consequence you intend



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